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                                                           Page 1                                                  Page 2
                IN THE UNITED STATES DISTRICT COURT                  1             January 17, 2019
                 FOR THE NORTHERN DISTRICT OF OHIO                   2             9:06 a.m.
                      EASTERN DIVISION                               3
          -----------------------------X
                                                                     4      Videotaped deposition of PURDUE PHARMA,
          IN RE: NATIONAL PRESCRIPTION MDL No 2804
                                                                     5    through its representative, THOMAS P.
          OPIATE LITIGATION,
                                  Case No 17-MD-2804
                                                                     6    NAPOLI, held at the offices of LIEFF
          This document relates to:                                  7    CABRASER HEIMANN & BERNSTEIN LLP, 250
          All Cases                    Hon Dan A Polster             8    Hudson Street, New York, New York, pursuant
          -----------------------------X                             9    to Notice, before Annette Arlequin, a
                                                                    10    Certified Court Reporter, a Registered
          * * HIGHLY CONFIDENTIAL - SUBJECT TO FURTHER * *          11    Professional Reporter, a Realtime Systems
                 * * CONFIDENTIALITY REVIEW * *
                                                                    12    Administrator, a Certified Realtime
                    VIDEOTAPED DEPOSITION
                                                                    13    Reporter, and a Notary Public of the State
                          OF
                     THOMAS P NAPOLI
                                                                    14    of New York and New Jersey.
                     New York, New York                             15
                   Thursday, January 17, 2019                       16
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                                                                    20
                                                                    21
                                                                    22
          Reported by:
          ANNETTE ARLEQUIN, CCR, RPR, CRR, RSA                      23
                                                                    24


                                                           Page 3                                                  Page 4
      1     A P P E A R A N C E S:                                   1   A P P E A R A N C E S(CONT'D.):
      2                                                              2
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     24                                                             24


                                                                                          1 (Pages 1 to 4)
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                                                          Page 5                                                    Page 6
      1   A P P E A R A N C E S(CONT'D.):                           1   A P P E A R A N C E S(CONT'D.):
      2                                                             2
      3      ARNOLD & PORTER KAYE SCHOLER, LLP                      3       O’MELVENY & MYERS LLP
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      5        and Endo Health Solutions, Inc.                      5         Two Embarcadero Center, 28th Floor
      6         601 Massachusetts Ave., NW                          6         San Francisco, CA 94111
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     10         (Teleconferenced/Internet realtime))               10
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     12      GIBBONS, P.C.                                         12       Attorneys for Mallinckrodt
     13      Attorneys for AmerisourceBergen Drug Corporation      13         1211 Avenue of the Americas
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     17         Pasfendis@gibbonslaw.com                           17         (Via internet realtime)
     18         (Teleconferenced/Internet realtime)                18
     19                                                            19   ALSO PRESENT:
     20                                                            20
     21                                                            21       ERIK DAVIDSON, Videographer
     22                                                            22
     23                                                            23
     24                                                            24


                                                          Page 7                                                    Page 8
      1         IT IS HEREBY STIPULATED AND AGREED by               1         THE VIDEOGRAPHER: We are now on the
      2     and between the attorneys for the                       2     record. My name is Eric Davidson. I am
      3     respective parties herein, that filing and              3     videographer for Golkow Litigation
      4     sealing be and the same are hereby waived;              4     Services.
      5         IT IS FURTHER STIPULATED AND AGREED                 5         Today's date is January 17, 2019, and
      6     that all objections, except as to the form              6     the time is approximately 9:06 a m.
      7     of the question, shall be reserved to the               7         This video deposition is being held
      8     time of the trial;                                      8     in 250 Hudson Street, 8th Floor, New York,
      9         IT IS FURTHER STIPULATED AND AGREED                 9     New York, in the matters of National
     10     that the within deposition may be sworn to             10     Prescription Opiate Litigation for the
     11     and signed before any officer authorized to            11     United States District Court Northern
     12     administer an oath, with the same force and            12     District of Ohio.
     13     effect as if signed and sworn to before the            13         The deponent is Tom Napoli.
     14     Court.                                                 14         Please note counsel will be noted on
     15                                                            15     the stenographic record.
     16                - o0o -                                     16         The court reporter may now swear in
     17                                                            17     the witness.
     18                                                            18
     19                                                            19         *       *       *
     20                                                            20   T H O M A S P. N A P O L I, called as a
     21                                                            21      witness, having been duly sworn by a
     22                                                            22      Notary Public, was examined and testified
     23                                                            23      as follows:
     24                                                            24         THE WITNESS: I do.



                                                                                          2 (Pages 5 to 8)
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                                                Page 9                                                       Page 10
      1            Thomas Patrick Napoli.                      1      A. Sure.
      2    EXAMINATION BY                                      2
      3    MR. EGLER:                                          3
      4       Q. Mr. Napoli, thanks for coming in              4      Q. Tell me what your work address is
      5    today.                                              5   currently.
      6            Do you understand that you're under         6      A. It's 900 Danbury Road, Richfield,
      7    oath?                                               7   Connecticut.
      8       A. Yes, sir.                                     8      Q. So today we're going to be talking
      9       Q. And when you say you're under oath,           9   mostly about your time at a company called
     10    what does that mean to you?                        10   Watson and then its successors.
     11       A. It means I have an obligation to tell        11          I guess, starting out, you graduated
     12    the truth and the whole truth.                     12   from Rutgers; is that right?
     13       Q. And do you have an understanding that        13      A. Yes, sir.
     14    the testimony you give today can be used in a      14      Q. What year was that?
     15    court of law and even at trial under some          15      A. '92.
     16    circumstances?                                     16      Q. After graduating from Rutgers, what
     17       A. Yes, sir.                                    17   did you do?
     18       Q. Okay. And as you sit here today, do          18      A. When I graduated -- during my time at
     19    you have any conditions or have you taken any      19   Rutgers, I graduated with a degree in
     20    medications that could affect your memory or       20   administration of justice. I come from a large
     21    ability to testify?                                21   police family, and I was probably going to go
     22       A. No, sir.                                     22   into the family business. But while -- during
     23       Q. So can you tell me what your home            23   my time at Rutgers, being in New Brunswick, New
     24    address is?                                        24   Jersey, I had an opportunity to have an


                                               Page 11                                                       Page 12
      1    internship with Johnson & Johnson within their      1   took a position as a security program manager
      2    corporate security department. And I had some       2   for a classified naval weapon systems programs.
      3    outstanding mentorship there. And when I            3       Q. And then at some point, did you leave
      4    graduated, had the opportunity to be a security     4   Lockheed Martin?
      5    manager for one of their operating facilities in    5       A. I did.
      6    Titusville, West Trenton, New Jersey, Janssen       6       Q. Where did you go?
      7    Pharmaceuticals. It was a headquarters              7       A. I went to Watson Pharmaceuticals in
      8    location. And --                                    8   2002.
      9       Q. For how long did you work at Johnson          9       Q. So at Watson, where -- when you
     10    & Johnson?                                         10   started at Watson, where did you work?
     11       A. Seven years.                                 11       A. I worked -- I was hired as the
     12       Q. So when you left Janssen, what -- as         12   manager of security for -- we had a
     13    you think of it, what was your job title?          13   manufacturing facility in Carmel, New York,
     14       A. When I was at Janssen, I was a               14   which is in Putnam County. And we had a
     15    security manager.                                  15   distribution center in Brewster, New York, as
     16       Q. When you were security manager there,        16   well as a small research and manufacturing
     17    did you work with controlled substances?           17   facility in Danbury, Connecticut. They were all
     18       A. No, sir. It was a corporate                  18   in close proximity to each other.
     19    environment.                                       19       Q. Did you split your time among those
     20       Q. So moving on from Janssen, where did         20   three locations?
     21    you go next?                                       21       A. Yes.
     22       A. I went on to -- I went on to take an         22       Q. And, subsequently, did you take a
     23    opportunity with Lockheed Martin, a large          23   different position at Watson?
     24    defense contractor that -- in South Jersey. I      24       A. I did. I did. Well, as I -- as --


                                                                                  3 (Pages 9 to 12)
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                                                     Page 13                                            Page 14
      1    during my time with those facilities, I              1   doing a good job, a very good job with the
      2    eventually took on the responsibility for            2   program and having a good relationship with DEA
      3    controlled substance compliance within an            3   and having a high-functioning program, they
      4    operational setting. So, so we did manufacture       4   asked me to take on responsibility for a larger
      5    controlled substances at the manufacturing site.     5   role of DEA compliance at their headquarters
      6           And then eventually -- after seven            6   location.
      7    years in that position, there was a                  7       Q. All right. So as we're going through
      8    consolidation within the organization, so we         8   today, the court reporter is going to type down
      9    were transitioning, closing the facilities that      9   everything that you say.
     10    I was supporting, moving some of our easier to      10       A. Sure.
     11    replicate products and Schedule III through V       11       Q. And so if we have a complicated word
     12    substances to a facility in India and also some     12   or if we have a long statement, I want you to
     13    Schedule II products to our Corona facility in      13   speak freely, but if you can pace yourself just
     14    California. And our distribution center was         14   so we make sure we get a good record.
     15    folded into our distribution center in the          15       A. Sure, sure.
     16    Chicago area based -- after the consolidation, I    16       Q. So as you think about the time where
     17    took a position in Morristown, New Jersey, at       17   you moved to New Jersey, about what time frame
     18    our corporate headquarters, where I was a -- the    18   was that?
     19    -- had made an organizational decision to fold      19       A. 2009.
     20    the DEA compliance function from -- transition      20       Q. And when you moved to New Jersey, as
     21    that from quality into the operations group         21   you think of it, what was -- do you remember
     22    because of the synergies of -- with security --     22   what your job title was?
     23    with security and the DEA regulations, because      23       A. Manager of security and controlled
     24    of my background with DEA compliance and really     24   substance compliance, I believe, or something to


                                                     Page 15                                            Page 16
      1    that --                                              1   oversee the security group in Corona,
      2       Q. Okay. And you had mentioned that the           2   California?
      3    Schedule III through V drugs that Watson made        3      A. No. I was part of a structure where
      4    had been -- let me start over.                       4   there was a global executive director of
      5            You had mentioned that the                   5   security and DEA affairs. I was a manager -- I
      6    manufacturing center for the Schedule III            6   had regional responsibility in that I ensured
      7    through V controlled substance drugs that Watson     7   that there was security controls in place that
      8    made had been moved to India.                        8   were in compliance with the DEA requirements.
      9       A. Some of the easier to replicate, like          9   But each site had a responsible security manager
     10    single-entity products, immediate-release           10   responsible for their operations.
     11    products. Some of the more technological, you       11      Q. As you think of it, when you started
     12    know, controlled, sustained-release products,       12   working for Watson in New Jersey, do you
     13    those probably wouldn't go over, but...             13   remember who was head of security in Corona,
     14       Q. Do you remember whether -- well, let          14   California?
     15    me start over.                                      15      A. At that time, it was Eric Nibergall.
     16            Do you remember where Watson's              16      Q. Can you spell his last name?
     17    Schedule II controlled substances were              17      A. N-i-b-e-r-g-a-l-l.
     18    manufactured, if anywhere?                          18      Q. At any point while you were working
     19       A. Corona, California, would have been           19   at Watson or Actavis, did that position change
     20    one of the prime locations.                         20   hands did somebody replace Mr. Nibergall?
     21       Q. As part of your job, did you -- let           21      A. Yes, yes.
     22    me start over.                                      22      Q. Who replaced him?
     23            In 2009, as part of your job, were          23      A. Scott Soltis, S-o-l-t-i-s.
     24    you the head of security group for or did you       24      Q. And then did anybody replace


                                                                               4 (Pages 13 to 16)
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                                               Page 17                                                      Page 18
      1    Mr. Soltis?                                         1   taking their name. And that was because of -- I
      2        A. Not during my tenure.                        2   think one of the reasons for the acquisition was
      3        Q. All right. So today we're going to           3   to have a more global presence. And Actavis had
      4    talk about -- well, let's keep going.               4   an established international presence under that
      5            You worked at Watson in New Jersey          5   name.
      6    starting, I think you said, in 2009?                6      Q. So when Watson bought Actavis, as you
      7        A. Um-hmm.                                      7   think of it --
      8        Q. And then at any point, did you, did          8      A. Um-hmm.
      9    your position change at Watson?                     9      Q. -- did your duties expand at all?
     10        A. I eventually went, moved from a             10      A. In the respect that we were bringing
     11    manager position to associate director, but a      11   on additional manufacturing facilities and some,
     12    lot of the same responsibilities.                  12   some new controlled products, so, yes.
     13        Q. And about when was that?                    13      Q. And then at some point after that
     14        A. 2013. Just speculating there.               14   acquisition closed, did you -- well, did your
     15        Q. And then did your job change at             15   job title change?
     16    Watson after then?                                 16      A. No.
     17        A. No.                                         17      Q. Did you leave what was then called
     18        Q. And then at some point, Watson              18   Actavis at some point?
     19    changed its name; is that right?                   19      A. I did.
     20        A. Right.                                      20      Q. When did you leave?
     21        Q. What did it change its name to?             21      A. I left 2015 -- 2016. I was part
     22        A. On October 31st of 2012, Watson             22   of -- when Teva acquired Actavis, they had
     23    acquired Actavis Pharmaceuticals and took the      23   already had a robust DEA compliance program and
     24    unprecedented step of acquiring the company but    24   staff, so we were a synergy target. So


                                               Page 19                                                      Page 20
      1    essentially I helped them through the transition    1   management for the United States region.
      2    and then I was part of the reduction of force.      2      Q. Is Boehringer-Ingelheim based in the
      3       Q. And then between -- well, where do            3   United States?
      4    you work now?                                       4      A. We have a U.S. headquarters in
      5       A. I work for Boehringer-Ingelheim.              5   Ridgefield, Connecticut, but our corporate
      6       Q. All right. So you have to spell               6   headquarters is Ingelheim, Germany.
      7    those two words --                                  7      Q. With regard to Boehringer-Ingelheim,
      8       A. Oh, boy.                                      8   do they manufacture or market any Schedule II
      9       Q. -- because I think they're German.            9   controlled substance?
     10       A. We just call them BI, but                    10      A. No, sir, no controlled drugs in the
     11    B-o-e-h-r-i-n-g-e-r, hyphen, I-n-g-e-l-h-e-i-m.    11   portfolio.
     12       Q. And what is Boehringer-Ingelheim?            12      Q. So as we move on today, we're going
     13       A. Boehringer-Ingelheim is a large,             13   to be talking about some terms and names. I
     14    private, still family-owned by the Boehringer      14   just want to go through them with you initially
     15    family pharmaceutical company specializing in      15   so we can get a common understanding.
     16    human pharma, as well as animal health.            16      A. Sure.
     17       Q. You said human pharma. What does             17      Q. One of the terms that's going to come
     18    that mean?                                         18   up today is "Suspicious Order Monitoring" or
     19       A. Human pharma, so products that are           19   "SOM" or "SOMS."
     20    taken by humans.                                   20           What does that mean to you?
     21       Q. Oh, as opposed to animal health?             21      A. Suspicious Order Monitoring is a, to
     22       A. Correct.                                     22   me, it's a holistic program that is mandated
     23       Q. All right. What is your job there?           23   through DEA requirements to ensure that you're
     24       A. I am the head of security and crisis         24   ensuring that your products are not winding up


                                                                                    5 (Pages 17 to 20)
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                                                    Page 21                                                         Page 22
      1    in illicit channels; that you have safeguards in    1    work together to, to prevent diversion.
      2    place to ensure that you know your customer and     2        Q. So could you pronounce the acronym
      3    that you are monitoring ordering behavior of        3    NJPIG, how you would say it?
      4    your customers to prevent illegal diversion.        4        A. NJPIG. It's kind of an awkward
      5        Q. And then another term that we're             5    acronym so, yeah.
      6    going to talk about a little bit is N-J-P-I-G,      6        Q. Right.
      7    the New Jersey Pharmaceutical Industry Group.       7             So -- and then the next one that we
      8             Have you ever heard of that?               8    are going to talking about is a thing called
      9        A. I have.                                      9    chargebacks, chargebacks data.
     10        Q. What is --                                  10             Do you know what that is?
     11        A. I'm part of it.                             11        A. I do have an understanding of what
     12        Q. What is that?                               12    chargeback is, yeah.
     13        A. That was a group of New Jersey-based,       13        Q. Okay. What is a chargeback?
     14    for the most part, controlled substance            14        A. Chargeback is a -- and I'm -- and
     15    manufacturers that we met on a regular basis to,   15    this is more layman's terms because I'm not a
     16    you know -- because something, you know, like      16    commercial side of the house kind of person, but
     17    DEA compliance or controlled substance             17    to my understanding, chargeback is when a
     18    compliance is not something that is a              18    customer or -- has a negotiated price with you,
     19    proprietary thing; it's something that we, you     19    and if they were to purchase your product from
     20    know, collaborate on as an industry as much as     20    someone at a higher price, they would submit a
     21    we can. So it was a forum in which we could        21    chargeback for a rebate for the difference in
     22    exchange ideas and share best practices, as well   22    that cost.
     23    as identify opportunities to partner with our      23        Q. All right. And then the next one is
     24    local DEA and find opportunities where we could    24    a -- it's actually two, because I think it


                                                    Page 23                                                         Page 24
      1    changes through time. It's IMS and IQVIA data.      1      A. Um-hmm.
      2           Are you familiar with that?                  2      Q. And they'll have various Bates
      3       A. I'm familiar with IMS.                        3   numbers on them on the bottom right-hand corner,
      4       Q. What is IMS, as you think of it?              4   and I'll read them into the record. And I'll
      5       A. IMS is an organization that deals in          5   try to, to the extent I think any context is
      6    data and gathering industry data and providing      6   needed, I'll tell you what I think the context
      7    that data to industry. Largely used by our          7   is from my data.
      8    sales and marketing groups.                         8          To the extent you need any context or
      9       Q. All right. So today --                        9   you have any questions about the documents, just
     10           MR. EGLER: Can we go off the record         10   ask and I'll see if I can get the answer for
     11       for one second?                                 11   you.
     12           THE VIDEOGRAPHER: The time is               12      A. Sure.
     13       approximately 9:21 a m. We are going off        13      Q. So with that said, I'm going to hand
     14       the record.                                     14   you what we'll mark as Exhibit 1.
     15           (Off the record.)                           15          (Napoli Exhibit 1, Memo dated
     16           THE VIDEOGRAPHER: We are back on the        16      11/13/08, Bates-stamped
     17       record. The time is approximately               17      ALLERGAN_MDL_03535130 through 5133, marked
     18       9:22 a m.                                       18      for identification, as of this date.)
     19    BY MR. EGLER:                                      19   BY MR. EGLER:
     20       Q. Mr. Napoli, as we move through today,        20      Q. Mr. Napoli, can you look at
     21    I'm going to be handing you documents. To the      21   Exhibit 1?
     22    extent -- well, every document that I'm going to   22      A. Yes.
     23    hand to you has been produced in this              23          MR. EGLER: And for the record, I'll
     24    litigation.                                        24      note that the first page doesn't have a



                                                                                  6 (Pages 21 to 24)
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                                                     Page 25                                            Page 26
      1       Bates-stamp, but the second page is               1           Do you see that there?
      2       Bates-stamped Allergan_MDL_03535130 and it        2       A. Um-hmm.
      3       goes to 35133.                                    3       Q. And in the context of this case, my
      4    BY MR. EGLER:                                        4   understanding is it is a document that comes
      5       Q. And can you look generally at this,            5   from your files.
      6    and when you're ready, just tell me and I'll ask     6       A. Yes.
      7    you some questions about it and tell you what I      7       Q. So with that in mind, as you think
      8    know about it.                                       8   about the remaining pages of this document, do
      9       A. Okay. You want me to look at the               9   you recognize this document?
     10    second page?                                        10       A. It appears to be a document that I
     11       Q. Well, just look through it generally.         11   authored.
     12    You don't have to read it or anything. I'm          12       Q. Do you, as you sit here today, do you
     13    going to ask you to read parts of it.               13   remember typing up this particular document?
     14           (Witness complies.)                          14       A. This particular document, no. But it
     15       A. Okay. All right.                              15   wouldn't be uncommon for me to attend a
     16       Q. All right. So the first page of this          16   controlled substance seminar and report back a
     17    document is -- again, it does not have a Bates      17   summary to management and...
     18    number on it. I'll tell you it's a printout of      18       Q. And just so we're clear, so I can put
     19    what's referred to as the metadata for this.        19   it in perspective for the record, the date on
     20       A. Okay. Got it.                                 20   the document is November 13th, 2008, which is
     21       Q. And it has various data on there.             21   just a little over ten years ago, right?
     22    One of them is, under Document Identification,      22       A. Um-hmm.
     23    it says "custodian" and then a colon and            23       Q. So do you remember in 2008 in May and
     24    "Napoli, Tom."                                      24   June attending a controlled substance conference


                                                     Page 27                                            Page 28
      1    and meeting of the New Jersey Pharmaceutical         1   you attended this --
      2    Industry Group?                                      2       A. Um-hmm.
      3       A. I don't remember the specific                  3       Q. -- often.
      4    meeting, but I attended this particular              4           When would have been the first time
      5    conference consistently almost on an annual          5   you would have attended the controlled substance
      6    basis.                                               6   conference sponsored by Cegedim-Dendrite?
      7       Q. All right. So the conference that              7       A. Probably in the mid-2000s, but I
      8    you referred to in this document is the              8   couldn't attest to a date, specific date, sir.
      9    controlled substance conference sponsored by         9       Q. All right. And you had mentioned the
     10    Cegedim-Dendrite, and it's C-e-g-e-d-i-m, dash,     10   name Buzzeo?
     11    D-e-n-d-r-i-t-e.                                    11       A. Yes.
     12           Do you see that there?                       12       Q. Is there a Mr. Buzzeo?
     13       A. Yes.                                          13       A. Yeah. Ron Buzzeo.
     14       Q. What is Cegedim-Dendrite, as you              14       Q. Did do you know Mr. Buzzeo?
     15    think of it.                                        15       A. I do.
     16       A. Cegedim-Dendrite is an industry               16       Q. How do you know Mr. Buzzeo?
     17    consulting organization. We actually -- the         17       A. Through seminars and also we had
     18    consulting firm that would host these events        18   utilized their -- their services from time to
     19    was -- Cegedim-Dendrite is almost synonymous        19   time for compliance support.
     20    with a consulting firm called Buzzeo Associates.    20       Q. So going down through that first
     21    So they're essentially interchangeable, but         21   paragraph, it talks about the conference, and
     22    Buzzeo Associate is a industry controlled           22   then it talks about the New Jersey
     23    substance FDA type of expert consultant group.      23   Pharmaceutical Industry Group. And you write,
     24       Q. As you think of it, I think you said          24   "The New Jersey Industry Group meeting was


                                                                               7 (Pages 25 to 28)
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                                               Page 29                                                 Page 30
      1    facilitated and attended by a cross-section of      1   time, November 2008, who was your site general
      2    pharma partners engaged in controlled substance     2   manager?
      3    activities throughout the northeast region."        3       A. An individual by the name of Tom
      4            Do you see that there?                      4   Strohl, S-t-r-o-h-l.
      5        A. Yes, sir.                                    5       Q. So going down further into this memo,
      6        Q. Do you remember, as you sit here             6   there is a discussion of "areas of
      7    today, attending that particular meeting?           7   interest/concern"?
      8        A. I don't.                                     8       A. Um-hmm.
      9        Q. Do you have a memory that that was           9       Q. And then it says "Quota"?
     10    the first meeting of the New Jersey PIG?           10      A. Yes, sir.
     11        A. I don't -- I don't believe it was the       11       Q. And there is a discussion of quota?
     12    first meeting.                                     12       A. Um-hmm.
     13        Q. So this memo, as you think of it, the       13       Q. What does that term "quota" mean to
     14    "to" and "from" lines at the top are blank.        14   you in the context of your work?
     15            Do you know whether you ever sent          15      A. The way that the DEA ensures
     16    this to anybody or whether you kept it for         16   compliance and mitigates the opportunity for
     17    yourself?                                          17   diversion is to maintain a closed system, what
     18        A. Looking at the date, it would have          18   they call a closed system of distribution. And
     19    been prior to taking the position at corporate     19   that closed system distribution starts with a
     20    headquarters. I would have likely have sent        20   process, a quota process for Schedule II
     21    this to my boss, Eric Nibergall. And perhaps if    21   controlled substances and III narcotics, such as
     22    I -- I was working at a manufacturing site,        22   hydrocodone, where there is a -- based on a lot
     23    probably our site general manager.                 23   of research that DEA does and also input from
     24        Q. All right. As you think about this          24   FDA, as well as looking at abuse data, emergency


                                               Page 31                                                 Page 32
      1    room record -- data, all types of big data to       1   year. And that quota could be a adjusted
      2    determine what is called an aggregate quota for     2   midyear or throughout the year based on your
      3    the United States issuance of a quota for a         3   sales. If you acquired new business, you could
      4    particular molecule for a controlled substance.     4   apply for more quota. If business dropped off,
      5           So they'll look at sales data from           5   you may, there are opportunities where you could
      6    each one of the companies, what was consumed        6   have perhaps surrendered quota if you didn't
      7    over the year, the prior year, and they would       7   need it. But it was -- that's essentially in a
      8    make a decision where they would come up with an    8   nutshell what the quota system is.
      9    aggregate of a particular molecule. It could be     9      Q. So as you think about it, around this
     10    oxycodone, hydrocodone, et cetera, which would     10   time, end of 2008, when you were at Watson, did
     11    be divided up among industry.                      11   you have any responsibility for applying for or
     12           We would have -- API manufacturers          12   managing the quota that Watson got for any
     13    would have a quota called a "manufacturing         13   controlled substances?
     14    quota" where they could synthesize and develop     14      A. Not at the time of this memo. But in
     15    an active pharmaceutical material like the raw     15   2019, when I assumed my role at corporate
     16    material for OxyContin.                            16   headquarters, I did have responsibility for, for
     17           At the manufacturer level, where we         17   that aspect of the business. I had an
     18    were at, we would have what's called               18   individual who worked for me who was just
     19    "procurement quota" where we would of, based on    19   dedicated to quota administration.
     20    our -- we would do an end of year report and       20      Q. And I think you said 2019.
     21    make an application to the DEA based on our        21      A. 2009. I apologize.
     22    prior sales, provide them with all of our sales    22      Q. Okay. That's fine.
     23    history. They would do a review, and they would    23          And just so you know, at the end of
     24    grant you a quota to, to manufacture for a given   24   the deposition, if anything like that happens,


                                                                              8 (Pages 29 to 32)
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                                                     Page 33                                            Page 34
      1    neither of us catch it, you'll have the              1   paragraph that you wrote that says, "During the
      2    opportunity to correct anything --                   2   NJ Pharmaceutical Industry Group meeting, a
      3       A. Okay.                                          3   proposal was made to draft a letter from
      4       Q. -- with no problem?                            4   industry to the DEA outlining the current
      5       A. Okay.                                          5   situation and its affect on the industry. The
      6       Q. So with regard to the quota process,           6   letter will be a documented record of the
      7    you said you managed someone who was responsible     7   industry's desire for change and efficiency
      8    for the quota?                                       8   within the current process to adequately meet
      9       A. Right.                                         9   market needs. The letter will only be sent upon
     10       Q. Who was that?                                 10   the affirmation by the represented
     11       A. Bill Hepworth.                                11   organizations's legal and government affairs
     12       Q. And that's?                                   12   functions."
     13       A. H-e-p-w-o-r-t-h.                              13           Do you remember having a discussion
     14       Q. And beyond managing Mr. Hepworth, did         14   at the 2008 New Jersey Pharmaceutical Industry
     15    you have any involvement in the negotiation or      15   Group meeting about potentially writing a letter
     16    application of a quota for Watson?                  16   to the DEA?
     17       A. I definitely reviewed the                     17       A. I do not have a recollection of that.
     18    applications and provided input for those           18       Q. All right. And then -- I apologize
     19    applications.                                       19   for going backwards.
     20       Q. All right. Anything else?                     20       A. No worries.
     21       A. No, not necessarily.                          21       Q. Further up in this document, there is
     22       Q. All right. So moving on into this             22   a number of references to a person by the name
     23    document, on the following page, on 131, about a    23   of Joseph Rannazzisi?
     24    little bit more than halfway down, there is a       24       A. Yes.


                                                     Page 35                                            Page 36
      1        Q. R-a-n-n-a-z-z-i-s-i.                          1   about them, I'll show them to you.
      2            Do you know who Mr. Rannazzisi is?           2        A. Yeah.
      3        A. Yeah, Mr. Rannazzisi was the deputy           3        Q. All right. So if you can turn to the
      4    administrator, DEA diversion.                        4   next page, which is 5132. And at the bottom of
      5        Q. Did you ever meet Mr. Rannazzisi?             5   the previous page and at the top of this page,
      6        A. I did.                                        6   it's talking about SOM.
      7        Q. When did you meet him?                        7            Do you see that there?
      8        A. I met him at a conference that he             8        A. Yes, sir.
      9    spoke at in Edison, New Jersey. I don't recall       9        Q. And is SOM, as you think of it, the
     10    the date.                                           10   Suspicious Order Monitoring systems?
     11        Q. Was it while you were working at             11        A. Yes.
     12    Watson?                                             12       Q. And you write that "It is highly
     13        A. Yes.                                         13   recommended that industry utilize a 'total SOM
     14        Q. Do you think it was around this time         14   model.' This model favors a more
     15    2008 or later?                                      15   statistically-based model that dynamically
     16        A. I can't speculate to that.                   16   evaluates a variety of order characteristics to
     17        Q. So with regard to Mr. Rannazzisi, do         17   determine whether an order should be pending.
     18    you remember discussions of a one or two or more    18   Characteristics include order size, ordering
     19    letters that Mr. Rannazzisi wrote about the         19   frequency, ordering patterns and percentage of
     20    opioid situation in the United States?              20   CS ordered."
     21        A. I don't recall specific letters,             21            "CS" there is controlled substance;
     22    but...                                              22   is that right?
     23        Q. Okay. So we'll probably talk about           23        A. Correct.
     24    them further. And I'll -- to the extent we talk     24        Q. And then it says, "This approach is


                                                                               9 (Pages 33 to 36)
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                                                Page 37                                                 Page 38
      1    viewed to be more effective and defensible than      1   investigation, resources/SOPs."
      2    the traditional approach of just setting a           2           And in the context of this document,
      3    threshold."                                          3   what does the term "SOP" mean?
      4            Now you write there that it is               4      A. Standard operating procedure.
      5    "highly recommended."                                5      Q. And then a bullet point, "Who reports
      6            From the context of this memo, take          6   suspicion order to DEA, management oversight,"
      7    your time, can you see where -- where you came       7   and then a bullet point, "Do third-party
      8    to that conclusion that it was highly                8   distributors utilize an adequate SOM."
      9    recommended?                                         9           Do you see that there?
     10        A. It was highly recommended by the             10      A. Yes, sir.
     11    Cegedim-Dendrite group.                             11      Q. So that last one, "Do third party
     12        Q. Okay.                                        12   distributors utilize an adequate SOM," what does
     13        A. To put it in context as well, too,           13   that mean in the context of this document?
     14    you have to understand they're, as a consultant     14      A. That, to me, implies that, you know,
     15    group, they're selling a product as well, too,      15   and it comes back to me to know your customer,
     16    for compliance.                                     16   that ensuring that your supply chain partner
     17        Q. All right.                                   17   that you distribute your products to that they
     18            And so then going down here, it says,       18   have an effective system in place that's
     19    "The following concepts are to be considered        19   compliant with DEA regulations.
     20    when developing an effective SOM: How are new       20      Q. And with regard to this discussion
     21    accounts opened, background check, Know Your        21   here with these bullet points that I've been
     22    Customers." And then a bullet point, "How are       22   reading, it says "Know Your Customers"?
     23    orders evaluated," and then a bullet point, "How    23      A. Yes, sir.
     24    are orders cleared from suspicion, appropriate      24      Q. And in the context of your work at


                                                Page 39                                                 Page 40
      1     Watson, the customers that are referred to          1   and they're coming to you for an increase.
      2     there, who are they?                                2   There could be a variety of reasons why an order
      3        A. Distributors or large chains such as          3   increased.
      4     Walgreens, CVS.                                     4           So really taking a deeper dive to
      5        Q. Walgreens and CVS would essentially           5   understand why the change in behavior.
      6     distribute to themselves, is that fair to say?      6       Q. All right. Then moving further down
      7        A. Right, to their own pharmacy                  7   in the document, it states, "DEA shifted
      8     locations.                                          8   operating philosophy."
      9        Q. So with regard to the third bullet            9           Do you see that there?
     10     point there, it says, "How are orders cleared      10       A. Yes.
     11     from suspicion."                                   11       Q. It says, "Field offices becoming less
     12        A. Um-hmm.                                      12   'friendly,' shifting from partners to
     13        Q. Can you tell me what that means in           13   enforcers."
     14     the context of this document?                      14       A. Yes.
     15        A. Sure.                                        15       Q. Do you have a memory or an
     16            And within the context of, of this          16   understanding of where you got that information?
     17     document, if you have an order that pens with or   17       A. That would have come from a -- the
     18     flags within a given system, you know, what        18   Cegedim or the Buzzeo group was comprised
     19     steps do you take as a registrant to understand    19   largely of former DEA high-ranking officials,
     20     that ordering behavior and subsequently justify    20   policy and liaison folks within management that
     21     why that order is out of -- is not consistent      21   still had contacts, and as well as I can see in
     22     with an ordering pattern. It could be because a    22   here that Mark Caverly and James Crawford, both
     23     company took on more business, another             23   from DEA, spoke at this conference. And that
     24     manufacturer had an issue for the same product     24   there was a shift in -- there was more trends of


                                                                             10 (Pages 37 to 40)
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                                                Page 41                                                 Page 42
      1     more aggressive enforcement because of some of      1           In 2008, I was responsible for
      2     the abuse patterns that were existing in the        2   compliance within our manufacture and
      3     country.                                            3   distribution sites in -- locally in New York,
      4        Q. By this time in 2008, for about how           4   yes.
      5     long had you been working or encountering issues    5       Q. And as part of that compliance
      6     with the DEA in your work?                          6   process, would you be responsible for preparing
      7        A. Up to that point, I didn't have any           7   the sites for audits by the DEA?
      8     issues with the DEA.                                8       A. Yes.
      9        Q. Just when you say you didn't have any         9       Q. As you think of it, in your time up
     10     issues, it means your work didn't have any --      10   to this point, end of 2008, before you moved to
     11        A. Are you talking about -- can you             11   New Jersey, about how many DEA audits did you
     12     provide context to "issue"?                        12   participate in for Watson?
     13        Q. Right.                                       13       A. Several. We -- the way that the DEA
     14        A. Is it negative issue or just dealings        14   audits is based on your registration, so -- and
     15     with DEA?                                          15   the cyclical audits could be -- they can range
     16        Q. That's what I want to get a better           16   from three years to sometimes five years.
     17     word for.                                          17           If you have a violative past or a
     18            So as you think about your work up to       18   history, you can get an inspection every year.
     19     this point, the end of 2012, did you have any      19           We were on a three to five-year
     20     responsibilities for enforcing DEA regulations     20   inspection schedule, but because we had multiple
     21     in your job?                                       21   registrations, so we had manufacturer
     22        A. Well, you used the term "2012."              22   registration, I believe we had import
     23        Q. I'm sorry. 2008.                             23   registrations, research, each one of those
     24        A. Okay. 2008.                                  24   registrations are subject to an inspection on a


                                                Page 43                                                 Page 44
      1    periodic basis. So probably every couple of          1   mainly in Mexico now."
      2    years or so, we would see the DEA in for a           2          And the next one is: "Proliferation
      3    cyclical inspection, it would be called.             3   of Internet."
      4       Q. All right. So moving further down              4          Next one is: "Congressional
      5    onto this page, which is page 3 of the document,     5   interest, children dying, tremendous cost to
      6    page 132 of Exhibit 1, it states, "Contributing      6   society."
      7    Factors," colon, and then in quotations, "the        7          And the last bullet point is:
      8    perfect storm."                                      8   "Dwindling DEA resources."
      9           Do you see that there?                        9          So as you think about the information
     10       A. Right.                                        10   that you convey there in this memo, where would
     11       Q. And you write a series of five bullet         11   you have gotten that information?
     12    points: "Non-medical use of pharmaceutical          12       A. That would have been from a
     13    products now greater than the abuse of cocaine,     13   presentation directly from the Cegedim-Dendrite
     14    hallucinogens and inhalants" --                     14   conference. It may have come from, from their,
     15       A. Right.                                        15   one of their presentations or one of the
     16       Q. -- "among adults 26 or older. Seven           16   speakers from DEA.
     17    million Americans reporting non-medical use of      17       Q. And then you state that the -- well,
     18    prescription medicines in 2006."                    18   the next thing you state is, "Result," and a
     19           Next bullet point is: "Presidential          19   colon, and it says, first bullet point,
     20    mandate to cut drug use, enforcement efforts        20   "Application of traditional principals of
     21    have been highly successful in areas of illicit     21   enforcement industry."
     22    drug use, yet one category is rising,               22          And then the next bullet point is:
     23    prescription medicines. Clandestine                 23   "Enforcement focus - commingling of enforcement
     24    methamphetamine production, 'shut down in U.S.,'    24   agents and diversion investigators and single



                                                                             11 (Pages 41 to 44)
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                                                Page 45                                                         Page 46
      1     enforcement group at all field offices. 400         1       Q. Section chief, Office of Diversion
      2     diversion investigators in the world, more than     2   Control.
      3     one million registrants, 5,000 special agents       3          Do you remember meeting Mr. Crawford
      4     currently hiring."                                  4   or Mr. Caverly?
      5         A. Yes.                                         5       A. I do remember meeting Mr. Crawford.
      6         Q. And then the next one is: "All               6   And Mr. Caverly, I know very well.
      7     policy decisions made by HQ."                       7       Q. So how do you know Mr. Caverly?
      8             So, again, where would you have             8       A. Mr. Caverly, I knew him when he was
      9     gotten that information?                            9   head of policy and liaison with DEA. And he was
     10         A. Again, it probably would have come          10   someone that you would reach out to if you had
     11     from either Mr. Crawford or Caverly from DEA.      11   any questions about interpretation of federal
     12         Q. The statement there, it says, "All          12   regulations, which sometimes, as you know, can
     13     policy decisions made by HQ."                      13   not be clear at all times. So he was a resource
     14             What does that mean?                       14   to reach out to to get clarification.
     15         A. That the policy decisions for, as I         15          As well as when he retired from DEA,
     16     would interpret this, enforcement actions would    16   he actually became one of the head consultants
     17     be made in the Washington, D.C., level, not at a   17   for Cegedim/Buzzeo. So I've known him for many
     18     local field office.                                18   years.
     19         Q. All right. And then on the next             19       Q. Do you remember when about he
     20     page, at the bottom of that page, the next page    20   retired?
     21     talks about two people from the DEA, James         21       A. I don't. It might have been right
     22     Crawford, who is special assistant, Office of      22   around this time period within -- give or take a
     23     Diversion Control, and Mark Caverly?               23   year.
     24         A. Caverly.                                    24       Q. How about Mr. Crawford, do you


                                                Page 47                                                         Page 48
      1     remember him?                                       1      A. Okay.
      2         A. I do.                                        2          (Napoli Exhibit 2, NJPIG Charter
      3         Q. How did you know Mr. Crawford?               3      Statement, Bates-stamped HDS_MDL_00095906
      4         A. Just from the one meeting at this            4      through 5907, marked for identification, as
      5     conference, I believe.                              5      of this date.)
      6        Q. All right. Mr. Caverly, as you think          6   BY MR. EGLER:
      7     of it, when was the last time you talked with       7      Q. What we marked as Exhibit 2, I'm just
      8     him?                                                8   going to tell you, at the bottom right-hand
      9         A. I haven't worked for Actavis --              9   corner, there is a Bates number. It says
     10     probably three years ago.                          10   HDS_MDL_00095906. And I want to be clear, this
     11        Q. All right. You can set this                  11   document did not come from the files of your
     12     document, Exhibit 1, aside.                        12   former employer or your own files.
     13             (Witness complies.)                        13          But that said, do you remember ever
     14             (Discussion off the record.)               14   seeing this document before?
     15     BY MR. EGLER:                                      15      A. Yes.
     16         Q. And at the end of the day, the court        16      Q. Okay. What is it?
     17     reporter will take all the documents that are      17      A. It's a charter statement for the New
     18     marked with the actual stickers and keep them.     18   Jersey Pharmaceutical Industry working group
     19         A. Okay.                                       19   essentially stating what the goals of the
     20         Q. No souvenirs.                               20   working group is, as well as -- I'm trying to
     21         A. Parting gifts.                              21   think of this. There was a document about, you
     22             (Laughter.)                                22   know, not sharing proprietary, confidential
     23         Q. Mr. Napoli, I'm going to hand you           23   information. I don't know if that's within this
     24     what we'll mark as Napoli Exhibit 2.               24   document. But this is just essentially the



                                                                               12 (Pages 45 to 48)
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                                                  Page 49                                                Page 50
      1    charter and the mission of what our, our group     1   going back now, and I know that there were
      2    was put together for.                              2   individuals from Novartis, but I'm struggling
      3       Q. And as you think about your                  3   with some of the names.
      4    involvement in the New Jersey Pharmaceutical       4      Q. With regard to the companies like
      5    Industry Group, how many people from Watson in     5   Novartis, can you think of any other companies
      6    2008 were involved in the NJPIG?                   6   that were participating in the New Jersey
      7       A. In 2008, certainly I was a new member        7   Pharmaceutical Industry Group around this time?
      8    to the team. I think probably Tracey Hernandez,    8      A. Novartis, Halo Pharmaceuticals.
      9    who was our head of DEA compliance at the time,    9   Yeah, I'm actually struggling with that, with
     10    would have been a member.                         10   some of the names.
     11       Q. Anybody else?                               11      Q. Have you ever heard of a company
     12       A. I'm not 100 percent sure, but some          12   called Endo?
     13    people within her group may have been members.    13      A. Yes.
     14       Q. So as you think of the entity, the          14      Q. Do you remember anyone from Endo
     15    New Jersey Pharmaceutical Industry Group, did     15   being part of the NJPIG?
     16    you know anybody from other companies that were   16      A. Not at that time. They may have been
     17    in the group?                                     17   a member. I don't know who would represent them
     18       A. Yes.                                        18   at that time.
     19       Q. Who did you know, as you think about        19      Q. As you think about it, about this
     20    it just off the top of your head?                 20   time, June 2008, again, just as you think about
     21       A. Mike Mejjiolaro, and I don't even           21   it, about how many members of the NJPIG were
     22    know if I can spell that name.                    22   there?
     23       Q. Anybody else?                               23      A. I couldn't speculate. I mean, if I
     24       A. I'm trying to think. It's -- we're          24   said a dozen, I --


                                                  Page 51                                                Page 52
      1       Q. But you don't have any particular            1          And then it states: "Invitation for
      2    feeling either way?                                2   speakers from state or federal agency and/or
      3       A. No.                                          3   suppliers is after discussion with the group."
      4       Q. All right. So this charter statement         4          All right? Do you see that there?
      5    has various text on it. And part of it is          5       A. Yes, sir.
      6    bullet points. And it says: "The goal of the       6       Q. Now you are -- or I just read the
      7    New Jersey Pharmaceutical Industry Group is to     7   second bullet point, "All information shared in
      8    increase compliance with DEA requirements          8   the meeting is confidential. And if you use the
      9    through the shared knowledge and experience of     9   idea that was presented at a meeting, it should
     10    group members."                                   10   not be attributed to any specific company. We
     11       A. Yes.                                        11   do not publish meeting notes."
     12       Q. And then it states: "All information        12          Do you remember whether you took
     13    shared in the meeting is confidential. If you     13   notes at meetings of the New Jersey
     14    use an idea that was presented at a meeting, it   14   Pharmaceutical Industry Group?
     15    should not be attributed to any specific          15       A. I don't recall if I took notes at
     16    company. We do not publish meeting notes."        16   those meetings.
     17            And then it says: "Each                   17       Q. And you regularly attended the
     18    company/member is expected to volunteer to host   18   meetings of this NJPIG, right?
     19    a meeting when it is their turn. We have about    19       A. I wouldn't say regularly. It was
     20    two meetings a year. The location is chosen by    20   probably intimately, when my schedule allowed
     21    the host company. Each meeting we ask for a       21   it.
     22    volunteer for the next meeting. Attendance by     22       Q. Okay. When you did not attend a
     23    multiple persons from the same company may need   23   scheduled meeting of the NJPIG, would someone
     24    to be limited based upon the room size."          24   attend for you?


                                                                            13 (Pages 49 to 52)
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                                                  Page 53                                                          Page 54
      1       A. In this time frame, no.                        1    was transitioning out over a six-month period.
      2       Q. How about later on?                            2        Q. Do you remember whether she stayed
      3       A. Later on, probably, yeah.                      3    employed at Watson at the end of the six-month
      4       Q. As you think of it, who would have             4    period?
      5    been the person who would have attended for you?     5        A. I can't recall if she stayed the
      6       A. It could have been any of the -- it            6    whole six months.
      7    could have been Bill Hepworth. It could have         7        Q. She doesn't work at Watson -- well,
      8    been one of our auditors.                            8    do you know whether she ever left Watson's
      9       Q. All right. And then you mentioned              9    employment at some point?
     10    one of the other people from Watson who may have    10        A. Yes.
     11    been involved in this was woman by the name of      11        Q. Do you know when?
     12    Tracey Hernandez, right?                            12        A. It would have been 2009.
     13       A. Yes, sir.                                     13        Q. All right. So with regard to the New
     14       Q. Was Tracey Hernandez, did she work in         14    Jersey Pharmaceutical Industry Group, do you
     15    New Jersey at this time?                            15    remember whether you ever hosted one of their
     16       A. Yes.                                          16    meetings?
     17       Q. And when you moved into the                   17        A. I believe we did host a meeting.
     18    reorganized DEA affairs and security part of        18        Q. Where did you host it?
     19    Watson, what did Ms. Hernandez do?                  19        A. It would have either been in our
     20       A. She was actually, because of the              20    Morristown location, but we subsequently moved
     21    organizational change to fold the organization      21    to Parsippany, so either one of those. I don't
     22    from quality into the security and operations       22    have a specific recollection of where we hosted
     23    organization, she was transitioning out of the      23    it. I believe we did host one.
     24    organization. So I think when I came in, she        24        Q. So you mentioned Morristown, and it's


                                                  Page 55                                                          Page 56
      1     M-o-r-r-i-s-town, right?                            1      document dated 10/21/08, Bates-stamped
      2         A. Yes.                                         2      ALLERGAN_MDL_03535009 through 010, marked
      3         Q. And then Parsippany, New Jersey.             3      for identification, as of this date.)
      4             Was it Parsippany, New Jersey, your         4   BY MR. EGLER:
      5     offices at Actavis?                                 5      Q.    So Exhibit 3, again, the first page
      6         A. Yes.                                         6   doesn't have a Bates number on it, but starting
      7         Q. And Morristown was where Watson was;         7   on the second page, it's ALLERGAN_MDL_03535009
      8     is that right?                                      8   through 010.
      9         A. Well, it was Watson and then Actavis.        9           Mr. Napoli, when you're ready, can
     10     So it was -- Watson moved from their location in   10   you tell me what this appears to you to be?
     11     Morristown to Parsippany. And then after the       11      A.    This looks like a promotional or a
     12     acquisition of Actavis, it became the Actavis      12   summary of a service or a product that
     13     headquarters.                                      13   Cegedim-Dendrite was marketing towards industry
     14         Q. Okay. So Watson moved to Parsippany?        14   to develop a statistically based model of
     15         A. Um-hmm.                                     15   Suspicious Order Monitoring.
     16         Q. And then they bought Actavis?               16      Q.    And, again, based on the information
     17         A. Correct.                                    17   that we received in the litigation, this
     18         Q. All right. Okay. You can set this           18   document came from your files.
     19     document aside for now.                            19      A.    Um-hmm.
     20             (Witness complies.)                        20      Q.    Do you remember this document?
     21     BY MR. EGLER:                                      21      A.    Yes.
     22         Q. All right. And I'll hand you what           22      Q.    What do you remember about it?
     23     we'll mark as Exhibit 3.                           23      A.    It probably, you know, came from
     24             (Napoli Exhibit 3, Cegedim-Dendrite        24   either from the conference or post conference,



                                                                                14 (Pages 53 to 56)
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                                                Page 57                                                             Page 58
      1     something that was, was sent to us or that I       1      Woods to Napoli, Bates-stamped
      2     printed off for informational purposes.            2      ALLERGAN_MDL_ 02467143 through 154, marked
      3        Q. Do you remember around this time --          3      for identification, as of this date.)
      4     well, this document refers -- is dated             4           (Handing.)
      5     October 21st, 2008.                                5      A.       Thank you.
      6         A. Um-hmm.                                     6      Q.       Mr. Napoli, can you look at
      7        Q. Do you remember around this time             7   Exhibit 4. And while you're looking at it
      8     having discussions with anyone from                8   generally, I'll read into the record the Bates
      9     Cegedim-Dendrite about their Suspicious Order      9   numbers.
     10     Monitoring offerings?                             10           It's ALLERGAN_MDL_02467143 through
     11        A. Not in 2008 because I wasn't in the         11   154. And I'm going to ask you some questions
     12     corporate role yet.                               12   about this document.
     13        Q. Okay. So why would you have saved           13      A.       Sure.
     14     this document?                                    14      Q.       Just let me know when you're ready.
     15        A. For educational informational               15   You don't have to have an understanding of all
     16     purposes.                                         16   the information.
     17        Q. All right. You can set this document        17      A.       Okay.
     18     aside.                                            18      Q.       I just want to ask you some questions
     19             (Witness complies.)                       19   about it.
     20     BY MR. EGLER:                                     20           (Document review.)
     21        Q. Now we're going to move on. I'm hand        21      A.       Okay.
     22     you what we will mark as Exhibit 4.               22      Q.       So did you use email when you worked
     23             (Napoli Exhibit 4, Email chain            23   at Watson?
     24        beginning with email dated 6/8/09 from         24      A.       Yes.


                                                Page 59                                                             Page 60
      1        Q. What was your email address?                 1    new role in 2009.
      2        A. I think it was TNapoli@Watson.com.           2        Q. And there is a person there named
      3        Q. Did you ever print out an email that         3    Molly Martin.
      4     you wrote or received while you worked at          4        A. Um-hmm.
      5     Watson?                                            5        Q. Who is Molly Martin?
      6        A. I'm sure I have.                             6        A. Molly Martin, I believe, was someone
      7        Q. As you think of it, would it have            7    who was a member of management within our
      8     looked like the -- format-wise, looked like the    8    quality team.
      9     document that we've marked as Exhibit 4?           9        Q. I think you had mentioned that term
     10        A. I would think so.                           10    "quality" before.
     11        Q. I'll represent to you that this             11        A. Um-hmm.
     12     document was produced to us by Allergan --        12        Q. In the context of your work at
     13        A. Okay.                                       13    Watson, what does that mean to you, quality
     14        Q. -- in this case.                            14    team?
     15           And it's my understanding that it is        15        A. The quality assurance organization is
     16     an email. And at the top of the page, it says     16    an organization that is very closely tied with
     17     "from," and it has the name Mary Woods.           17    ensuring compliance with FDA regulations and
     18           Do you know Ms. Woods?                      18    ensuring that we have a total quality system and
     19        A. I do.                                       19    that we are functioning according to FDA
     20        Q. Who is Mary Woods?                          20    regulations.
     21        A. Mary Woods was our head of order            21        Q. So is it fair to say there is a
     22     management.                                       22    different group to ensure compliance with FDA
     23        Q. When did you first meet Mary Woods?         23    regulations than there -- than there is a group
     24        A. Most likely when I entered into my          24    to ensure compliance with DEA regulations?


                                                                                  15 (Pages 57 to 60)
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                                               Page 61                                                 Page 62
      1             MR. KNAPP: Objection to form.              1   talked about Ms. Martin.
      2             MR. LUXTON: Objection.                     2          Do you remember anybody else from
      3     BY MR. EGLER:                                      3   that group?
      4        Q. Do you have an answer to the                 4      A. From the quality group?
      5     question? Sorry.                                   5      Q. Yes.
      6        A. Yeah, there is -- there is both              6      A. It's a very large group. Yeah, I do.
      7     quality group and a DEA compliance group.          7       Q. About how many people were in the
      8             MR. LUXTON: Sorry to interrupt, but        8   group, as you think of it?
      9        can we just have an agreement, because I        9      A. I couldn't even speculate.
     10        objected at the same time, an objection for    10      Q. Like dozens or less than ten?
     11        one defendant is an objection for all so I     11      A. More than -- more than a dozen. I
     12        don't have to put the same objections on       12   mean, we had a corporate group, and then there
     13        the record?                                    13   were quality groups at the sites.
     14             MR. EGLER: Yeah.                          14      Q. And thinking of the DEA group -- let
     15             MR. LUXTON: It might be in the CMO.       15   me start over because that was a little
     16             MR. EGLER: It is. That's all              16   cumbersome.
     17        covered.                                       17          As you think about the people at
     18             MR. LUXTON: Great. Thanks.                18   Watson that were responsible for making sure the
     19             MR. EGLER: We just need one. And          19   company complied with the DEA regulations and
     20        you guys can have a button if you want.        20   laws, about how many people at the Watson
     21             (Laughter.)                               21   headquarters when you started there had the
     22     BY MR. EGLER:                                     22   primary responsibility for that?
     23        Q. For the quality assurance group and         23       A. About a half dozen.
     24     their role with regard to FDA regulations, we     24          MR. KNAPP: Objection to form.


                                               Page 63                                                 Page 64
      1    BY MR. EGLER:                                       1       A. She would have been probably second,
      2        Q. And as you think about the half              2   you know, kind of someone who supported Tracey
      3    dozen, can you name some of them?                   3   Hernandez in her direct role. So oversight of,
      4        A. Bill Hepworth, Lynn DaCunha,                 4   of the group. Probably had her oversight in
      5    D-a-c-u-n-h-a. Ione Graziosi, Jim Dougherty         5   various functions. So as far as licensing,
      6    D-o-u-g-h-e-r-t-y, Sarah Blackenship. And we        6   registration, quota, Suspicious Order
      7    also had individuals at the sites that had          7   Monitoring, ensuring probably day-to-day
      8    compliance responsibilities as well.                8   management, where Tracey might have been a
      9        Q. All right. With regard to each of            9   little bit more strategic in her role.
     10    those people, as you think about them, did any     10        Q. And then as Ms. Hernandez
     11    of them have primary responsibility for the        11   transitioned out of her role, what did -- what,
     12    Suspicious Order Monitoring System?                12   if anything, changed about Ms. Graziosi's role?
     13        A. I believe Ione Graziosi.                    13       A. Essentially it stayed the same.
     14        Q. All right. That is a woman, right?          14       Q. Did she report to you at some point?
     15        A. Correct.                                    15        A. Yes.
     16        Q. Do you know what her job title was          16       Q. For about how long did she report to
     17    when you started at Watson's headquarters in New   17   you at Watson and Actavis?
     18    Jersey?                                            18       A. I'd say maybe a year.
     19        A. Manager of controlled substance             19        Q. And then after the year that you're
     20    compliance, I believe.                             20   thinking of, what, if anything, happened?
     21        Q. How would she -- what was her -- let        21       A. She left the organization.
     22    me start over.                                     22        Q. Were her job responsibilities
     23            What were her job responsibilities at      23   undertaken by somebody else?
     24    that time?                                         24        A. We actually -- with me leading the



                                                                            16 (Pages 61 to 64)
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                                                Page 65                                                       Page 66
      1     group, we actually brought in another individual    1   her in that role?
      2     who became an auditor investigator for us who       2      A. Yes.
      3     took the primary responsibility for the SOMS,       3      Q. Who?
      4     the Suspicious Order Monitoring role. And the       4      A. William Simmons.
      5     other individuals really kind of just picked up     5      Q. All right. And what was
      6     the other responsibilities.                         6   Mr. Simmons's role?
      7             I managed the overall operation, as         7      A. Will Simmons was, again, brought in
      8     well as the strategic operations.                   8   as an auditor/investigator, so he had a primary
      9         Q. So who was the person that you're            9   role for the day-to-day, for the DEA compliance
     10     thinking of that came in after Ms. Graziosi        10   side of Suspicious Order Monitoring, Know Your
     11     left?                                              11   Customer activities, any type of investigations,
     12         A. It would have been Lisa Scott. She          12   as well as audit.
     13     kind of came in during the time when Ione was      13      Q. Was Mr. Simmons physically located in
     14     there.                                             14   New Jersey for work?
     15         Q. And then for how long was Ms. Scott         15      A. Yes, sir. Yes.
     16     in that role?                                      16      Q. And as you think of it, by that time
     17         A. Four or five years maybe.                   17   when you were working with Mr. Simmons, you were
     18         Q. Do you remember --                          18   in Parsippany; is that right?
     19         A. If that.                                    19      A. Yes, sir.
     20         Q. Do you remember when she left?              20      Q. As you think about the physical
     21         A. When she left?                              21   layout of the Parsippany business for Watson and
     22         Q. About the time?                             22   Actavis, about how many stories was it?
     23         A. I'd say 2012, 2013.                         23      A. Four.
     24         Q. Do you remember if anyone replaced          24      Q. And what floor were you on?


                                                Page 67                                                       Page 68
      1         A. Third.                                       1       A. There was labeling. There was a
      2         Q. Do you remember, as you think of it,         2   component of quality there, supply chain.
      3     who else was on the third floor?                    3       Q. Anything else you can think of?
      4         A. In Parsippany?                               4       A. Not in particular.
      5         Q. And let me ask this a little bit             5       Q. All right. And I know this is a
      6     better.                                             6   complete estimate, but as you think of it, about
      7             As you think about the Parsippany           7   how many people worked on the third floor in the
      8     office building in the time that you moved in,      8   Parsippany building for Watson when you moved
      9     how would you categorize the group that you         9   in?
     10     managed or worked for? Would it be DEA affairs     10       A. A couple hundred.
     11     or something else?                                 11       Q. All right. Do you know whether
     12         A. DEA affairs.                                12   Watson maintained a call center at the
     13         Q. So about, as you think of it, about         13   Parsippany building around the time that you
     14     this time, about how many people in the DEA        14   moved in?
     15     affairs group were located for work in the         15       A. I don't believe there was a call -- I
     16     Parsippany building?                               16   don't know if there was a call center in
     17         A. Everyone.                                   17   Parsippany. I know there may have been one in
     18         Q. And about how many people was that?         18   California. Not -- I can't speculate on that.
     19         A. I guess about half a dozen folks            19       Q. All right. So let's go back to this
     20     there related to it.                               20   Exhibit 4. And I'll -- I'll tell you that we
     21         Q. So beyond the DEA affairs group, can        21   met with Mary Woods and took her deposition last
     22     you remember any other groups that were on the     22   week --
     23     third floor of the Parsippany building when you    23       A. Okay.
     24     moved in?                                          24       Q. -- and I'm going to try not to



                                                                               17 (Pages 65 to 68)
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                                                Page 69                                                 Page 70
      1     characterize what she said, but I think my          1   input as this is transitioning over to you."
      2     questions were being formed by my perception of     2          So she uses a couple terms there, the
      3     what she said --                                    3   SOP, and I think we talked about what that
      4         A. Okay.                                        4   meant.
      5         Q. -- which might be different from your        5      A. Yes.
      6     counsel's perception of what she said.              6      Q. And then she uses the term "the call
      7         A. Okay.                                        7   center."
      8         Q. So rather than get into an argument          8          As you think back to around this
      9     about what she said, I'm going to ask you           9   time, 2009 at Watson, what was the call center?
     10     questions for you to answer.                       10      A. She may be referring to the call
     11         A. Sure.                                       11   center for sales.
     12         Q. So this first email, which is the           12      Q. Okay. And then with regard to the
     13     last email in time, on Exhibit 4, Ms. Woods        13   controlled substance compliance team, do you
     14     writes, "Hi, Tom. Need your feedback for Molly.    14   recognize that as the group that you worked
     15     The SOP below belongs to the call center but has   15   with?
     16     many owners that supply feedback as designated     16      A. Yes.
     17     in the left column. Several departments review     17      Q. All right. So when she talks about
     18     to make sure we are in compliance.                 18   the "SOP below," as you look through this email,
     19             "The current control substance             19   can you identify an SOP that's attached to it or
     20     compliance team requested an immediate change      20   a part of it?
     21     last month. We added their request to Section      21      A. Yes.
     22     1.11. Molly has a few questions in reference to    22      Q. All right. Where would that be?
     23     these changes. Her questions are below.            23          (Document review.)
     24             "We feel it is critical to get your        24      A. MDL_7151.


                                                Page 71                                                 Page 72
      1        Q. All right. That's the last few                1   worked from a systemic standpoint, as well as
      2     pages. The page that you pointed to starts with     2   from a procedural standpoint in ensuring that we
      3     the word "purpose."                                 3   didn't have any gaps.
      4             Is that right?                              4       Q. Before this time, mid 2009, did you
      5        A. Correct.                                      5   have any experience with Suspicious Order
      6        Q. And under "purpose" it states, "To            6   Monitoring systems?
      7     assure distribution of controlled drugs is          7       A. Not in an operational sense, but I
      8     monitored for excessive use by an individual        8   certainly had education and was familiar with
      9     location using the DEA number as the                9   Suspicious Order Monitoring.
     10     identifier."                                       10       Q. When did that education start?
     11             Do you remember whether this SOP was       11       A. Probably shortly after I joined the
     12     enforced when you started in -- when you started   12   organization and took controlled substance
     13     in your job at Watson around June 2009?            13   responsibilities.
     14        A. I believe it was.                            14       Q. So as you think about the suspicious
     15        Q. All right. So around this time, did          15   order of management system at Watson at this
     16     you do a study or a review of the standard         16   time, what -- and "this time" being mid-2009
     17     operating procedures of the Suspicious Order       17   when this email was written, what part of it, if
     18     Monitoring System?                                 18   any, was your responsibility?
     19        A. I'm sure that I did.                         19       A. When I came on into this role?
     20         Q. How would you have done that, as you        20       Q. Yes.
     21     think of it?                                       21       A. I would have oversight to ensure that
     22        A. I would have likely worked with, with        22   it was compliant with DEA regulations.
     23     Mary to get an understanding of the process, as    23       Q. And I want to talk for a little bit
     24     well as folks on my team, to understand how it     24   about the physical or mechanical processes


                                                                             18 (Pages 69 to 72)
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                                                Page 73                                                 Page 74
      1     involved in the Suspicious Order Monitoring         1   well, too, for those types of class trades. So
      2     System, as you understand them.                     2   various different parameters that would provide
      3         A. Sure.                                        3   an average of ordering history, so not a static
      4         Q. So my understanding is that the              4   number. So it would be changing based on, on
      5     Suspicious Order Monitoring System creates a, a     5   the ordering patterns, as well as their was a
      6     limit on the size of an order based on various      6   multiplier as well, too, that would provide a
      7     variables that will alert people at a company       7   plus or minus tolerance, so to speak.
      8     that an order is of interest or pending; is that    8       Q. So, again, thinking of the mechanical
      9     right?                                              9   part or the process part of the Suspicious Order
     10            MR. KNAPP: Objection to form.               10   Monitoring System, you used the terms ERP and
     11            MR. LUXTON: Objection to form.              11   SAP system.
     12     BY MR. EGLER:                                      12       A. Um-hmm.
     13         Q. Is your understanding similar to            13       Q. How would the parameters for the
     14     that?                                              14   Watson Suspicious Order Monitoring System be
     15         A. My understanding, that there is a           15   included in the ERP system?
     16     system that was developed within our, our ERP,     16           Do you have an understanding?
     17     our enterprise resource and system SAP that        17           And what I'm trying to ask is, as you
     18     would, based on a model that was designed, that    18   think of the SAP systems that manages
     19     would look at a six-month role in history, would   19   inventories and orders and everything --
     20     develop an average -- it would rationalize         20       A. Um-hmm.
     21     ordering behavior. It would also look at           21       Q. -- do you know who was responsible
     22     different characteristics as markers, whether it   22   for putting the Suspicious Order Monitoring
     23     was a particular class of trade of an              23   System in the process of the ERP?
     24     organization or -- and a monthly average as        24       A. The -- who built the process?


                                                Page 75                                                 Page 76
      1       Q. Yes.                                           1   were on the order management team when you
      2       A. Who built the process, I think it was          2   started in 2008?
      3    before my time, but it was a collaboration           3      A. No.
      4    between order management, our SAP, IT folks, as      4      Q. As you think of it, was it more than
      5    well as controlled substance compliance would        5   a dozen?
      6    have been a project team member.                     6      A. No.
      7       Q. So with regard to the IT people for            7      Q. Was it more than six?
      8    the SAP system, can you think of any particular      8      A. Probably less than six.
      9    individuals that you would think would be            9      Q. And then do you have an understanding
     10    primarily responsible for that?                     10   of whether the, the number of people on the
     11       A. I can't recall back that far.                 11   order management team at Watson increased while
     12       Q. All right. And then when the system           12   you were there and the company changed its name
     13    was in place in the -- let me start over.           13   to Actavis?
     14           When the Suspicious Order Monitoring         14      A. I can't be certain, but I believe
     15    System was in place in Watson's SAP system and      15   that there were additional folks that came on
     16    an order pended, what would happen next?            16   board.
     17       A. If an order pended, it would be               17      Q. Do you remember the names of any
     18    reviewed by a member of the order management        18   people who were on the order management team?
     19    team specifically dedicated to controlled           19      A. Sandy Simmons was the manager.
     20    substance ordering.                                 20   Victoria Lepore was in order management.
     21       Q. Now that order management team that           21   Bettina Dwor, I think was and individual --
     22    you mentioned, did they report to you?              22   Bettina, I think it's D-w--o-r. I think she
     23       A. No, they reported to Mary.                    23   came on later. I know there was another
     24       Q. And do you know about how many people         24   individual or two, but I just can't recall the



                                                                             19 (Pages 73 to 76)
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                                                      Page 77                                            Page 78
      1     names.                                               1   responsible for ensuring the onboarding, the
      2          Q. So the people that you're thinking           2   compliant onboarding of, of customers, you know,
      3     of, were they all located in New Jersey?             3   ensuring, you know, and, you know, the order
      4          A. Yes, sir.                                    4   management process for -- on the commercial
      5          Q. All right. And do you have an                5   side.
      6     understanding of, before you started, whether        6      Q. You used the term "onboarding."
      7     the entire order management team was it located      7          What does that mean in the context of
      8     in New Jersey or were they in New Jersey and         8   your work?
      9     other places?                                        9      A. Doing due diligence, vetting.
     10          A. You know, now when I think back on          10      Q. So is that when Watson first took on
     11     it, I believe Mary, as well as there was an         11   a new customer or something else?
     12     individual, Judy Callahan, who worked for Mary      12      A. Yes.
     13     as well too, they both came over from the           13      Q. All right. And then -- can you think
     14     Corona, California, facility. So that call          14   of any other responsibilities that Ms. Woods
     15     center may have been in Corona, and it              15   had?
     16     eventually transitioned to New Jersey.              16      A. No, I -- I can't speak to what her
     17          Q. With regard to the -- let me start          17   specific job functions are.
     18     over.                                               18      Q. All right. So you can set this aside
     19              With regard to Mary Woods, what was        19   for now.
     20     her role with regard to the order of the            20          MR. EGLER: You guys want to take a
     21     management team?                                    21      break?
     22          A. Mary had responsibility for customer        22          MR. LUXTON: Yeah, it's probably a
     23     -- customer service capacity, but also on the       23      good time.
     24     order management side, she would have been          24          THE VIDEOGRAPHER: The time is


                                                      Page 79                                            Page 80
      1       approximately 10:23 a.m. We are going off          1      A. Um-hmm.
      2       the record.                                        2      Q. Is the master data administrator, as
      3           (Recess is taken.)                             3   you think about it, about the same thing as the
      4           THE VIDEOGRAPHER: The time is                  4   order management team we are talking about?
      5       approximately 10:47 a.m., and we are back          5      A. Yes.
      6       on the record.                                     6      Q. So as you go through the columns
      7    BY MR. EGLER:                                         7   there, it says, "Action," and it has 1.3, 1.4
      8       Q. Mr. Napoli, thanks for coming back.             8   and so on. And it talks about various actions
      9       A. Sure.                                           9   that are taken.
     10       Q. Can you pick up this, what we've               10           And, again, with the understanding
     11    marked as Exhibit 4, and turn to essentially the     11   that this email, it's Exhibit 4, is a decade
     12    third to last page. It's ALLERGAN_MDL_02467152.      12   old, I'd like to ask you about a couple of the
     13    In the top left-hand corner, it states               13   actions that are listed there.
     14    "Responsibility"?                                    14      A. Sure.
     15       A. Yes.                                           15      Q. If you look at -- let's just go
     16       Q. So as you look at this page, are               16   through the first one.
     17    these the processes contained in the standard        17           1.3 states: "If a processed order
     18    operating procedure that we've been talking          18   generates a SOMS excessive order flag in SAP,"
     19    about before the break?                              19   and then there's words in parentheses, "due to
     20       A. Yes.                                           20   more frequent or larger than normal order
     21       Q. So in the upper left-hand corner               21   pattern, master data administrator will generate
     22    under "Responsibility," it states, "Master data      22   a suspicious order controlled drug SOMS."
     23    administrator."                                      23           Do you see that there?
     24           Do you see that there?                        24      A. Um-hmm.


                                                                              20 (Pages 77 to 80)
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                                                        Page 81                                            Page 82
      1        Q. And then it states, "The master data             1   it, in the customer service organization that
      2     administrator will review the SOMS report and          2   we've been talking about?
      3     then, if warranted, contact the customer to            3        A. Yeah, but on the order management
      4     confirm the quantity ordered, verify the reason        4   side, yes.
      5     for a larger or more frequent order."                  5        Q. Okay. And as I'm thinking about it,
      6             The next one is: "Once this SOMS               6   as, as opposed to, or just to be sure, they
      7     report is confirmed" --                                7   weren't in the DEA affairs group at that time?
      8             MR. LUXTON: Can someone put the                8        A. Right. They were a customer-facing
      9        phone on mute? We're getting background             9   group.
     10        noise.                                             10        Q. Okay. So the next one there, the
     11     BY MR. EGLER:                                         11   data -- "The master data administrator will be
     12        Q. "Once the SOMS report is confirmed              12   responsible to ensure that pending sales orders
     13     and verified by the customer, the SOMS report is      13   on hold due to suspicious order SOMS violation
     14     signed and marked with a reason code by the           14   are investigated."
     15     master data administrator and submitted to the        15            And then 1.7 is: "The matter data
     16     manager for review and signature."                    16   administrator will release pending orders due to
     17             In the context of this document, do           17   SOMS violations by canceling the order or
     18     you have an understanding of who the manager          18   reducing the quantity per SOMS procedure."
     19     would be?                                             19            And then the next one is: "If the
     20        A. It could have been, depending on the            20   SOMS violation cannot be resolved by cancelling
     21     time, it could have been Julie Callahan. It           21   the order or reducing the quantity, the master
     22     could have been Sandy Simmons.                        22   data administrator will escalate the suspicious
     23        Q. Okay. So with regard to Ms. Callahan            23   order to the next level."
     24     and Ms. Simmons, were they all, as you think of       24            And then it goes to the term, "call


                                                        Page 83                                            Page 84
      1    center management."                                     1   substance compliance department." And 1.11 has
      2           Do you see that there?                           2   words that are struck out and then words that
      3       A. Yes.                                              3   are underlined that are supposed to be replacing
      4       Q. And it says, 1.9, under Call Center               4   the words that are struck out.
      5    Management, "Determine if the order does or does        5          The words that are struck out are:
      6    not classify as suspicious."                            6   "The controlled substance compliance department
      7           And so, again, as you think about                7   will be responsible for reporting the order to
      8    this time, June 2009, was the call center               8   the Drug Enforcement Administration."
      9    management group at Watson under the DEA affairs        9      A. Um-hmm.
     10    department or some other department?                   10      Q. And then the new words are: "Upon
     11       A. No, they were within the customer                11   confirmation that the order is suspicious, the
     12    service group.                                         12   controlled substance compliance department will
     13       Q. All right. And then on 1.10, it                  13   be report" -- "will be responsible for reporting
     14    states: "If a valid reason, based on objective         14   the order to the Drug Enforcement Administration
     15    criteria does not exist, order will be deemed as       15   and the applicable state Board of Pharmacy. The
     16    a suspicious order and will not be filled.             16   Department of Regulatory Affairs will also
     17    Report suspicious issue to controlled substance        17   report the incident to FDA within three business
     18    compliance department."                                18   days."
     19           Now that controlled substance                   19          Do you see that there?
     20    compliance department, is that your group?             20      A. Yes, sir.
     21       A. Yeah. That was the group I was                   21      Q. Do you remember this proposed
     22    transitioning to at the time.                          22   change -- going back again, understanding it's
     23       Q. Okay. And then the next one there,               23   ten years ago, do you remember that proposed
     24    it states, on the left-hand side, "Controlled          24   change being proposed?



                                                                                21 (Pages 81 to 84)
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                                                 Page 85                                                        Page 86
      1         A. No.                                          1   eventually handled by my DEA affairs group.
      2         Q. All right. And then do you remember          2      Q. And as you think about that change,
      3     whether that process that's underlined there was    3   and the decision being moved to the DEA affairs
      4     ever -- ever adopted?                               4   group, do you remember why that change was made?
      5         A. It was.                                      5      A. I think we were the appropriate
      6         Q. All right. Then the last one goes            6   organization, being a compliance organization,
      7     back to the master data administrator. It's         7   to make that determination.
      8     1.12. "File a copy of the SOMS report along         8      Q. Right.
      9     with the customer purchase order and the            9           Do you know when that change was
     10     suspicious order record file."                     10   made?
     11             So with regard to these procedures         11      A. I do not.
     12     that are listed there, as you think about them     12      Q. Do you remember ever having a
     13     and as I read them, did some or many of the them   13   discussion about making that change?
     14     change while you were at Watson and then           14      A. I do not.
     15     Actavis?                                           15      Q. And as you think about the
     16         A. Yes.                                        16   organization that this responsibility was
     17         Q. So especially with regard to looking        17   shifted to, the 1.9 listed there, who in your
     18     at the classification of determining if the        18   organization would have been primarily
     19     order does or does not classify as suspicious,     19   responsible for determining if an order does or
     20     in this procedure, it's listed as being under      20   does not classify as suspicious once that
     21     the call center management's organization.         21   responsibility was transferred to them?
     22             Did that change at some point?             22      A. There would be an investigation
     23         A. Yes, because the decision to                23   process that would be conducted by an auditor or
     24     determine if an order was suspicious was           24   investigator on my staff, and we would meet and


                                                 Page 87                                                        Page 88
      1     review the facts of the issue, and I would          1      A. Yes, sir.
      2     ultimately make the determination.                  2      Q. All right. And with regard -- as you
      3         Q. So the auditor/investigator that you         3   think about it with regard to the processes that
      4     mentioned, how many -- during your time at          4   the auditor/investigator would undertake, once
      5     Watson, how many auditor/investigators did you      5   they were given an order to make the
      6     have?                                               6   determination of, what would they do?
      7         A. Two primary. And we also had an              7      A. If there was an order that pended in
      8     individual who was part of our global security      8   the system of an order of interest that couldn't
      9     team who was a trained investigator who served      9   be resolved at the level by order management,
     10     as a backup.                                       10   our auditor/investigator would reach out to the
     11         Q. Who were the two primary auditor            11   customer, to the compliance person.
     12     investigators?                                     12           In some cases on the order management
     13         A. We first had Lisa Scott and then Will       13   side, they're -- they might be talking to
     14     Simmons. Our security auditor was Jeff Collins.    14   someone on the other side who is placing the
     15         Q. So with regard to Ms. Scott and             15   order who is not necessarily a compliance
     16     Simmons, were they ever in their respective        16   person. So our person, our auditor, would pick
     17     positions as auditor investigators at the same     17   up the phone. And we had strong relationships
     18     time?                                              18   with all our customers. We knew who the
     19         A. No.                                         19   compliance people were. We would reach out to
     20         Q. So with regard to the                       20   the compliance person for that customer and have
     21     auditor/investigator role, as you think of it      21   a conversation with them, explain that their
     22     while you were at Watson and then at Actavis,      22   order had pended, and try to ascertain or obtain
     23     there was one primary auditor/investigator at      23   justification.
     24     any given time?                                    24           Was there a new customer that came on


                                                                               22 (Pages 85 to 88)
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                                                           Page 89                                            Page 90
      1     board, has there been an issue within the                 1      A. I met with the gentleman seated next
      2     market, an inventory build for a launch or                2   to me, just to really go through what is
      3     something, and try to ascertain what the                  3   entailed in a deposition, kind of the process.
      4     business rationale was for the increase in the            4      Q. Have you ever given a deposition
      5     order.                                                    5   before?
      6         Q. So with regard to the justifications               6      A. Civilly. It would be many years ago.
      7     that you're thinking of, when an issue was                7      Q. About when was it?
      8     raised to the auditor/investigator level, if              8      A. 1990s. It was a personal injury
      9     they reached out to the customer at any level,            9   thing.
     10     would they be required to have some type of              10      Q. Have you ever given testimony under
     11     documentary evidence or other evidence to                11   oath in a court of law?
     12     demonstrate the facts that the customer was              12      A. No, sir.
     13     giving them?                                             13      Q. All right. Did you talk with anyone
     14             MR. KNAPP: Objection to form.                    14   other than your counsel about the deposition
     15         A. I don't know if in all cases, but                 15   today?
     16     there -- you know, where we could obtain                 16      A. My wife.
     17     documented information, we -- we could.                  17      Q. All right. Anyone else?
     18         Q. All right. You can set this document              18      A. No.
     19     aside.                                                   19      Q. Okay. So I'm going to hand you what
     20             (Witness complies.)                              20   we'll mark as Exhibit 5.
     21     BY MR. EGLER:                                            21      A. Can I correct -- I did have a
     22         Q. And before we get to the next                     22   conversation with Mary Woods.
     23     document, I wanted to ask you, before today, did         23          MR. LUXTON: You should correct that,
     24     you do any preparation for the deposition?               24      yeah.


                                                           Page 91                                            Page 92
      1       A. I think that needs to be corrected.                  1      for identification, as of this date.)
      2       Q. Sure.                                                2      A. Yes.
      3       A. Last week I had a half-hour call with                3      Q. When you're ready, I ask you, while
      4    counsel and Mary Woods regarding deposition.               4   you were at Actavis and Watson, did you ever use
      5       Q. What did she tell you?                               5   the, use Microsoft note taking program?
      6       A. She was just looking for some                        6      A. Not that I recall.
      7    clarification, procedural clarifications from              7      Q. We had a conversation last week with
      8    when we administered the SOMS program. Nothing             8   Ms. Woods about Microsoft OneNote, and this
      9    about the deposition.                                      9   appears to be a document that's formatted as a
     10       Q. Is it fair to say she asked you                     10   OneNote document.
     11    questions in preparation for her deposition?              11          But that said, as you look at this
     12       A. Correct.                                            12   document, it's dated -- the first entry at the
     13       Q. All right. Great. Thank you.                        13   top of the document is dated Wednesday,
     14       A. You're welcome.                                     14   June 23rd, 2010.
     15       Q. And I'll hand you what we'll mark as                15      A. Um-hmm.
     16    Exhibit 5.                                                16      Q. And it states, "Customer
     17       A. Sure.                                               17   communications for SOMS."
     18       Q. Mr. Napoli, can you look generally at               18          As you read through this, it has the
     19    Exhibit 5. As you're looking at it, I'll read             19   word or the name "Laura Pinti?
     20    into the record. It's Bates-stamped                       20      A. Um-hmm.
     21    ALLERGAN_MDL_03738524 through 8528.                       21      Q. Who is Laura Pinti?
     22           (Napoli Exhibit 5, Document entitled               22      A. Laura Pinti also worked in Mary
     23       "Customer Communication for SOMS,"                     23   Woods's group.
     24       ALLERGAN_MDL_03738524 through 8528, marked             24      Q. Do you remember what her position was


                                                                                   23 (Pages 89 to 92)
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                                                Page 93                                                           Page 94
      1     around this time, mid-2010?                         1   language be sent to customers when a SOMS order
      2         A. I don't.                                     2   pended?
      3         Q. And Ms. Pinti writes, "Effective             3      A. Sure.
      4     today, please implement the following format for    4           In addition to the header that is
      5     all SOMS orders that require additional             5   indicated in the "Dear Customer" highlighted
      6     information from the customer."                     6   paragraph, the Tom's paragraph is essentially a
      7             Then it has, "Dear Customer," and           7   verbatim quote from CFR 1301.74 which details a
      8     then it says, "Merge Tom's email into this          8   registrant's obligation to report orders of
      9     paragraph. Thank you for your recent controlled     9   suspicious, order of pattern of frequency and
     10     substance order. The order is currently under      10   size, and just detailing the regulations for the
     11     review. In effort to complete the review           11   customers to why we're doing it. And it's a
     12     process, please take a moment to complete the      12   regulatory requirement. It needs to be complied
     13     following questions below that will assist us in   13   with.
     14     completing the necessary review process. Your      14      Q. All right. So then there are various
     15     immediate response is required to expedited the    15   entries underneath that paragraph and it says,
     16     order review procedure."                           16   "Reason for Increase." And then there are
     17             And then it states, "In accordance         17   numbered explanations there. Two under "New
     18     with CFR and then an ellipsis, and then it says,   18   Contract" and two under "Promotion" and two
     19     in parentheses, "Tom's paragraph."                 19   under "New Customer" and two for "Adding Product
     20             Do you think the "Tom" they're             20   to Product Line."
     21     referring to there is you?                         21           Do you know who would have come up
     22         A. Yes.                                        22   with that data there?
     23         Q. All right. So do you remember having        23      A. Likely Mary and her team.
     24     a discussion around this time of what type of      24      Q. All right. And then going down


                                                Page 95                                                           Page 96
      1     further in this page, it's highlighted there, it    1      Q. Do you remember writing that
      2     states, "Tie the 852 data to Suspicious Order       2   paragraph that appears there starting with, "In
      3     Monitoring."                                        3   accordance with 21 CFR 1301.74"?
      4              In the context of your work at Watson      4      A. Yes.
      5     and Actavis, do you have an understanding of        5      Q. So this is June 2010, right?
      6     what that would mean?                               6      A. Um-hmm.
      7          A. 852 data in the parlance of SAP or          7      Q. And at this time, you had been in
      8     it's called EDI, electronic data interchange, so    8   your position with the DEA affairs group for
      9     it's a standard language or a protocol for a        9   about a year, is that fair to say?
     10     supply chain. I don't know if it's exclusive       10      A. Just about, yes.
     11     to, to the pharma industry. But essentially I      11      Q. Before you started your position with
     12     believe 852 data tells you what a specific         12   the DEA affairs, what training, if any, did you
     13     customer has on hand in their warehouse.           13   have with regard to the Suspicious Order
     14          Q. As you think of the 852 data, would        14   Monitoring processes?
     15     that be information about the -- Watson's direct   15      A. Consistent attendance with the
     16     customers or would it be information about the     16   Cegedim/Buzzeo group, their education. And they
     17     distributor's customers or something else?         17   spent a lot of time on Suspicious Order
     18          A. Direct customers. We would only have       18   Monitoring. It was very important to them.
     19     access to that.                                    19   Obviously as a consultant. But they provided
     20          Q. And then go on to the next page of         20   excellent training.
     21     this document. It has the word "Tom's verbiage"    21          Also the DEA on almost an -- at one
     22     there.                                             22   time, was almost on an annual or biannual basis,
     23              Do you see that?                          23   the DEA would host conferences for the various
     24          A. Um-hmm.                                    24   registrant populations, whether it be



                                                                                24 (Pages 93 to 96)
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                                               Page 97                                                 Page 98
      1    manufacturers, distributors, importers,             1   systems?
      2    exporters. And I attended consistently those        2       A. I don't recall any conversations
      3    conferences as well too dealing directly with       3   in-depth regarding systems or practices in place
      4    the DEA in understanding the regulations and the    4   at -- for individual pharmaceutical
      5    expectations of the Drug Enforcement                5   manufacturers.
      6    Administration.                                     6       Q. All right. Do you remember whether
      7        Q. Can you think of any other training          7   that, the Suspicious Order Monitoring System was
      8    you had?                                            8   ever discussed as a topic at any NJPIG meeting?
      9        A. There may have been some other               9       A. It could have been a topic of --
     10    private industry training, but also, you know,     10   Suspicious Order Monitoring, as a topic, could
     11    certainly a large component of any job is          11   have been discussed at the meeting.
     12    on-the-job training as well too. So when my        12       Q. Okay. All right. Turning further
     13    predecessor was transitioning out, as well as      13   into this document, on the next page, it's
     14    folks I had on staff, I would learn from them as   14   38526?
     15    well, too.                                         15       A. Yes.
     16        Q. Then after you took the job as the          16       Q. And it states, "SOMS Agreement," and
     17    head of DEA affairs, did you have any further      17   it appears to be an email that you were cc'd on.
     18    training on Suspicious Order Monitoring systems?   18           Do you see that there?
     19        A. Just the continued education through        19       A. Yes.
     20    Buzzeo, DEA, and practical experience as I got     20       Q. So I think we had talked about it
     21    into the role.                                     21   before, but who is Lisa Scott?
     22        Q. With regard to the NJPIG group that         22       A. She was a compliance
     23    we had been discussing, at their meetings, did     23   auditor/investigator for our security and DEA
     24    they discuss Suspicious Order Monitoring           24   affairs team.


                                               Page 99                                               Page 100
      1       Q. And then she writes an email to               1       Q. Do you remember --
      2    Victoria Lepore, L-e-p-o-r-e, and Larry E.          2       A. It was a long time ago.
      3    Schaffer?                                           3       Q. All right. And do you remember this
      4       A. Schaffer.                                     4   event that of June of 2010, for three days in
      5       Q. And she cc's Mary Woods, Laura Pinti,         5   June 2010, orders from four distributors would
      6    you, Lynn DaCunha, and Ione Graziosi -- can         6   be not asked for justifications if they pended
      7    you --                                              7   in the SOMS system?
      8       A. Graziosi.                                     8       A. I don't recall the specific event.
      9       Q. That's G-r-a-z-i-o-s-i.                       9   But looking at the dates, it's just prior to 4th
     10       A. Correct.                                     10   of July holiday. These are large customers.
     11       Q. And she states, Ms. Scotts states,           11   Likely not doing business over that period, so
     12    "FYI, as discussed during our 10:00 [sic] a m.     12   they may have been -- had a meeting with us as
     13    EST meeting today, we have come to the following   13   our customers to talk about we're going to be
     14    agreement. Any order placed on June 21st, 22nd,    14   ordering quantities that are not consistent with
     15    or 23rd by ABC, Cardinal, McKesson or HD Smith     15   our ordering patterns because we're building an
     16    that is held by the system pending on SOMS         16   inventory because we're going to be shut down,
     17    review will not require customer contact for       17   so they would be missing a normal ordering
     18    order justification and DEA affairs reviews.       18   pattern. So I would -- it would be speculation,
     19    These orders may be released. This agreement       19   but that there was a conversation that took
     20    applies specifically to these customers and        20   place where they discussed what those quantities
     21    order dates only."                                 21   would be and rationalizing them and
     22            Do you remember this email from            22   understanding that next order cycle, there
     23    Ms. Scott?                                         23   wouldn't be an order because it would -- it
     24       A. I don't.                                     24   would flatten out.


                                                                          25 (Pages 97 to 100)
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                                                         Page 101                                          Page 102
      1             So just discussing -- discussing the             1           With regard to the SOMS system at
      2     rationale prior to a holiday, it's not uncommon          2   Watson and then at Actavis, the SOMS system
      3     at the end of year or midyear.                           3   applied to every controlled substance drug; is
      4         Q. Do you remember whether this type                 4   that right?
      5     of -- this type of process was used every year           5      A. Yes, sir.
      6     around the 4th of July holiday as you mentioned?         6      Q. And that would be Schedule II through
      7         A. There, there typically were                       7   V; is that right?
      8     conversations with customers regarding when              8      A. Correct.
      9     there was going to be a period of shutdown or an         9      Q. And as you think of it, were -- was
     10     interruption to the normal order -- ordering            10   there any time at Watson or Actavis where one
     11     pattern.                                                11   schedule of drug was treated differently from
     12         Q. So I think you mentioned the 4th of              12   the other schedules of drugs by the Suspicious
     13     July and then the winter holidays.                      13   Order Monitoring System?
     14             Is there any other time of year that            14      A. Within the Suspicious Order
     15     you can think of that this would occur?                 15   Monitoring System, it was all -- you know, a
     16         A. Not necessarily, unless a product was            16   controlled drug was a controlled drug.
     17     seasonal. You know, you had some products that          17      Q. So, for example, Schedule II drugs
     18     were, you know, during a particular cold and flu        18   wouldn't be treated any differently from
     19     season or if -- children are going back to              19   Schedule III, IV or V drugs?
     20     school, for certain products, there would be a          20      A. Right.
     21     seasonality, so increases might be out of the           21      Q. Do you remember whether particular
     22     ordinary.                                               22   opioids were ever treated differently from all
     23         Q. And that leads me to the next                    23   the other scheduled drugs?
     24     question.                                               24           MR. KNAPP: Objection to form.


                                                         Page 103                                          Page 104
      1       A. No.                                                 1           (Document review.)
      2       Q. So just so we're clear, you don't                   2       A. I definitely recognize the document.
      3    think they ever were, or you don't remember               3       Q. So starting with the first page of
      4    either way?                                               4   this exhibit, page 063, is that an email from
      5             MR. KNAPP: Same objection.                       5   Lisa Scott to you?
      6       A. I don't recall.                                     6       A. Yes.
      7       Q. All right. You can set this document                7       Q. And she sends it on Tuesday, February
      8    aside.                                                    8   2nd, 2010, at 11:47 a m., which says -- the
      9             (Witness complies.)                              9   subject is "Presentation," and it says, "Tom,
     10             (Napoli Exhibit 6, Email dated 2/2/10           10   see attached, Scotty."
     11       from L. Scott to T. Napoli with attachment,           11       A. Yes.
     12       ALLERGAN_MDL_ 01236063 through 6094, marked           12       Q. Do you remember whether Ms. Scott
     13       for identification, as of this date.)                 13   sent you this particular presentation around
     14    BY MR. EGLER:                                            14   that time, early February, 2010?
     15       Q. I'm going to hand you what we will                 15       A. I don't have a specific recollection
     16    mark as Exhibit 6.                                       16   of it.
     17             Mr. Napoli, can you look at what                17       Q. So on the next page, page 064 begins
     18    we'll mark Exhibit 6? While you're looking at            18   the attachment to the email, which appears to be
     19    it, I'll read into the record. It's                      19   a PowerPoint presentation, and states, "DEA
     20    ALLERGAN_MDL_01236063 through 6094.                      20   affairs organizational overview," and it says
     21             When you're ready, can you tell me              21   "Thomas Napoli, CCP, U.S. generics, February
     22    whether you remember ever seeing the document            22   2nd, 2010."
     23    that appears on the second page of this exhibit          23           Do you see that there?
     24    through the end?                                         24       A. Yes.


                                                                             26 (Pages 101 to 104)
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                                                  Page 105                                                   Page 106
      1       Q. So did you make this presentation to          1   there any training on Suspicious Order
      2    somebody or a group of people in Florida in         2   Monitoring systems?
      3    early February of 2010?                             3       A. No.
      4       A. It's possible.                                4      Q. When did you receive the
      5       Q. Do you remember making this                   5   certification from the American Society of
      6    presentation to a group of people in early 2010?    6   Industrial Security?
      7       A. I don't.                                      7      A. Mid-2000s.
      8       Q. Okay. So next to your name there, it          8      Q. So then below there it states, "U.S.
      9    says "CPP."                                         9   generics."
     10           What does that stand for?                   10           As you think about that term, what
     11       A. That is a board certification in             11   does that mean in the context of this
     12    security management from the American Society of   12   presentation?
     13    Industrial Security, so the highest designation    13      A. That indicates the division that I
     14    you can get in security management.                14   worked for.
     15       Q. So that designation from the American        15      Q. All right. As you think of Watson
     16    Society of Industrial Security, what was the       16   around this time, early 2010, you identified the
     17    subject matter of the certification that you       17   U.S. generics division.
     18    received from them?                                18           What were the other divisions that
     19       A. The subject matter were all aspects          19   you can think of?
     20    of physical security.                              20      A. There would be generics and, I guess
     21       Q. Was the certification specifically           21   brand or commercial.
     22    related to pharmaceutical drugs?                   22      Q. Okay. Do you know whether any of the
     23       A. No.                                          23   brand or commercial drugs that Watson made at
     24       Q. As part of the certification, was            24   this time were controlled substances?


                                                  Page 107                                                   Page 108
      1         A. There were but very few.                    1   goals and objectives."
      2        Q. Do you know whether those controlled         2            Reading that, do you -- does this
      3     substances from the brand division would have      3   help you remember who you might have presented
      4     been governed by the same Suspicious Order         4   this to in early 2010?
      5     Monitoring System that applied to the generics     5      A. No. This was probably presented to a
      6     drugs?                                             6   lot of folks.
      7         A. Of course.                                  7      Q. When you say "a lot of folks," is
      8         Q. And as you think of it, was it the          8   that a lot of folks at once or you made this
      9     same system or two similar systems?                9   presentation to different groups at different
     10         A. Same exact system.                         10   times?
     11        Q. All right. And would they all -- let        11      A. Different groups, different times.
     12     me start over.                                    12      Q. All right. As you think of it, in
     13             Would all the orders for the              13   2010, can you remember about how many times you
     14     controlled substances, as you think of them, be   14   would have made this presentation?
     15     passed through that SAP system that we were       15      A. No.
     16     talking about earlier today?                      16      Q. So turning two pages in on 067, your
     17         A. Correct.                                   17   name appears there. And at the upper left-hand
     18        Q. So the next page on this exhibit, 65        18   corner it states, "DEA Affairs Organization
     19     states, "Objective" and "Provide an overview of   19   current state"?
     20     the DEA affairs team" --                          20      A. Um-hmm.
     21         A. Um-hmm.                                    21      Q. And so you were the manager of
     22         Q. -- "who we are, what we do, origins        22   security in DEA affairs; is that right?
     23     and path forward, achievements to date,           23      A. Correct.
     24     compliance landscape opportunities and 2010       24      Q. And then as you look at the rest of



                                                                         27 (Pages 105 to 108)
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                                               Page 109                                               Page 110
      1     the organizational chart that appears there, the    1   Gurnee," and then "import control, R&D/new
      2     various people and groups, which, if any, would     2   product support."
      3     have a responsibility for portions of the           3      A. Right.
      4     Suspicious Order Monitoring System around this      4      Q. Of those, which relate to the
      5     time, early 2010?                                   5   Suspicious Order Monitoring System?
      6        A. It would have been Ione and Lisa.             6      A. Actually none of them, so it looks
      7        Q. And Ione is listed there, Ione                7   like there was a typo and it was left off.
      8     Graziosi?                                           8      Q. Okay. And the term "SLC" for
      9        A. Um-hmm.                                       9   reporting, is that Salt Lake City?
     10        Q. And she's a manager DEA affairs?             10      A. Correct.
     11        A. Yup.                                         11      Q. What was in Salt Lake City for Watson
     12        Q. And then Lisa Scott is CS auditor?           12   around this time, early 2010?
     13        A. Yes.                                         13      A. They had a broad portfolio of
     14        Q. And under Ms. Scott's name, it says,         14   products, controlled and not controlled. From a
     15     "Audit program, investigations, agency request,    15   controlled substance standpoint, it would have
     16     policy development and inspection support."        16   been the fentanyl patch.
     17        A. Um-hmm.                                      17      Q. And how about Gurnee?
     18        Q. As you think of those various terms,         18      A. Gurnee was a distribution center.
     19     which of those relate to the Suspicious Order      19      Q. And that is in Illinois; is that
     20     Monitoring System?                                 20   right?
     21        A. The auditing investigations.                 21      A. Yes. Chicago area.
     22        Q. And then under Ms. Graziosi, it says         22      Q. Turning to the next page, which would
     23     "quota, site liaison," and then "reporting."       23   be 068, it says "DEA affairs organization, 2010"
     24     And then underneath there, it says, "SLC and       24   and your name again appears there.


                                               Page 111                                               Page 112
      1         A. Um-hmm.                                      1       Q. And you write, "Department renamed
      2         Q. As you look at this organizational           2   security and DEA affairs and that created
      3     chart, do any of the people have any                3   synergy where silos previously existed."
      4     responsibility for the Suspicious Order             4          That second term --
      5     Monitoring System?                                  5       A. Sure.
      6         A. Again, it would have been Lisa and           6      Q. -- "created synergies where silos
      7     the proposed lead, because Ione, not being part     7   previously existed," what does that mean?
      8     of the team at the time.                            8      A. When I articulated earlier that there
      9         Q. All right. So going further into             9   was a decision made to merge the compliance
     10     this document, if you'll turn to page 072. So      10   group with global security is because if you
     11     072 and 073 face each other and it states at the   11   look at the DEA regulations and the code of --
     12     top of 072 "Origins."                              12   and the CFR, there is a very strong security
     13             Do you see that there?                     13   component to it. So it made sense because of
     14         A. Yes, I do.                                  14   those synergies that the large security
     15         Q. It says, "Senior management decision        15   component to the CFR to merge the two
     16     was made to integrate the former C/S compliance    16   organizations because previously reporting
     17     department into the security department in April   17   through separate organizations, there -- it
     18     of 2009."                                          18   could inhibit effective communication.
     19             That date, April of 2009, is that          19      Q. So if you go further into this
     20     when you became involved in the DEA affairs        20   document, going to, sorry, page 085, and it
     21     group?                                             21   states: "Achievements to date, continued. "
     22         A. I don't know if it was the exact            22       A. Yup.
     23     time, but it would have been around then or        23      Q. If you need to, you can look at
     24     thereafter.                                        24   whatever part you need to, but I'm just going to


                                                                        28 (Pages 109 to 112)
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                                             Page 113                                                Page 114
      1    ask you about the one that appears under ARCOS.     1   very manually intensive process, so I think
      2            Do you see that there?                      2   there were probably some fat finger mistakes.
      3        A. Um-hmm.                                      3   So I think we probably reduced the amount of
      4        Q. What is ARCOS?                               4   mistakes because you get errors reports from the
      5        A. ARCOS is the Automated Records and           5   DEA. So it's probably an enhancement in the
      6    Consolidation Ordering System, I think.             6   process.
      7        Q. Okay. Was your group at Watson               7      Q. All right. And then you state,
      8    around this time, 2010, responsible for the         8   "Florida program implemented."
      9    reporting of any ARCOS data?                        9           Do you remember what that meant?
     10        A. We supported -- yes, the, the ARCOS         10      A. Sure.
     11    reporting for sites as well as for our             11           The Florida program was that there
     12    distribution center.                               12   were -- Florida and subsequently other states
     13        Q. All right. When you say the "sites,"        13   sought to receive ARCOS reporting for products
     14    is that the manufacturing sites?                   14   distributed into their states so they'd have a
     15        A. Correct.                                    15   view of products being distributed by a
     16        Q. All right. So -- and then there's           16   particular manufacturer into their state.
     17    two bullet points there, "data integrity" and      17      Q. All right. So is it fair to say,
     18    "Florida program implemented."                     18   then, that the State of Florida would receive
     19            Do you have a memory as to what the        19   the same data that Watson sent to the DEA?
     20    data integrity achievement was?                    20      A. Yes.
     21        A. Sure.                                       21      Q. All right. So going to the next
     22            Data integrity I think was probably        22   page, it states "Compliance Landscape"?
     23    a -- more accuracy in the reporting, because       23      A. Um-hmm.
     24    sometimes the -- at that time, it was a manual,    24      Q. This is page 086 of Exhibit 6.


                                             Page 115                                                Page 116
      1             "In 2008, 6.2 Americans used               1   discussion about the non-medical use of
      2     prescription-type psychotherapeutic drugs for      2   prescription pain relievers tied with marijuana
      3     non-medical purposes in a one-month period.        3   as having the highest rate of new abusers around
      4     2.5 --                                             4   this time?
      5             (Interruption.)                            5       A. No. I mean, this would have been
      6     BY MR. EGLER:                                      6   information directly taken from DEA.
      7         Q. "In 2008, 6.2 million Americans used        7       Q. The next section there states, "Drugs
      8     prescription-type psychotherapeutic drugs for      8   most frequently implicated in non-medical use,"
      9     non-medical purposes in a one-month period, 2.5    9   and then in parentheses "2004 through 2006."
     10     percent population."                              10           And can you pronounce the next word
     11             And then in bullet points you say,        11   that appears next to the bullet?
     12     "More than cocaine, heroin, hallucinogens" --     12       A. Benzodiazepines.
     13     "hallucinogens and inhalants combined."           13       Q. Okay.
     14             And then in the next one, it says         14           MR. KNAPP: Nice job.
     15     "Non-medical use of prescription pain relievers   15           THE WITNESS: Thank you.
     16     tied with marijuana as having the highest rate    16   BY MR. EGLER:
     17     of new abusers, 2.2 million."                     17       Q. So that's hydrocodone, and can you
     18             Do you remember why you would have        18   pronounce that word?
     19     written that here?                                19       A. Alprazolam.
     20         A. Yeah, communicating the compliance         20       Q. All right.
     21     landscape to our audience to -- and to stress     21       A. Actually, hydrocodone doesn't belong
     22     the importance of, you know, our compliance       22   in there. That's, that's not a benzodiazepine.
     23     efforts as well, too.                             23       Q. Hydrocodone is an opioid; is that
     24         Q. Do you remember ever having a              24   right?


                                                                       29 (Pages 113 to 116)
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                                                 Page 117                                              Page 118
      1       A. Correct.                                       1   hydrocodone by Watson?
      2       Q. And it says "36 percent increase."             2           MR. LUXTON: Object to the form.
      3       A. Um-hmm.                                        3           MR. EGLER: Well, let me start over.
      4       Q. And then it states,                            4      That was a bad question because Watson
      5    "Hydrocodone/combinations, 44 percent increase"?     5      probably didn't use it as a non-medical
      6       A. Um-hmm.                                        6      way.
      7       Q. And then, "Oxycodone/combinations,             7      A. No.
      8    primarily OxyContin, 56 percent increase"?           8      Q. So do you remember whether there was
      9       A. Um-hmm.                                        9   any initiatives or endeavors to address the high
     10       Q. Do you remember why you would have            10   rate of non-medical use of Americans of
     11    written that down?                                  11   hydrocodone at Watson around this time frame?
     12       A. I certainly wanted to give                    12      A. Our efforts certainly at that time
     13    perspective to the audience of the issues that      13   and throughout my tenure were focused on
     14    were going on today in the, you know, in the        14   ensuring that, as a DEA registrant, that we had
     15    landscape.                                          15   effective controls in place throughout our
     16       Q. Do you remember around this time              16   entire controlled substance lifecycle to reduce
     17    whether Watson made generic OxyContin?              17   the opportunity for theft or diversion.
     18       A. We did not.                                   18      Q. Okay. So going further into this
     19       Q. Do you remember around this time              19   document, can you look two pages in at 089?
     20    whether Watson made generic hydrocodone?            20      A. Sure.
     21       A. We did.                                       21      Q. You state, "Our products are among
     22       Q. Do you remember whether there were            22   the most commonly-prescribed for legitimate
     23    any particular endeavors around this time,          23   medical use in the U.S."
     24    February 2010, to address the non-medical use of    24           Do you see that there?


                                                 Page 119                                              Page 120
      1         A. Yes.                                         1   use, but also there was a rising illicit need as
      2              MR. LUXTON: 088?                           2   well, too, or demand.
      3              MR. EGLER: This is on the previous         3      Q. All right. And then 089, the next
      4         page from that, 088.                            4   page down, it says, "Challenges continued."
      5     BY MR. EGLER:                                       5           Do you see that?
      6         Q. It states, "Our products are among           6      A. Um-hmm.
      7     the most commonly-prescribed for legitimate         7      Q. And then it says, "Products include,"
      8     medical use in the U.S."                            8   and then under "Corona," does that refer to the
      9              And it states, "Entered into evidence      9   manufacturing facility in Corona, California?
     10     by law enforcement."                               10      A. Yes, sir.
     11              What did you mean by that?                11      Q. It says, "Hydrocodone."
     12         A. What I meant by that was that, you          12      A. Um-hmm.
     13     know, that, you know our -- and the goal of our    13      Q. It says, "Initial quota grant is 25
     14     organization, obviously, is we want to reduce,     14   percent of aggregate."
     15     you know, pain and suffering for those             15           In the context of your work at
     16     individuals who have legitimate chronic pain       16   Watson, what does that mean?
     17     issues or acute pain issues and that there is a,   17      A. It would mean 25 percent of all the
     18     a largely legitimate need for this product. But    18   hydrocodone produced within the U.S. was
     19     also we want to point out that this is not only    19   manufactured.
     20     our product but all opioids are also found in      20      Q. Was manufactured at the Corona site?
     21     illicit channels as well, too. And there was an    21      A. Yes.
     22     increase in law enforcement finding opioids in     22      Q. And then oxycodone, what does that
     23     illicit channels and also -- and that there was    23   mean?
     24     a demand -- there was a demand for legitimate      24      A. It just means oxycodone was produced


                                                                        30 (Pages 117 to 120)
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                                              Page 121                                              Page 122
      1     at that facility.                                   1       Q. Was the fentanyl produced at -- well,
      2         Q. Do you remember whether Watson               2   let me start over.
      3     marketed oxycodone around this time frame, early    3       A. Right.
      4     2010?                                               4       Q. Were the fentanyl-based products
      5             MR. KNAPP: Objection to form.               5   produced at the Corona, California, site for
      6             MR. LUXTON: Object to form.                 6   Watson in 2010 patches or something else?
      7         A. Our products were mainly generic. We         7       A. No, I think those -- that would have
      8     didn't market those products.                       8   been very small quantity, if my, if my memory
      9         Q. Do you remember whether Watson sold          9   serves. And I think there may have been a
     10     generic oxycodone around this time frame?          10   sublingual, but I -- I'm not 100 percent sure.
     11         A. Yes.                                        11       Q. And a sublingual is something you put
     12         Q. With regard to fentanyl, what is            12   under your tongue?
     13     fentanyl?                                          13       A. Yes, sir.
     14         A. Fentanyl is a -- is an opioid. It's         14       Q. And the next word there,
     15     a powerful pain management medication. It's        15   methylphenidate?
     16     largely used in, you know, serious chronic pain    16       A. Methylphenidate.
     17     issues, cancer patients to relieve suffering.      17       Q. Is that an opioid?
     18     It was delivered through a Duragesic or a patch    18       A. No. That's Ritalin.
     19     so it can last for longer periods so it could      19       Q. And then the next one there, diazepam
     20     deliver a sustained dose to a patient so there     20   and lorazepam?
     21     would be no lull in the dosage as far as if you    21       A. Yes.
     22     took a tablet where we don't want these patients   22       Q. Are those opioids?
     23     to have any sufferings. We want them to            23       A. No. They're benzodiazepines.
     24     maintain a steady stream of the product.           24   They're muscle relaxers.


                                              Page 123                                              Page 124
      1        Q. And then the next one is F-line and           1       A. Yes.
      2     Butalbital?                                         2       Q. And testosterone?
      3        A. Fiorinal, Fioricet, Butalbital.               3       A. Right.
      4        Q. Are those opioids?                            4       Q. Neither of those are opioids; is that
      5        A. No.                                           5   right?
      6        Q. Then the last word under "Corona" is          6       A. Correct.
      7     Pentazocine?                                        7       Q. But the first one there is an opioid?
      8        A. Pentazocine.                                  8       A. Yeah.
      9        Q. All right. Is that an opioid?                 9       Q. And then Florida, did Watson have a
     10        A. No. It's a benzodiazapine.                   10   manufacturing plant in Florida?
     11        Q. So out of the seven entries under            11       A. Yes. It was part of the Actavis
     12     Corona, three of them, the top three are           12   acquisition.
     13     opioids; is that right?                            13       Q. All right. It states hydrocodone and
     14            MR. KNAPP: Objection to form.               14   amphetamine and --
     15        A. Three of the listed are opioids.             15       A. Actually, let me back that up.
     16        Q. And the first three, right?                  16       Q. Okay.
     17        A. Right.                                       17       A. It wasn't part Actavis acquisition.
     18        Q. And then the next one is Salt Lake           18   It was part of the Andrx acquisition.
     19     City.                                              19       Q. Okay. So let's get to that in a
     20            Fentanyl --                                 20   second.
     21        A. Yes.                                         21          Hydrocodone, amphetamine, and
     22        Q. -- do you see that there?                    22   pseudoephedrine; is that right?
     23            And then there are two other listed         23       A. Yes.
     24     there. The same methylphenidate?                   24       Q. And then can you pronounce that last


                                                                        31 (Pages 121 to 124)
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                                               Page 125                                               Page 126
      1     word?                                               1   the, the manufacturer of controlled substances
      2         A. It can be carisoprodol or                    2   for Watson was moved out of Florida?
      3     carisoprodol, depending on how you want to          3       A. Can you repeat that question?
      4     pronounce it.                                       4       Q. Do you remember whether, while you
      5         Q. All right. So are any of those in            5   were at Watson or Actavis, the company stopped
      6     that list opioids?                                  6   making controlled substances at a Florida plant?
      7         A. Hydrocodone.                                 7       A. No.
      8         Q. So the first one there.                      8       Q. So staying on this page --
      9             With regard to the opioids that we've       9       A. Sure.
     10     read on these lists, do you know why they were     10       Q. -- the Corona entry states
     11     listed as challenges?                              11   hydrocodone, and then it states initial quota
     12         A. I think probably because the amount         12   grant is 25 percent of aggregate.
     13     of regulation, the quota implications for some     13       A. Right.
     14     of the products as well.                           14       Q. And then it states, hydrocodone under
     15         Q. So with regard to the Florida               15   Florida as well.
     16     manufacturing facility that you were talking       16           Do you see that there?
     17     about, the purchase of Actavis didn't take place   17       A. Yes.
     18     until sometime in 2012; is that right?             18       Q. So the 25 percent of aggregate quota
     19         A. Right. Yeah, this would have been           19   that you had explained before, was the Florida
     20     Andrx, which I think was in 2009.                  20   plant in addition to the 25 percent or included
     21         Q. What was Andrx?                             21   in that?
     22         A. Andrx was a generic pharmaceutical          22       A. It would have been exclusive of it.
     23     manufacturer.                                      23   But from my recollection, the hydrocodone
     24         Q. Do you remember at some point whether       24   production in Florida was minimal.


                                               Page 127                                               Page 128
      1        Q. Moving on to the next page it states,         1   to DEA and also to articulate quantities to --
      2     "Product development. "                             2   for the, the build of test batches, exhibit
      3            Do you see that there?                       3   batches that would be submitted to FDA.
      4        A. Yes, I do.                                    4           So it was really -- the challenges
      5        Q. And this is page 090 in Exhibit 6.            5   that I'm speaking about here are, are challenges
      6     And there are eight chemicals or drugs listed       6   administratively from a quota standpoint where,
      7     there.                                              7   you know, that these -- these are not -- and the
      8            Can you go through that list and tell        8   quota process, especially at that time, took a
      9     me which of them are opioids?                       9   long period of time. So, you know, in any type
     10        A. Sure.                                        10   of new product development in any pharmaceutical
     11            Fentanyl citrate, hydromorphone,            11   organization, you want to be first to file for a
     12     morphine sulfate, oxymorphone.                     12   generic patent challenge. So any type of delays
     13        Q. Okay. So four out of the eight               13   in the quota process, these things could affect
     14     product development?                               14   your timeline in getting your, your product
     15        A. Yes.                                         15   approved and being able to have affordable
     16        Q. Do you remember why these eight drugs        16   products in the generic market for, for
     17     or chemicals were listed as challenges?            17   patients.
     18        A. Sure.                                        18       Q. So as you've just described the
     19        Q. Why?                                         19   challenges, are those more business challenges
     20        A. With product development efforts, you        20   than, say, security challenges?
     21     would have to still apply for quota with the       21       A. Yes.
     22     DEA. It was a very challenging process in that     22       Q. So do you remember there being any
     23     you'd have to work closely with your R&D folks     23   security challenges for the fentanyl citrate EQ
     24     and scientists who -- to provide a justification   24   oral or the hydromorphone or morphine sulfate or



                                                                         32 (Pages 125 to 128)
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                                               Page 129                                                Page 130
      1     oxymorphone?                                        1      A. I can't be sure.
      2        A. No.                                           2      Q. Do you remember whether Watson ever
      3            MR. LUXTON: Objection to the form.           3   undertook to make generic Kadian?
      4     BY MR. EGLER:                                       4      A. I believe with the Actavis
      5        Q. All right. So as you think about it,          5   acquisition, I believe that was a legacy Actavis
      6     the fentanyl citrate EQ oral, do you know what      6   product, Kadian.
      7     the brand name equivalent of that would be?         7      Q. But do you remember whether Watson
      8        A. I don't off the top of my head.               8   ever made generic Kadian?
      9        Q. How about hydromorphone?                      9      A. I don't have a specific recollection.
     10        A. No.                                          10      Q. All right. So moving on in this
     11        Q. How about morphine sulfate?                  11   document, get to page 091, and it states
     12        A. Hydromorphone I believe is Dilaudid.         12   "Suspicious Order Monitoring, SOM," it says,
     13     These, these were all products that were not       13   "The registered shall design and operate a
     14     high-volume products. If you look at               14   system to disclose suspicious orders of
     15     hydromorphone, morphine sulfate, they're --        15   controlled substances." And there are two
     16     oxymorphone, but I would say are institutional     16   bullet points that states "unusual size,
     17     products that we used in hospital settings or      17   pattern, frequency," and then, "suspicious order
     18     long-term care.                                    18   should not be identified on
     19        Q. Have you ever heard of the drug              19   benchmarks/thresholds only."
     20     Kadian?                                            20      A. Um-hmm.
     21        A. I have.                                      21      Q. So that first group of three terms
     22        Q. Is the morphine sulfate that's listed        22   there, "unusual size, pattern or frequency,"
     23     there the same thing as Kadian or something        23   what did you mean by that?
     24     else?                                              24      A. It was taken directly from 1301.74 in


                                               Page 131                                                Page 132
      1     the Code of Federal Regulations, and is just the    1   "including" word would increase the number of
      2     DEA's verbiage for, you know, what, you know,       2   considerations beyond unusual size, pattern or
      3     what could comprise, potentially comprise an        3   frequency?
      4     order that should be flagged as of potential        4       A. I can't make that assumption.
      5     interest.                                           5       Q. Was your understanding that the --
      6        Q. Did anyone ever -- well, let me start         6   let me start over.
      7     over.                                               7          Was your understanding around this
      8            Around this time, February of 2010,          8   time that the Suspicious Order Monitoring System
      9     do you remember ever having a conversation that     9   as required by the DEA was to track unusual
     10     the CFR in question listed unusual size, pattern   10   size, pattern or frequency and not include any
     11     or frequency, but also could include other         11   other aspects?
     12     aspects or other things that a company should      12       A. I think those were key elements to
     13     look for in a Suspicious Order Monitoring          13   look for as mandated within the regulations.
     14     System?                                            14       Q. Do you remember ever including
     15            MR. KNAPP: Form.                            15   aspects beyond those three?
     16            MR. LUXTON: Same.                           16       A. There are certainly other
     17        A. No.                                          17   considerations, such as products that may be
     18        Q. For example, did anyone ever tell you        18   bought in combination that may be concerning.
     19     that the CFR in question, before it states         19       Q. Anything else?
     20     unusual size, pattern of frequency has the word    20       A. Not to my knowledge.
     21     "including" in it?                                 21       Q. All right. And then I just -- I
     22        A. Um-hmm. I'm aware of the -- of the           22   hadn't said it before, but the top of this page
     23     DEA regulation.                                    23   is "Compliance Landscape."
     24        Q. Did anyone ever say that the                 24          The second bullet point there states,



                                                                        33 (Pages 129 to 132)
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                                                 Page 133                                                   Page 134
      1    "SOM as well as 'Know Your Customer' efforts are    1   compliance aspect, we would have a set of
      2    key to DEA's effort to curb diversion of C/S in     2   questions that would be answered by the
      3    listed chemicals."                                  3   customer.
      4           Do you see that there?                       4      Q. Who in your group, as you think of it
      5       A. Yes, sir.                                     5   around this time, early 2010, would have been
      6       Q. Do you remember -- well, that term,           6   responsible for the Know Your Customer part?
      7    "Know Your Customer," what does that mean to        7      A. Me.
      8    you?                                                8      Q. Okay. Anybody else?
      9       A. It implies due diligence to me and            9      A. I would overall be responsible.
     10    understanding who your business partner is.        10   Probably compliance auditor would be responsible
     11       Q. And with regard to the due diligence         11   for procedurally.
     12    processes that you're thinking of, who, if         12      Q. Beyond what you referred to as the
     13    anyone, or what group at Watson around this        13   onboarding process when Watson took on a new
     14    time, early 2010, was responsible for the Know     14   customer, were there ongoing Know Your Customer
     15    Your Customer function?                            15   efforts?
     16       A. Primarily from a DEA perspective, it         16      A. We maintained strong relationships
     17    would be my group but also order management or     17   with our, with our customers. We also -- I know
     18    the customer service side also had a role as       18   in the process when we acquired Actavis, we did
     19    well, too. If onboarding a new customer, they      19   a revisit with our customers. We asked for, for
     20    would have a process that they would go to, a      20   new compliance information.
     21    licensed validation process. You know, Dun &       21          And when I was leaving the
     22    Bradstreet, they would do a due diligence on a     22   organization, we were again doing another
     23    customer prior to onboarding them on a customer.   23   refresh as well to update our records.
     24    And from a security aspect or from a DEA           24      Q. So with regard to this term, Know


                                                 Page 135                                                   Page 136
      1    Your Customer, have you ever heard an additional    1       A. No.
      2    term "Know Your Customer's Customer"?               2       Q. At any time when you were at Watson
      3       A. I have.                                       3   or Actavis, was the automatic part of the
      4       Q. What does that mean to you?                   4   Suspicious Order Monitoring System that was
      5       A. That implies that you should not only         5   contained in the SAP system designed to get an
      6    understand who your customers are, but who your     6   understanding of the broader secondary market
      7    customer is doing business with.                    7   for the controlled substances it was tracking?
      8       Q. So with regard to this time frame,            8           MR. LUXTON: Objection to form.
      9    early 2010, do you remember any "Know Your          9       A. No.
     10    Customer's Customers" efforts at Watson?           10       Q. All right. So can you turn two more
     11       A. No.                                          11   pages in to 093?
     12       Q. With regard to the SOM system, have          12       A. Sure.
     13    you ever heard the term "indirect customer SOM"?   13       Q. And it states, "2010 Goals and
     14       A. I've heard "indirect customer," but          14   Objectives." 093.
     15    not "indirect customer SOM."                       15           And under 2010 Goals and Objectives,
     16       Q. So what does that mean to you,               16   it states, SOM.
     17    indirect customer?                                 17           Do you remember what the 2010 goals
     18       A. Indirect customer, again, would be a         18   and objectives for Suspicious Order Monitoring
     19    customer of our customer.                          19   System were at Watson?
     20       Q. At any time during your time at              20       A. Sure.
     21    Watson and Actavis, was the automatic part, the    21           It was likely -- again, it was almost
     22    SOM system, the part that was contained in the     22   nine years ago. It was an effort to enhance our
     23    SAP system designed to track indirect customer     23   already compliant system. So to -- that's
     24    sales?                                             24   probably right around the time when we started,


                                                                        34 (Pages 133 to 136)
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                                                           Page 137                                                        Page 138
      1     because of what we were seeing on the landscape            1      Q.    Do you have any particular memory
      2     and what DEA was indicating as important as well           2   about that?
      3     as our consultants as Know Your Customer, that's           3      A.    No, but we've, we've done many
      4     probably when we really started to, to build up            4   placebo manufacturing runs for DEA or law
      5     our Know Your Customer aspect of our system.               5   enforcement.
      6        Q. All right. And then the last one                     6      Q.    Do you remember ever having an
      7     there that's listed, "Placebo Program" --                  7   understanding of, of the demand in the illicit
      8        A. Yes.                                                 8   market for Watson's drug Norco?
      9        Q. -- tell me what that means.                          9      A.    No, I don't think it -- it was not a
     10        A. Placebo program is because of our                   10   high-volume product being a branded product. As
     11     long relationship with law enforcement and the            11   far as a demand for it illicitly, I -- there may
     12     DEA, we had a formal program where if DEA                 12   have been because there was an illicit desire
     13     requested, we would be very happy to manufacture          13   for all opioids.
     14     placebo of our products that they could use in            14      Q.    Okay. All right. You can set this
     15     operations to combat illicit traffic of                   15   document aside.
     16     controlled substances.                                    16           (Witness complies.)
     17        Q. With regard to that issue, do you                   17   BY MR. EGLER:
     18     remember ever hearing of an opioid called Norco,          18      Q.    I'll hand you what I'll mark as
     19     N-o-r-c-o?                                                19   Exhibit 7.
     20        A. Yes.                                                20
     21        Q. Do you remember participating in a                  21           (Napoli Exhibit 7, Email chain
     22     DEA program to provide placebos of the drug               22      beginning with email dated 4/12/10 from S.
     23     Norco?                                                    23      Soltis to Napoli, Bates-stamped
     24        A. It's possible.                                      24      ALLERGAN_MDL_01236097 and 6098, marked for


                                                           Page 139                                                        Page 140
      1       identification, as of this date.)                        1    before.
      2    BY MR. EGLER:                                               2       A. Um-hmm.
      3       Q. Mr. Napoli, I've just handed you what                 3       Q. Who is Scott Soltis?
      4    we will mark as Exhibit 7.                                  4       A. Scott was our executive director of
      5           Can you look through it? And as                      5    securities and DEA affairs.
      6    you're looking through it, I'll read into the               6       Q. So was he on an organizational chart
      7    record the Bates numbers. ALLERGAN_MDL_01236097             7    above you or below you.
      8    and 6098.                                                   8       A. Above me. He was responsible for
      9           And when you're ready, can you tell                  9    security and DEA compliance for the
     10    me what this appears to you to be?                         10    organization.
     11       A. It looks like it's a document in                     11       Q. And then you cc Gary Stewart?
     12    reference to a DEA request for a placebo product           12       A. Yes.
     13    and setting them up within our distribution                13       Q. Who is Gary Stewart?
     14    system as a customer to receive a no charge.               14       A. Gary Stewart was our supply chain
     15       Q. Right.                                               15    security manager based out of Gurnee, Illinois,
     16           As you think about that, an entity                  16    distribution center.
     17    that is being set up as a customer, is that the            17       Q. And then Ed J. Grover?
     18    DEA?                                                       18       A. Yes.
     19       A. Yes.                                                 19       Q. Who is Mr. Grover?
     20       Q. So at the earliest email in time on                  20       A. Ed Grover was our head of
     21    this exhibit, and it's at the bottom of the                21    distribution in Gurnee, Illinois.
     22    first page, you write to Scott Soltis.                     22       Q. And you write, "Scott, in regards to
     23       A. Um-hmm.                                              23    the recent DEA request for product, I would
     24       Q. I think we've talked about him                       24    suggest the following course of action: Special


                                                                                   35 (Pages 137 to 140)
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                                               Page 141                                               Page 142
      1     Agent Warpness should provide the request for       1   Mark."
      2     product on official letterhead," and then in        2          From the context of this email, can
      3     parentheses, "include reg number," close            3   you tell who the Mark is that he's referring to?
      4     parentheses, "and fax to Watson DEA affairs.        4      A. That's Mark Warpness, a DEA
      5     But if time is of the essence, I would suggest      5   investigator.
      6     fax going to Gary at the DC since most of us        6      Q. And --
      7     will be at the DEA conference this week."           7      A. Or special agent. I'm sorry.
      8             Do you remember going to a DEA              8      Q. And Mr. Soltis writes, "He wants ten
      9     conference in April of 2010?                        9   bottles, which I told him no problem and that we
     10         A. Yeah. I've been to many of them.            10   will not charge him."
     11         Q. And you say, "Faxing to Gary at the         11          And then Mr. Soltis writes, "He did
     12     DC."                                               12   indicate that Norco is the most abused
     13             What does that mean?                       13   painkiller of preference on the street and it is
     14         A. If I'm going to be out of the office,       14   just known on the street as 'Watson.'"
     15     it probably would make sense, if this DEA agent    15          Do you remember ever hearing that
     16     wants the placebo as soon as practical, send it    16   before this time, April 2010, that people from
     17     directly to our security manager in the            17   the DEA indicated that Norco is the most abused
     18     distribution center so the process can be, the     18   painkiller of preference on the street?
     19     request can be processed without delay.            19      A. We certainly heard from the DEA that
     20         Q. All right. And then Scott Soltis            20   hydrocodone was one of the most abused products.
     21     writes back on the same day, April 12, 2010, and   21      Q. So and that's what Norco is,
     22     that is the email above.                           22   hydrocodone?
     23         A. Um-hmm.                                     23      A. Norco is a branded product, so --
     24         Q. He says, "FYI, I just talked to             24   and, again, I don't know if he was saying Norco


                                               Page 143                                               Page 144
      1     or hydrocodone there, so I can't be inside his      1   out from a placebo standpoint. Or if there are
      2     mind but...                                         2   any type of information requests, we would be
      3         Q. Okay. Well, do you remember ever             3   happy to fulfill those for DEA.
      4     hearing that on the, quote/unquote, street, that    4       Q. Do you remember ever -- let me start
      5     one of the opioids that Watson manufactured was     5   over.
      6     known simply as "Watson"?                           6       A. Sure.
      7         A. I was aware of that. There were --           7       Q. Beyond this event that is listed here
      8     many opioids and controlled drugs had many          8   with the request for 10 bottles of placebo
      9     illicit street, street names. It's very common.     9   Norco, do you remember particularly any other
     10         Q. Have you ever seen a pill of the drug       10   requests or provision of that type of placebo to
     11     Norco, the brand name drug Norco?                  11   the DEA?
     12         A. I have.                                     12       A. I don't recall specific requests, but
     13         Q. Do you know whether it has the word         13   I am positive that there were multiple requests
     14     "Watson" written on it?                            14   for drugs throughout my tenure for placebo.
     15         A. It may. It's been a while since I've        15       Q. And after you heard or read this
     16     seen a tablet.                                     16   email and found that one of the DEA agents
     17         Q. Do you remember ever participating          17   indicated that Norco was the most abused
     18     with the DEA beyond what's listed here in          18   painkiller of preference on the street, did you
     19     Exhibit 7 to address the, the, quote/unquote,      19   take any action internally to address that
     20     street abuse of Norco?                             20   issue?
     21         A. As far as efforts that we made to           21       A. We were already aware that
     22     help combat?                                       22   hydrocodone and opioids were products of abuse
     23         Q. Yes.                                        23   in illicit markets, as you can see through some
     24         A. We would always be willing to help          24   of the documents we've looked at already that I


                                                                        36 (Pages 141 to 144)
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                                              Page 145                                              Page 146
      1    clearly communicated regarding the landscape.       1   Watson used with regard to other drugs?
      2            You know, we took the responsibility        2          MR. LUXTON: Objection to form.
      3    very seriously. And to the extent that a            3      A. Yes.
      4    manufacturer can prevent the illicit diversion      4      Q. Were they higher than security
      5    of products, we made every effort to ensure that    5   processes used for other Schedule II drugs?
      6    we had a robust security program that was -- not    6          MR. LUXTON: Objection to form.
      7    only met the basic requirement of DEA               7      A. No.
      8    regulations, but exceeded them to make sure that    8      Q. Were they higher than security
      9    we were doing our part.                             9   processes used for Schedule II opioids?
     10        Q. Where was, as you think of it, where        10          MR. LUXTON: Same objection.
     11    was Watson's Norco physically made?                11      A. They were consistent.
     12        A. Corona.                                     12      Q. Do you remember ever talking with the
     13        Q. And, you know, we saw before that           13   FDA about this agent's opinion or indication
     14    there was a notation that Watson's Corona          14   that Norco was the most abused painkiller of
     15    facility had 25 percent of the nationwide quota    15   preference on the street?
     16    for a particular drug?                             16      A. It would not be within my role to
     17        A. Yes.                                        17   have conversations with the FDA about that.
     18        Q. Is that the same drug as Norco?             18      Q. Would it be within the role of anyone
     19        A. It would be included within that            19   at Watson to have that type of a conversation?
     20    product, but Norco would not comprise 25 percent   20          MR. KNAPP: Just real quick, was that
     21    of the market.                                     21      last question about -- that was about the
     22        Q. Do you know whether any of the              22      FDA?
     23    security processes used with regard to Norco by    23          THE WITNESS: Yes.
     24    Watson were more than the security processes       24          MR. KNAPP: I believe Mr. Napoli


                                              Page 147                                              Page 148
      1       answered based upon the FDA.                     1        A. Okay.
      2           MR. EGLER: Let me ask this again.            2        Q. Exhibit 8, can you look through it
      3    BY MR. EGLER:                                       3   generally. And as you're looking through it,
      4       Q. Do you remember ever talking with             4   I'll read on the record it's
      5    anyone at the DEA about this indication that        5   ALLERGAN_MDL_01236095 through 6096.
      6    Norco was the most abused painkiller of             6           And when you're ready, can you tell
      7    preference on the street?                           7   me what this appears to you to be?
      8       A. Not about Norco in particular.                8           (Document review.)
      9       Q. Okay. Do you remember whether anyone          9        A. Looks like a question from one of our
     10    at Watson had that type of a conversation with     10   security supervisors who attended a National
     11    anyone from the DEA?                               11   Association of Drug Diversion Investigators
     12           MR. KNAPP: Foundation.                      12   conference about placebo programs.
     13       A. I don't recall.                              13        Q. So that National Association of Drug
     14       Q. All right. You can set that document         14   Diversion -- can you say that again?
     15    aside.                                             15        A. National Association of Drug
     16           (Witness complies.)                         16   Diversion Investigators.
     17           (Napoli Exhibit 8, Email chain              17        Q. Investigators.
     18       beginning with email dated 4/29/10 from L.      18           That's the NADDI --
     19       Scott to Napoli, ALLERGAN_MDL_01236095          19        A. Correct.
     20       through 6096, marked for identification, as     20        Q. -- that's referred to in the earliest
     21       of this date.)                                  21   email in time on the second page of Exhibit 8?
     22    BY MR. EGLER:                                      22        A. Yeah.
     23       Q. Mr. Napoli, I'll hand you what we            23        Q. And it's Pete J. Herrera?
     24    will mark as Exhibit 8.                            24        A. Correct.


                                                                       37 (Pages 145 to 148)
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                                               Page 149                                                Page 150
      1         Q. Mr. Herrera worked at Watson; is that        1   electronic channels and tend not to get their
      2     right?                                              2   hands dirty with diverse buys, et cetera."
      3         A. Yes.                                         3           And then on the next page,
      4         Q. What was his role around this time,          4   Mr. Herrera writes to you, "Thank you for your
      5     April 2010?                                         5   prompt reply. I hear you about the FBI's MO
      6         A. Security supervisor of the Corona            6   with reverses. The agents were" -- "The agents
      7     facility.                                           7   that were interested were from the San Diego
      8         Q. And he writes to you and Ms. Scott,          8   field office. And there was one presentation by
      9     "Just got back from NADDI last night and wanted     9   an SD County prosecutor that keyed on the
     10     some clarification on how Watson, (DEA affairs)    10   diversion wave in SD, especially Watson hydro
     11     administers the placebo program for law            11   and Norco really hard. Maybe I heard it wrong
     12     enforcement."                                      12   at the DEA seminar, but didn't the DEA people
     13         A. Um-hmm.                                     13   say they had the problem under control down
     14         Q. And he goes on from there.                  14   there?"
     15             And you respond to him on April 29th       15       A. Um-hmm.
     16     and say, "Hi, Pete. It is not uncommon to          16       Q. So do you remember there being
     17     return from NADDI with a pocket full of placebo    17   something that can be referred to as a
     18     requests. We will be establishing a placebo        18   "diversion wave" in San Diego that especially
     19     program this year, though, so you can forward      19   related to Watson's hydrocodone and Norco
     20     the contact names to Lisa and they will be added   20   products?
     21     to the list."                                      21       A. No.
     22             And then continuing, "Interesting          22       Q. Do you remember ever hearing that a
     23     that the FBI inquired. They usually follow the     23   San Diego County prosecutor had contacted -- let
     24     money trail on high-profile RX cases through       24   me start over.


                                               Page 151                                                Page 152
      1              Did you ever hear that a San Diego         1   mean?
      2     County prosecutor had made a presentation about     2       A. I think because of the way that the
      3     diversion of Watson's hydrocodone and Norco         3   current tact was. And in that email, it
      4     products in San Diego County, California?           4   expresses probably a feeling within industry
      5         A. No, I don't recall ever receiving any        5   that the approach by DEA was aggressive
      6     requests from San Diego or contact by a             6   enforcement on industry, where this not -- this
      7     prosecutor.                                         7   is a complex societal problem; it's not just the
      8         Q. So you know that San Diego County is         8   manufacturers. But the least amount of
      9     just to the south of the Riverside County where     9   registrants are manufacturers, so I think it's
     10     Corona is?                                         10   easier to approach that population rather than
     11         A. Correct. I mean, it may be possible.        11   going down the supply chain.
     12     I just don't recall if there was a placebo         12           A lot of these products that are on
     13     effort.                                            13   the market are in illicit channels are because
     14         Q. And then you write back to                  14   of, quote/unquote, legitimate prescriptions that
     15     Mr. Herrera and Ms. Scott, "I don't think it       15   are written at the prescriber level, and there
     16     will ever been under control. The bad boys are     16   are -- there was at the time seemingly no
     17     always a step ahead. This is why" -- "This is      17   efforts to focus on that.
     18     why DEA likes to beat up on legitimate industry.   18           So it just probably indicating just
     19     Is all they can control."                          19   that the their -- the focus, although well
     20              Then you have exclamation point           20   intended, is I think heavily on the wrong part
     21     there.                                             21   of the system of distribution.
     22         A. Um-hmm.                                     22       Q. And you write there as well, "The bad
     23         Q. So when you wrote, "I don't think it        23   boys are always a step ahead."
     24     will ever been under control," what did you        24       A. Right.


                                                                        38 (Pages 149 to 152)
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                                               Page 153                                               Page 154
      1         Q. What did you mean by that?                   1   pharmaceuticals.
      2         A. I think in any type of criminal              2           And then you saw it went from the
      3     endeavor, it's -- where there's profit to be        3   diversion investigator concept to we're going to
      4     made, there's always -- criminals always seem to    4   take diversion investigators and now add special
      5     be one step ahead of law enforcement.               5   agents from the criminal side in with those
      6         Q. So with regard to the "bad boys"             6   groups and be more aggressive with the
      7     there, who are you referring to?                    7   registrant population.
      8         A. Anybody who engages in the illicit           8       Q. So with regard to this email that you
      9     trafficking of a controlled drug.                   9   sent to Mr. Herrera and Ms. Scott, you said, "I
     10         Q. And then you write, "This is why DEA        10   don't think it will ever be under control."
     11     likes to beat up on legitimate industry."          11           This is April 29, 2010.
     12             Around this time, April 2010, why did      12       A. Um-hmm.
     13     you think DEA likes to beat up on legitimate       13       Q. When you had that belief, did you
     14     industry?                                          14   ever try to change Watson's internal processes
     15         A. Because there was a change -- as you        15   to try to control the diversion that was going
     16     probably saw in one of the landscape slides that   16   on of Norco?
     17     I did earlier, that there was kind of a change     17           MR. KNAPP: Objection to form.
     18     from -- previously, the DEA was more of a          18       A. We continually ensure that we had
     19     partner with industry and we worked                19   appropriate controls in place to mitigate theft
     20     collaboratively.                                   20   and diversion for what was under our control.
     21             And then as you saw a shift in where       21       Q. So with regard to the Norco drug,
     22     the DEA was making efforts to combat the illicit   22   after this time, April 29, 2010, did you ever
     23     drugs and making headway there, then you saw       23   undertake to have higher security processes than
     24     abusers migrating over to the legitimate           24   other drugs that Watson made in the same


                                               Page 155                                               Page 156
      1     controlled substance class?                         1   undertake to have a greater understanding of the
      2         A. Well, we sought to always have a             2   indirect customers for Norco?
      3     strong program for all of our controlled            3           MR. KNAPP: Objection to form.
      4     substances from the time we received the            4           MR. LUXTON: Form.
      5     material on our loading dock until we produced a    5       A. We at, at Watson had -- through our
      6     solid dosage form. So we had a layered and          6   Know Your Customer program, we sought to find
      7     balanced approach to physical security              7   out about our customers, about their -- we had a
      8     throughout our entire product lifecycle through     8   form letter that went out to our customers and
      9     distribution.                                       9   indicated that we were interested in finding out
     10         Q. And with regard to the diversion            10   information from them of -- specifically of
     11     issues, did you or -- is it your understanding     11   hydrocodone and oxycodone products that they
     12     that anyone at Norco -- I'm sorry.                 12   purchased from us, a customer list, and who
     13             With regard to the diversion issues,       13   their most significant customers were. So it
     14     is it your understanding that you or anyone else   14   was all part of our Know Your Customer process.
     15     at Watson ever made special efforts to             15       Q. So when those letters went out, was
     16     understand and reduce or stop the diversion of     16   that at the onboarding process that you were
     17     its Norco drug?                                    17   talking about or at some other time?
     18             MR. KNAPP: Objection to form.              18       A. It would be at the onboarding time.
     19             MR. LUXTON: Form.                          19   It would also be when we did a periodic refresh,
     20         A. It's not within the scope of our, of        20   which would have been, again -- probably that
     21     our power to do that.                              21   next juncture would have been 2012, when we had
     22         Q. With regard to what we've been              22   the, the Actavis acquisition.
     23     talking about before, that indirect customer       23           But throughout my tenure with, with
     24     concept, did you or anyone you know at Watson      24   Watson/Actavis, we didn't onboard too many



                                                                        39 (Pages 153 to 156)
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                                              Page 157                                                 Page 158
      1     customers. We did not have a big customer list,     1   this time were selling the Norco drug to other
      2     so there wasn't too much addition to that           2   people; is that right?
      3     customer base.                                      3      A. They would be selling them to a
      4         Q. So when you wrote that you didn't            4   pharmacy.
      5     think it would ever been under control, did you     5      Q. And do you remember ever undertaking
      6     renew the process of trying to understand your      6   a project or directing someone else to undertake
      7     customers' customers to understand any part of      7   a project to gain a greater understanding of the
      8     the diversion process?                              8   pharmacies to which the Norco drugs were being
      9         A. What we sought to do was to                  9   sold?
     10     understand -- to work with our customers to        10           MR. KNAPP: Objection to form.
     11     ensure that they had programs in place, that       11      A. We actually looked at through our
     12     they were ensuring that they understood their      12   Know Your Customer process at all of our
     13     customers and their ordering behaviors, and they   13   customers and -- and gaining an understanding of
     14     had effective controls in place to detect any      14   where all of our controlled substances, but
     15     type of unusual behavior.                          15   specifically hydrocodone and oxycodone, were
     16         Q. And as are you wrote here, "I don't         16   going.
     17     think it will ever been under control," do you     17           As far as the daily day-to-day
     18     think that the -- your customers' processes were   18   management of those customers, that was not
     19     effective?                                         19   within our role. And if you look at some of our
     20         A. I don't think that was any indictment       20   customers, they had -- just one customer maybe
     21     of a customer's process. I just think it's a --    21   had thousands upon thousands upon pharmacy
     22     probably a societal note about the demand for      22   locations. It would be untenable to do a
     23     drugs in this country.                             23   realtime monitoring of those activities.
     24         Q. But the customers that Watson had at        24      Q. With regard to the time frame that


                                              Page 159                                                 Page 160
      1     is -- that appears in this email, April 29th, do    1          As you sit here today, what's your
      2     you remember -- or April 29th, 2012, do you         2   understanding of what Mr. Herrera meant?
      3     remember whether there was any particular           3          MR. LUXTON: Objection --
      4     endeavor to look at any of the pharmacies that      4          MR. KNAPP: Foundation.
      5     were selling Norco?                                 5          MR. LUXTON: -- calls for
      6             MR. LUXTON: Objection to form.              6       speculation.
      7             MR. KNAPP: I believe you said 2012.         7       A. I can't speculate --
      8         A. It's 2010.                                   8       Q. As you read it.
      9         Q. 2010.                                        9       A. I can't speculate --
     10         A. Again, through our Know Your Customer       10          MR. KNAPP: Same objection.
     11     efforts, we would gain an understanding of where   11       A. I can't speculate what Mr. Herrera
     12     our customers were distributing. But if there      12   was thinking.
     13     was a suspicious order that pended, we would       13       Q. Okay. So when he wrote, "I felt like
     14     take a deeper dive and we would look to see        14   I was a class president or something at the
     15     where these products were going.                   15   seminar," do you remember ever having a
     16         Q. In response to this process at the          16   follow-up conversation with him about that?
     17     end of April of 2010, do you remember any          17       A. No.
     18     particular effort being made in that regard?       18       Q. What do you think he meant by that?
     19         A. No.                                         19          MR. KNAPP: Objection.
     20         Q. So Mr. Herrera writes back to you on        20          MR. LUXTON: Objection calls for
     21     that day, April 29th, "I felt like I was a class   21       speculation.
     22     president or something at the seminar. Pretty      22       A. I, again, I can't speculate as to
     23     popular guy as soon as someone would read my       23   someone else's thoughts.
     24     name badge and see I was from Watson."             24       Q. I'm not asking about his thoughts.


                                                                        40 (Pages 157 to 160)
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                                                 Page 161                                            Page 162
      1    I'm asking what you thought he meant by that.       1           MR. KNAPP: Objection.
      2           MR. KNAPP: Same objection.                   2       A. I can't speculate.
      3           MR. LUXTON: Foundation.                      3       Q. If someone writes, "Ug, vomit," do
      4       A. Again, I can't.                               4   you think they agree with what Mr. Herrera has
      5       Q. And he writes, "...pretty popular guy         5   said?
      6    as soon as someone would read my name badge and     6           MR. LUXTON: Same objection.
      7    see I was from Watson."                             7           MR. KNAPP: Objection.
      8           Do you remember ever having a                8       A. I don't know.
      9    follow-up conversation about that issue?            9       Q. Do you remember ever having a
     10       A. No.                                          10   discussion with Ms. Scott about the diversion
     11       Q. And as you sit here today, do you            11   wave in San Diego that was referred to in this
     12    have any memory of what you thought at the time    12   email?
     13    he meant by saying that?                           13       A. No.
     14           MR. LUXTON: Objection. Calls for            14       Q. Do you remember ever having a
     15       speculation.                                    15   discussion with Ms. Scott about the impression
     16       A. No, I don't.                                 16   of the DEA that there was a substantial
     17       Q. And then the first email on the page,        17   diversion of the Watson hydro and Norco drugs?
     18    the last one in time, Ms. Scott responds to you    18           MR. KNAPP: Foundation --
     19    only and leaves Mr. Herrera off and she says,      19       A. We --
     20    "Ug, vomit."                                       20           MR. KNAPP: -- and form.
     21           As you sit here today, what do you          21       A. We had an understanding, as I
     22    think she meant?                                   22   articulated earlier, from DEA that there was
     23           MR. LUXTON: Objection. Calls for            23   a -- an increased illicit demand or use for
     24       speculation.                                    24   hydrocodone in general, just not Watson.


                                                 Page 163                                            Page 164
      1        Q. And based on that understanding, do          1   special process inside the Suspicious Order
      2    you remember ever taking any special steps in       2   Monitoring System that would address any of the
      3    regard to the Watson hydro and Norco with regard    3   diversion issues that Watson's hydro and Norco
      4    to security issues or Suspicious Order              4   were facing?
      5    Monitoring System or anything else?                 5           MR. LUXTON: Objection to form.
      6           MR. KNAPP: Form.                             6           MR. KNAPP: Objection to form. Asked
      7           MR. LUXTON: Objection to form.               7      and answered.
      8        A. From a security perspective, again we        8      A. As I stated, our Suspicious Order
      9    continually looked to enhance our security          9   Monitoring System program was a holistic and, we
     10    process as any good security practitioner would    10   feel, an effective program that was complying
     11    do. We assessed the current risk, and we looked    11   with DEA regulations.
     12    to make enhancements where we can to our           12      Q. You can set that document aside.
     13    systems.                                           13           MR. KNAPP: Can we take a break?
     14           And we had a very robust security           14           MR. EGLER: You want to break for
     15    program at Corona and in all our facilities, and   15      lunch?
     16    we were frequent recipients of DEA inspections     16           MR. LUXTON: Is it being brought in?
     17    from the Riverside office and other offices that   17           MR. EGLER: Yes.
     18    were heavily focused on the security aspect and    18           MR. LUXTON: Hopefully if it's here,
     19    control of -- that you had over your product.      19      we'll break for lunch.
     20    And we had outstanding results with DEA in our     20           MR. EGLER: I'll check if it's here.
     21    inspections.                                       21      If it's not, we'll take a ten-minute break.
     22        Q. Do you remember whether Watson,             22           THE VIDEOGRAPHER: The time is
     23    around this time or at any point after             23      approximately 12:23 p m., and we are going
     24    April 2010, undertook to modify or create a        24      off the record.



                                                                        41 (Pages 161 to 164)
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                                                      Page 165                                          Page 166
      1           (Recess is taken.)                              1      Q. Can you look through Exhibit 9? And
      2                                                           2   as you're reading through it, I'll note for the
      3                                                           3   record that the first page has no Bates stamps.
      4         AFTERNOON SESSION                                 4           The second page is
      5         (Time noted: 1:10 p.m.)                           5   ALLERGAN_MDL_02467984 through 7998.
      6           THE VIDEOGRAPHER: We are back on the            6           And when you're finished looking
      7       record. The time is approximately                   7   through this document, can you tell me what it
      8       1:10 p.m.                                           8   appears to you to be?
      9              *     *   *                                  9           (Document review.)
     10    T H O M A S P. N A P O L I , resumed and              10      A. Okay.
     11           testified as follows:                          11      Q. All right. Do you recognize the
     12    EXAMINATION BY (Cont'd.)                              12   document that appears after the first page?
     13    MR. EGLER:                                            13      A. I do.
     14       Q. Mr. Napoli, you understand you are              14      Q. What is it?
     15    still under oath?                                     15      A. This appears to be a presentation
     16       A. Yes, sir.                                       16   that I put together that talks about
     17       Q. And for -- I'm going to hand you what           17   achievements and accomplishments during a
     18    we will mark as Exhibit 9.                            18   calendar year and also what goals for the
     19           (Napoli Exhibit 9, PowerPoint                  19   upcoming year of 2011 were for our DEA affairs
     20       presentation entitled "DEA affairs                 20   organization.
     21       Organizational Achievements,                       21      Q. So the achievements were for the
     22       ALLERGAN_MDL_02467984 through 7998, marked         22   calendar year 2010; is that right?
     23       for identification, as of this date.)              23      A. Yes, sir.
     24    BY MR. EGLER:                                         24      Q. Do you remember who the audience for


                                                      Page 167                                          Page 168
      1     this presentation was?                                1       on the record.
      2        A. No, I don't.                                    2   BY MR. EGLER:
      3        Q. So that author on the first page in             3       Q. So would you make this type of a
      4     the metadata page says Steve G. Sost.                 4   presentation annually?
      5            Do you see that there?                         5       A. It's likely that I would.
      6        A. Steve Sost.                                     6       Q. Do you remember making these types of
      7        Q. Who is he?                                      7   presentations?
      8        A. Steve Sost was one of our                       8       A. I do.
      9     communications folks, corporation                     9       Q. And who would you make them to?
     10     communications. He may have put this into a          10       A. Likely to my department management
     11     company-approved format for me.                      11   and perhaps organizational management.
     12        Q. So as you think about this                     12       Q. So your department management would
     13     presentation, would you regularly give a             13   be who?
     14     presentation like this at the beginning or at        14       A. My executive director Scott Soltis.
     15     the end of each year?                                15   Then eventually we were part of supply chain as
     16        A. It would likely --                             16   well. So that -- that wasn't at that time. So
     17             (Interruption.)                              17   this would have been Scott Soltis and perhaps
     18            THE VIDEOGRAPHER: The time is                 18   higher levels of management.
     19        approximately 1:14 p.m. We are going off          19       Q. All right. So if you turn to page
     20        the record.                                       20   990 of this document, it's about halfway
     21            MR. EGLER: I can ask a better                 21   through, a little bit less, on the document, at
     22        question. Yeah, let's go back on.                 22   the top of the page there, 990, it states,
     23            THE VIDEOGRAPHER: The time is                 23   "Suspicious Order Monitoring."
     24        approximately the 1:14 p m., and we're back       24           Do you see that?


                                                                          42 (Pages 165 to 168)
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                                              Page 169                                               Page 170
      1        A. Um-hmm.                                      1   efforts. And by doing so, it's ensuring that we
      2         Q. As you see that page there that             2   had a strong relationships with internal
      3     appears under Suspicious Order Monitoring, what    3   customers, such as sales or marketing folks that
      4     does that mean to you in the context of this       4   we could garner information from about customer
      5     document?                                          5   ordering behavior, maybe upcoming awards of
      6            (Document review.)                          6   contracts or types of changes within the market,
      7        A. It really just looks like kind of a          7   if somebody dropped out, if somebody is picked
      8     status update on the Suspicious Order              8   up. Just another source of gathering
      9     Monitoring.                                        9   information so we can be most effective and also
     10        Q. So this would be looking back at year       10   ensuring we maintained our strong partnership
     11     2010; is that right?                              11   with the customer relations folks who we
     12        A. Yes.                                        12   partnered with on the SOMS initiative.
     13        Q. It states, "Evaluation and                  13       Q. So with regard to the customer
     14     enhancement," and then a dash, "effective         14   relations entity that's referred to there, at
     15     relationship with internal customers."            15   Watson at this time, end of year 2010, was the
     16        A. Yes.                                        16   customer relations group part of the sales and
     17        Q. And it states, "Sales and marketing"        17   marketing group?
     18     and "customer relations."                         18       A. Yes.
     19            What does that group of words mean,        19       Q. Was there any other entity within
     20     "Effective relationship with internal             20   Watson that you think of as an internal customer
     21     customers," and "sales and marketing" and then    21   that you or your group worked with in 2010 to
     22     "customer relations"?                             22   evaluate and enhance the Suspicious Order
     23         A. It's indicative of our continuous          23   Monitoring program?
     24     desire to enhance and improve our compliance      24       A. As far as internal customers?


                                              Page 171                                               Page 172
      1       Q. Yes.                                          1      A. No, they, they wouldn't really have a
      2       A. I'm sure there was a component with           2   relevant stake, I think, in Suspicious Order
      3    perhaps with legal.                                 3   Monitoring because they're more focused on safe,
      4       Q. Okay. Do you remember ever talking            4   pure and effective drugs, ensuring that we have
      5    with anyone involved with FDA regulation part of    5   quality systems around safe, pure and effective
      6    Watson with regard to the Suspicious Order          6   drugs.
      7    Monitoring System in 2010?                          7      Q. Do you remember ever meeting with
      8       A. It's a little vague. Is that FDA or           8   anyone from the quality assurance group with
      9    DEA you're referring to?                            9   regard to the data that they collected on opioid
     10       Q. FDA.                                         10   drugs?
     11       A. FDA?                                         11      A. I don't recall.
     12       Q. So let's back up a little bit. So --         12      Q. Then you state "increase security
     13    and we had talked about this before earlier.       13   visibility," and it says "order of interest
     14            As you think about it, what group do       14   review," and then "investigation," and then
     15    you identify at Watson around this time frame,     15   "communication with customers."
     16    2010, to be most responsible for dealing with      16      A. Um-hmm.
     17    FDA regulation of drugs?                           17      Q. What was the "increase security
     18       A. Quality assurance.                           18   visibility" in 2010?
     19       Q. So do you remember whether you               19      A. That was, you know -- again, 2010 is,
     20    ever -- well, let me start over.                   20   depending on what time it was, it was a little
     21            Do you remember whether you or your        21   over a year or a year since I transitioned in.
     22    group ever identified quality assurance as an      22   So it was really getting more involved from a
     23    entity to interface with regard to the             23   security standpoint and, and from a compliance
     24    Suspicious Order Monitoring System in 2010?        24   standpoint, meaning our internal auditors and


                                                                       43 (Pages 169 to 172)
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                                                    Page 173                                                     Page 174
      1    taking an active role in the order of interest       1         Q. All right. And then can you turn to
      2    review investigation and, you know, and the          2     page 995. It looks like this (indicating).
      3    communication with the customers about orders.       3         A. Um-hmm.
      4       Q. And the "order of interest," that              4         Q. And it says, "2011 goals and
      5    term, is that the same as you understand it as a     5     objectives continued."
      6    pending order?                                       6             So if you need to look before there,
      7       A. Correct.                                       7     feel free, but I'm just going to ask you about
      8       Q. Then the next dash down there it               8     this page.
      9    says, "systemic upgrade and enhanced system          9         A. Yup.
     10    logic and increase efficiency."                     10         Q. It states, "SOMS" and that's
     11           Do you see that there?                       11     Suspicious Order Monitoring System, right?
     12       A. Yes.                                          12         A. Yes, sir.
     13       Q. Do you remember during 2010 what              13         Q. And your -- the goal at Watson for
     14    steps you and your group at Watson took with        14     2011 was to improve the system and enhanced
     15    regards to the systemic upgrade of the              15     automation?
     16    Suspicious Order Monitoring System?                 16         A. Yes.
     17       A. I think that this may have been               17         Q. Do you remember what you meant by
     18    around the time where we engaged with Cegedim to    18     that?
     19    look at our system and, and maybe propose some      19         A. Yeah, just what we just spoke of, is,
     20    enhancements to the, to the system itself. And      20     is looking at our current compliance system but
     21    we were looking to increase the efficiency and      21     also finding ways to make it -- to look at more
     22    again enhance some of the system logic in           22     parameters regarding an order of interest and to
     23    building in an additional or enhancing an           23     increase the efficiency of the program.
     24    algorithm.                                          24         Q. Okay. Then the next one says,


                                                    Page 175                                                     Page 176
      1    "Enhance investigation process," and it says         1   that process ever change?
      2    "Procedure in cross-training."                       2      A. No.
      3             What did you mean by that group of          3      Q. All right. You can set that aside.
      4    words?                                               4          (Witness complies.)
      5        A. Creation of a more formal procedure           5   BY MR. EGLER:
      6    on the investigation process of an order of          6      Q. I will hand you what we will mark as
      7    interest. And cross-training meaning, as I           7   Exhibit 10.
      8    referred to earlier, we had an individual in our     8          (Napoli Exhibit 10, Watson 210
      9    global security department, Jeff Collins, who        9      Performance Review Form - Exempt,
     10    was a trained, seasoned investigator to provide     10      Bates-stamped ALLERGAN_MDL_03535275 through
     11    cross-training in this area for him so he could     11      283, marked for identification, as of this
     12    serve as a backup or a supplement to performing     12      date.)
     13    investigations for the team.                        13          (Document review.)
     14        Q. And in this time frame, 2011, the            14   BY MR. EGLER:
     15    initial investigation of a pending order would      15      Q. Mr. Napoli, can you look at what's
     16    take place in the customer service group?           16   been marked as Exhibit 10?
     17        A. The order management side, yeah.             17      A. Yes.
     18        Q. And if it was escalated, it would            18      Q. And look at it generally. And while
     19    come to your group; is that right?                  19   you're checking it out, I'll read into the
     20        A. Yes, sir.                                    20   record, it's Allergan_MDL_03535275 through 283.
     21        Q. All right. Do you, as you think              21          And you can look through the whole
     22    about it, as long as there is an internal           22   document. I'm going to ask you about text that
     23    Suspicious Order Monitoring System at Watson or     23   appears on the third page, which is 5277.
     24    the part of Actavis that you worked with, did       24      A. Sure.



                                                                            44 (Pages 173 to 176)
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                                               Page 177                                                           Page 178
      1             (Document review.)                          1    with minimum impact to the business while
      2         Q. So first, to get the big picture, do         2    maintaining DEA compliance."
      3     you recognize this document?                        3           And you write, "Overall objectives:
      4         A. I do.                                        4    Utilize identified vendor to evaluate the
      5         Q. What is it?                                  5    current system. An evaluation will consider
      6         A. It's a performance review form.              6    Watson's approach of design, parameters
      7         Q. So is this your performance review?          7    inherently unique to account types, and
      8         A. It appears that it is.                       8    validation process."
      9         Q. And do you remember filling out a            9           Do you see that?
     10     performance review at the end of 2010?             10        A. Um-hmm. Yes.
     11         A. I'm sure that I did.                        11        Q. So it says, "Evaluation will consider
     12         Q. All right. Could you look at the top        12    Watson's approach and design."
     13     of page 5277? It states, "Key goal No. 1."         13           What did you mean by that?
     14             Do you see that?                           14        A. That we would be utilizing a vendor,
     15         A. Yes, sir.                                   15    Cegedim in this case, to come in and do an
     16         Q. And it says, "Suspicious Order              16    assessment or an overall valuation of our
     17     Monitoring program, SOM, upgrade Phase II."        17    current system and our approach and design of
     18             And did you write the text that            18    our system.
     19     appears in this box?                               19        Q. All right. And "parameters
     20         A. Yes.                                        20    inherently unique to account types," do you have
     21         Q. All right. And you state, "Lead a           21    an understanding of what that means?
     22     cross functional team with the goal of enhancing   22        A. Likely the different -- differences
     23     the program logic within SAP to accurately and     23    between different types of account types. So
     24     efficiently determine legitimacy of CS orders      24    different types of customers, whether it's a


                                               Page 179                                                           Page 180
      1     large distributor, midsize distributor or, you      1      A. Yes.
      2     know... different class of trade.                   2      Q. And then at the very bottom it
      3         Q. When you use the term "class of              3   states, "Complete evaluation of current system V
      4     trade," what does that mean?                        4   DEA requirements and prepare executive summary
      5        A. Class of trade, is, you know, the             5   by 4/30, 2011. Develop action plan and present
      6     various different types of, of customers. So        6   to management by 6/1, and implement system with
      7     you might have a customer that is a midsize         7   automated business system test environment by
      8     distributor, a large distributor, a chain           8   end of fourth quarter."
      9     distributor. So it's just the differentiator        9          Do you remember who set that schedule
     10     for the different types of business classes.       10   for the Phase II of the upgrade of Watson's
     11         Q. So would one class of trade be, as          11   Suspicious Order Monitoring program?
     12     you said, a large distributor?                     12      A. It's likely myself, my manager.
     13        A. Um-hmm. Yes.                                 13      Q. Again, who was your manager?
     14         Q. Yes?                                        14      A. Scott Soltis.
     15         A. Yes.                                        15      Q. All right. So let's set this
     16         Q. And then the last one there says            16   document aside.
     17     "validation process."                              17          (Witness complies.)
     18             Then there is a bullet point, and it       18          (Napoli Exhibit 11, Customer Services
     19     states, "Based on evaluation, a report will be     19      Agreement - Statement of Work No. 1,
     20     generated that identifies any gaps and             20      Bates-stamped ALLERGAN_MDL_03535028 through
     21     recommended actions to ensure that the system is   21      5030, marked for identification, as of this
     22     statistically defensible in compliance" -- "and    22      date.)
     23     compliant with DEA mandate."                       23   BY MR. EGLER:
     24             Do you see that there?                     24      Q. I'll hand you what we will mark as



                                                                           45 (Pages 177 to 180)
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                                                 Page 181                                                        Page 182
      1    Exhibit 11.                                          1    that?
      2            (Handing.)                                   2        A. It was our, our project.
      3       A. Thank you.                                     3        Q. And so speaking generally about the
      4       Q. Mr. Napoli, can you look at what I've          4    Buzzeo entity, I think you had said today that
      5    marked as Exhibit 11? While you're looking at        5    you had worked with them previously in the
      6    it, I'll read into the record it's                   6    course of your work at Watson; is that right?
      7    ALLERGAN_MDL_03535028 through 5030.                  7        A. Correct.
      8            When you're ready, when you're ready,        8        Q. And as you think of it, did you work
      9    can you tell me what this appears to you to be?      9    with consultants other than Buzzeo that provided
     10            (Document review.)                          10    similar services while you were at Watson?
     11       A. Yes. It's a Statement of Work from            11        A. I mean primarily from a consulting
     12    Buzzeo PDMA, also known as Cegedim. And it's to     12    standpoint, we would utilize Buzzeo. I'm trying
     13    conduct what we discussed in my, my goals and my    13    to think if there are any other...
     14    performance review to do an analysis of our SOM     14           There may have been another firm, but
     15    program and discuss our approach, meet with IT      15    I'm just drawing a blank right now.
     16    and compliance teams, discuss data, and the, the    16        Q. Do you remember whether with regards
     17    current model and any improvements that can be      17    to the Phase II that you talked about in your
     18    made.                                               18    annual review for the Suspicious Order
     19       Q. So with regard to this Statement of           19    Monitoring program at Watson, whether you
     20    Work No. 1, do you know who would have -- who       20    entertained bids or proposals from anyone other
     21    would have, at Watson, negotiated this statement    21    than Buzzeo PDMA?
     22    of work with Buzzeo?                                22        A. Perhaps ValueCentric, but I can't be
     23       A. Likely myself and Scott Soltis.               23    100 percent sure.
     24       Q. All right. And what makes you think           24        Q. So what do you know about


                                                 Page 183                                                        Page 184
      1     ValueCentric?                                       1      Q. Okay. So this document appears to me
      2        A. ValueCentric is another organization          2   to be signed by Mr. Soltis, I think, is it
      3     that is in the business of providing data to the    3   July 28th, 2011?
      4     pharmaceutical industry.                            4      A. Um-hmm.
      5        Q. Can you think of a particular person          5          (Document review.)
      6     that you recognize as a contact at ValueCentric?    6      A. Yes.
      7        A. No.                                           7      Q. So before that time, as the agreement
      8        Q. Do you know whether you were -- when          8   was coming together, is there anyone in
      9     you were at Watson or Actavis, your group ever      9   particular at Buzzeo PDMA that you worked with
     10     contracted with the ValueCentric entity?           10   to get a mutual understanding of the scope of
     11        A. My group did not.                            11   the project and the cost?
     12        Q. Do you know if anyone at Watson              12      A. Yeah. Likely it was an individual
     13     contracted with the ValueCentric entity?           13   named Paul Hamby, H-a-m-b-y, and Bob Williamson,
     14             MR. KNAPP: Foundation.                     14   common spelling.
     15        A. I believe sales and marketing may            15      Q. And Mr. Hamby I think we mentioned
     16     have utilized their services.                      16   earlier today.
     17        Q. Okay. Anybody else that you know of?         17          When did you first meet Mr. Hamby?
     18        A. No, I don't.                                 18      A. Likely in the mid-2000s at a Buzzeo
     19        Q. All right. So with regard to this            19   conference.
     20     Statement of Work No. 1, it's marked as            20      Q. How about Mr. Williamson?
     21     Exhibit 11, who in particular, if anyone, at the   21      A. Same. Mr. Caverly we talked about
     22     Buzzeo PDMA group did you negotiate with?          22   earlier now. This is the first introduction to
     23        A. Now when you say "negotiate," can you        23   Paul, I believe.
     24     expand on that, on that term?                      24      Q. All right. All right. You can set



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                                                          Page 185                                          Page 186
      1    this document aside for now.                               1   Cegedim Dendrite," and it states "Thursday,
      2            (Witness complies.)                                2   September 8th, 2011."
      3    BY MR. EGLER:                                              3          Do you remember this particular
      4       Q.    I'll hand you what we will mark as                4   meeting?
      5    Exhibit 12.                                                5       A. I don't.
      6            (Napoli Exhibit 12, Meeting Minutes                6       Q. Can you, can you tell from the
      7       dated 9/8/11 ALLERGAN_MDL_02176488 through              7   context of this where this meeting would have
      8       6492, marked for identification, as of this             8   been held?
      9       date.)                                                  9       A. Likely in our Parsippany office.
     10    BY MR. EGLER:                                             10       Q. Do you remember having a meeting like
     11       Q.    And Mr. Napoli, can you look at what             11   this with people from Cegedim Dendrite in
     12    I've marked as Exhibit 12?                                12   September 2011?
     13            And while you're looking at it, I'll              13       A. Yes.
     14    note for the record that it's numbered                    14       Q. And there's a person there under
     15    ALLERGAN_MDL_02176488 through 6492.                       15   attendees, Robert C. Williamson.
     16            When you're ready, can you tell me if             16          Is that Bob Williamson -- Bob
     17    you recognize this document?                              17   Williamson that you were talking about before?
     18       A.    I do recognize it.                               18       A. Bob Williamson, yes.
     19       Q.    What is it?                                      19       Q. And there's -- the name underneath
     20       A.    It looks like a meeting minutes from             20   there Jonathan Kuhn, Ph.D.
     21    an initial meeting that we had with Cegedim               21          Do you know Mr. Kuhn or Dr. Kuhn?
     22    regarding the SOMS assessment.                            22       A. Yes. He's a statistician who worked
     23       Q.    So in the subject, on the first page,            23   for Cegedim.
     24    page 88 states, "SOMS meeting system evaluation,          24       Q. And then there are various people


                                                          Page 187                                          Page 188
      1     listed beyond there; Scott Soltis, Mary Woods,            1       Q. As you read this, do you know who
      2     Larry Schaffer, Justin Park, Laura Pinti, Sandra          2   would have typed the text in there that appears
      3     Simmons, Lisa Scott, Lynn DaCunha, Jaydeep                3   there?
      4     Shukla, Rick Robbins, and Napoleon Clarke.                4       A. No.
      5              Did all those people that I just read            5       Q. Do you think it was you?
      6     their names, did all those people work at                 6       A. No.
      7     Watson?                                                   7       Q. So it states, "Overview of
      8         A. Yes.                                               8   organization," and it says, "Anda not included
      9         Q. All right. I don't think we have                   9   in the scope of this project."
     10     seen the name Jaydeep Shukla earlier today. Who          10           What is Anda, as you understand it in
     11     is -- is it Mr. or Ms. Shukla?                           11   the context of Watson?
     12         A. Jaydeep eventually joined our DEA                 12       A. Anda is a pharmaceutical distributor
     13     affairs team as an associate or a DEA compliance         13   that, when we acquired Andrx, they were a part
     14     specialist.                                              14   of that organization. But they were treated as
     15         Q. All right. And then Rick Robbins,                 15   a separate entity. They weren't part of our --
     16     who is Rick Robbins?                                     16   when it came to compliance or anything, they
     17         A. Rick Robbins and Napoleon were both               17   were a separate entity.
     18     in sales and marketing.                                  18       Q. And then the next line down there, it
     19         Q. All right. So -- and the front seems              19   states, "Enable and sustain growth of our
     20     to be a discussion of what is going on at the            20   business" and, dash, "$498 million of C/S
     21     meeting.                                                 21   products sold in 2010 with top 5 products,
     22              And the third entry down there, it              22   hydrocodone, oxycodone, fentanyl and
     23     say, "Agenda," and then in parentheses, "Tom."           23   methylphenidate."
     24         A. Um-hmm.                                           24       A. Yes.


                                                                              47 (Pages 185 to 188)
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                                               Page 189                                                Page 190
      1         Q. And then in parentheses, "Concerta           1            Do you remember whether you said
      2     P&G," close parentheses.                            2   something like that at this meeting and what you
      3             So there are, I think, four things          3   meant by it?
      4     listed there.                                       4       A. It's possible.
      5             But do you remember having a                5       Q. What would you have meant by it?
      6     discussion of Watson having $498 million of CS      6       A. It meant that although we had a
      7     products sold in 2010 and the top four products     7   compliant system, it was very labor intensive,
      8     being hydrocodone, oxycodone, fentanyl and          8   and we were looking to make enhancements to the
      9     methylphenidate?                                    9   program that would sharpen the tool for us.
     10         A. It's entirely possible.                     10   Maybe have we have a statistician there where --
     11         Q. All right. And then the next entry          11   to look at algorithms that were currently
     12     is, "Enable and sustain growth of business," and   12   developing with the, the advance of technology
     13     then dash "security and compliance."               13   itself, or to take a look at is there a way that
     14             Do you have an understanding of            14   we could do this more efficiently to take some
     15     whether you said something like this at the        15   of the labor intensivity out of it and to have
     16     meeting and what you meant by it?                  16   it autocalibrate.
     17         A. What I would have meant by that is          17       Q. So when you say "labor intensivity,"
     18     to, you know, from a business perspective, to      18   as you think about the labor intensive part of
     19     support the business and -- but to make sure       19   the Suspicious Order Monitoring System and
     20     that we do it in a secure and compliant manner.    20   Watson around this time, mid to late 2011, what
     21         Q. All right. And then the next                21   was labor intensive about it?
     22     statement is, "Systemic upgrade" and then it       22       A. We pended a lot of orders in the
     23     says, "Take labor and subjectivity out of the      23   system that need to be reviewed.
     24     department."                                       24       Q. And so as you think about it, what


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      1     was your proposed means of reducing the labor       1   system, where although we had a compliant
      2     intensiveness of the system?                        2   system, it -- we wanted to, again, sharpen the,
      3         A. Automation.                                  3   you know, the sensitivity. So by -- and I'm
      4         Q. Would the automation replace -- let          4   just putting this out there. If we looked at
      5     me start over.                                      5   six parameters, we wanted to -- maybe Buzzeo had
      6             As I think of the system, there are         6   a statistical algorithm of like 12. Maybe we
      7     three basic parts; the SAP system, and then the     7   could reduce the number, because we had an awful
      8     initial order management team consideration, and    8   lot of false positives in our system, so we
      9     the potential DEA team consideration.               9   wanted to be more accurate and take -- and by
     10             So as you think about taking the           10   less labor, it means less false positives, less
     11     labor intensive part out of it, if those are the   11   time spent on reviewing orders that we didn't
     12     correct stages of the system, which part are you   12   need to have to. Because that was one of the
     13     thinking of?                                       13   issues. We reviewed a lot of orders because we
     14         A. Well, just to back up and clarify,          14   erred on the side of being conservative. We
     15     when I think of our SOM system, I don't think      15   rather look at too many orders than not look at
     16     just of SAP. I think of a holistic approach        16   enough.
     17     that begins with the Know Your Customer            17       Q. So with regard to that issue and
     18     initiative and vetting.                            18   trying to make the automated part of the
     19             And then we have the systemic              19   Suspicious Order Monitoring System more
     20     approach to it, which we're talking about, then    20   accurate, is that a good word or --
     21     also the evaluation investigative aspect as        21       A. No, because it was accurate, but we
     22     well, too, and the monitoring.                     22   just wanted to make it more efficient.
     23             But in this aspect, we were talking        23       Q. More efficient.
     24     strictly about the automated aspect of the         24           Was there ever any consideration that



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                                                  Page 193                                                Page 194
      1    the system wasn't pulling up enough suspicious       1      A. Not specifically. I mean, we already
      2    orders?                                              2   looked at hydrocodone as a molecule, which would
      3           MR. LUXTON: Objection to form.                3   include Norco.
      4       A. The system wasn't pulling up                   4      Q. Was there any discussion of whether
      5    suspicious orders. The system was pulling up         5   to add more variables or data to examine the
      6    orders of interest that were pending and it -- I     6   known diversion issues with the hydrocodone
      7    would not say it didn't pull up enough. I think      7   molecule?
      8    we pulled up a lot of orders that were, I would      8      A. Again, known diversion issues -- what
      9    say, false positives that we had to -- had to        9   known diversion issues are you talking about?
     10    work through.                                       10      Q. So we are talking about the Exhibit,
     11       Q. Was there ever any consideration that         11   I think, 8 before, the email...
     12    the Suspicious Order Monitoring System at Watson    12          (Document review.)
     13    around this time in 2011 was not pulling up or      13   BY MR. EGLER:
     14    not pending orders that were suspicious or would    14      Q. What we marked as Exhibit 8, there is
     15    be suspicious if examined?                          15   a statement from Mr. Herrera that says, "The
     16       A. No.                                           16   agents were" -- "that were interested were from
     17           MR. KNAPP: Objection to form.                17   the San Diego field office, and there was a
     18    BY MR. EGLER:                                       18   presentation by SD County prosecutor that keyed
     19       Q. Was there ever any discussion of the,         19   on the diversion wave in SD, especially Watson
     20    for example, the Norco diversion issue and          20   hydro and Norco really hard."
     21    whether the Suspicious Order Monitoring System      21          Do you remember, and this is
     22    could be tuned to better examine issues raised      22   April 2010, do you remember in 2011 when
     23    to the diversion of Norco?                          23   recalibrating the Suspicious Order Monitoring
     24           MR. KNAPP: Form and foundation.              24   System at Watson, whether there was ever any


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      1     discussion of finding data or variables that        1   they say they heard in a conversation with, with
      2     would help to track diversion in, say, San Diego    2   someone from San Diego.
      3     County, California?                                 3           There was no official communication
      4         A. No. Our system designed for our SOMS         4   from anyone in California or San Diego to us as
      5     program was in accordance with the DEA              5   an organization about a wave. So this is
      6     regulations for us to identify or that deviated     6   someone's -- you're taking someone's
      7     in size, pattern or frequency with, with our        7   interpretation of an event that they went to.
      8     trading partners, with our partners. That's         8       Q. Did you --
      9     what it was geared towards.                         9           MR. LUXTON: Sorry to interrupt, but
     10         Q. The DEA didn't instruct registrants         10       some of the people on the phone notified me
     11     on the formulas or algorithms they were to use     11      that they are having a real tough time
     12     in constructing their Suspicious Order             12       hearing, so I wanted to slide this over, if
     13     Monitoring systems; is that right?                 13       you don't mine, a little.
     14         A. That's correct.                             14           THE WITNESS: Yeah. Sure.
     15         Q. And was there any consideration at          15           MR. KNAPP: If you can just try to
     16     Watson at this time after having been told by      16       keep your voice up.
     17     the San Diego field office of the DEA that there   17           THE WITNESS: Sure.
     18     was a diversion wave in San Diego that there       18           MR. KNAPP: Thanks.
     19     should be some analysis of how to account for      19   BY MR. EGLER:
     20     that wave or analyze it or anything?               20       Q. With regard to the, the DEA field
     21             MR. KNAPP: Objection to form. Asked        21   office and the DEA in general, Watson provided
     22         and answered multiple times.                   22   the -- the -- I can't remember the name.
     23         A. And I'll state that, you know, you're       23           What are the fake pills?
     24     basing this premise on someone's version of what   24       A. Placebo.


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                                              Page 197                                               Page 198
      1         Q. Watson provided the placebo pills to        1       A. They were looking to do a reverse buy
      2     the DEA as part of their processes; is that        2   because of illicit activities with product.
      3     right?                                             3       Q. So did you ever ask the DEA what the
      4         A. Right.                                      4   illicit activities that the DEA thought were
      5         Q. And when you or whoever at Watson           5   going on were?
      6     talked to the DEA agents, did you get an           6       A. The DEA nor any law enforcement
      7     understanding of why they were asking for          7   agency is going to share any active
      8     placebo Norco pills?                               8   investigation details with you.
      9         A. If they requested Norco, yes.               9       Q. After the DEA requested the Norco
     10         Q. What was your understanding of why         10   placebo pills, did you do any media analysis or
     11     they were asking for placebo Norco pills?         11   court docket analysis to determine whether
     12         A. To perform a reverse buy because of        12   Watson's drugs were part of an indictment or
     13     an illicit diversion.                             13   bust or publicized investigation anywhere in the
     14         Q. Did the Suspicious Order Monitoring        14   country?
     15     System at Watson ever take into account the       15       A. As part of our, our security
     16     issues raised by the DEA in seeking the placebo   16   department's charge, we obviously would monitor
     17     pills?                                            17   the federal register or media for any type of
     18         A. Can you clarify?                           18   appearance of our product that involved in any
     19             MR. KNAPP: Objection to form.             19   type of activities.
     20     BY MR. EGLER:                                     20       Q. But particularly, after the DEA asked
     21         Q. Do you know why the DEA was asking         21   you for the fake pills, the placebos, did you
     22     for the placebo pills?                            22   ever try to follow up in the media or court
     23         A. I just explained that.                     23   records to determine if they busted somebody for
     24         Q. Can you say it again? I just --            24   trying to buy the pills?


                                              Page 199                                               Page 200
      1            MR. KNAPP: Objection to form. Asked         1   would not be solely for Norco either. So it
      2        and answered.                                   2   could be any particular product.
      3        A. I don't recall.                              3       Q. But you are aware that the DEA was
      4        Q. Did you ever instruct anyone to go           4   asking for placebo pills of Norco, right?
      5    keep this on a tickler file to see if anything      5       A. Right. I think it was ten bottles.
      6    ever came up about it?                              6       Q. And when you met with Buzzeo, the
      7        A. We had a proactive posture as it was,        7   Buzzeo people, did you ask if there was a way
      8    so we continually monitored for these type of       8   that you could tune the Suspicious Order
      9    activities.                                         9   Monitoring System to examine any diversion
     10        Q. Do you remember ever finding anything       10   issues with regard to Norco?
     11    out about it?                                      11       A. When you say "diversion issues,"
     12        A. Not about this particular case.             12   where, where I'm trying to get an understanding
     13        Q. Well, do you know whether all the           13   is "diversion" is kind of a blanket term.
     14    pills that the DEA got from Norco or got from      14   There's different types of diversion. You can
     15    Watson, all the placebo pills were used in one     15   have a cargo theft. You can have a loss in
     16    case?                                              16   transit. You can have a theft. You can have a
     17        A. I don't know.                               17   non-righteous prescription. So you -- it's kind
     18        Q. As you think about it over, say, 2010       18   of a broad term that you're using.
     19    and 2011, do you have an understanding of how      19           So what we did was, with our
     20    many bottles of placebo Norco Watson supplied to   20   Suspicious Order Monitoring program, is that we,
     21    the DEA?                                           21   we designed our system, as many other
     22        A. I don't, but it wouldn't -- it wasn't       22   registrants did, to ensure that we are meeting
     23    a lot. We didn't get a -- it wasn't a high         23   our compliance under the Code of Federal
     24    volume of requests that we got. And a request      24   Regulations, under our corresponding


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                                               Page 201                                               Page 202
      1     responsibility, which was the relationship          1            MR. LUXTON: Objection to form.
      2     between us and our direct customer. And, again,     2       A. It's possible depending on the
      3     our Know Your Customer aspect of our, of our        3   circumstance.
      4     program dealt with getting more into who their      4       Q. But it's your understanding that
      5     customers were, what the usages were, as well as    5   there was never an official policy that would
      6     any type of follow-up investigative work. But       6   reach out to the sales and marketing people to
      7     as far the expectation for a SOMS program, to be    7   incorporate market-based data to determine
      8     able to reach that far down into the supply         8   whether an order should penned; is that right?
      9     chain is just not realistic.                        9       A. Right.
     10         Q. Well, Watson reached that, reached          10       Q. So, for example, the IMS data that,
     11     that far down into the supply chain to examine     11   that Watson bought that gave a view of a -- the
     12     whether orders should be cleared; is that right?   12   entire market of a generic opioid drug, that was
     13         A. We reached down to the distributor          13   never incorporated into Watson's or Actavis's
     14     level. And if the distributor level did not        14   Suspicious Order Monitoring System, the
     15     have a satisfactory data for us, we could -- we    15   automated part; is that right?
     16     would ask them for the third-party information     16            MR. KNAPP: Foundation.
     17     as to who they were distributing to. So that       17            MR. LUXTON: Foundation.
     18     was all done with our direct customer. We          18       A. I'm not an expert on IMS data. I do
     19     weren't reaching out to individual pharmacies.     19   know that there are limitations to that data.
     20         Q. There were instances when Watson's          20   It's retrospective as well as I don't know if
     21     customer service group reached out to the sales    21   you can get as granular as to what you may be
     22     and marketing people for market data to            22   indicating. So I can't, I can't really speak to
     23     determine whether pended orders should be          23   that as an expert.
     24     cleared; is that right?                            24       Q. The Suspicious Order Monitoring


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      1     System, as you understand it, typically uses        1   trying to estimate market share. Or if you're
      2     retrospective data; is that right?                  2   potentially launching a product, what your
      3         A. We're actually basing a current order        3   anticipated launch. You know, it sometimes was
      4     based on a six-month history.                       4   used to support a quota request, but not
      5         Q. Right.                                       5   necessarily -- we didn't use it as part of our
      6             So the six-month history is                 6   SOMS program.
      7     retrospective; is that right?                       7       Q. So who at Watson was in charge of the
      8         A. Yeah, to an extent. But it's, it's           8   quota request?
      9     giving you a current snapshot of what the, the      9       A. I was involved with quota request.
     10     average looks like.                                10       Q. So you would have been -- in the
     11         Q. An average of the past six months?          11   course of your work, you would have encountered
     12         A. Right.                                      12   IMS data; is that right?
     13         Q. And do you know how current the IMS         13       A. But when you talk about IMS data,
     14     data that was available to Watson in, say, 2010    14   there's all different types of data. So this,
     15     going forward was?                                 15   you know, if it was a quota request, if it was
     16         A. I don't. And, again, I'm -- just to         16   for something like a launch, sales and marketing
     17     reiterate, I'm not an IMS expert. I don't have     17   would provide us justification and that, based
     18     a lot of breadth of knowledge with the topic.      18   on data, they anticipate capturing this much of
     19         Q. Do you remember ever asking anybody         19   a market, for example, of a product.
     20     at Watson or anywhere else about what the          20       Q. So where that DEA quota is
     21     currentness of any IMS data that would be          21   established, typically annually?
     22     available would be?                                22       A. Yes.
     23         A. No. I know IMS data was used for            23       Q. And as part of the analysis that you
     24     product launches. It was used for, you know,       24   would do at Watson, would you examine IMS data,



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                                                    Page 205                                           Page 206
      1    say, for -- let me start over.                       1   but you're estimating that we're going to launch
      2             As you think about the annual               2   this generic version of this product that's
      3    analysis that you did for the generic opioids at     3   currently marketed by pharmaceutical company
      4    Watson, would that involve looking at the IMS        4   ABC, okay? So there is market data. So if this
      5    data across the various NDAs for a particular        5   is the brand and these are the total
      6    molecule to establish Watson's deserved level of     6   prescriptions, we anticipate that a generic
      7    quota?                                               7   could possibly take 80 percent of that market.
      8       A. Are you talking about ours against             8           So if the total prescriptions for
      9    others or --                                         9   this, for this molecule, or this product in this
     10       Q. Yes.                                          10   case, represents this number, that then we would
     11       A. No.                                           11   do an exercise based on that to determine how
     12       Q. Would you look at the entire market           12   much active material we would need to produce
     13    for a particular molecule?                          13   quantities for launch and post-launch quantities
     14       A. No. It's part of the quota request            14   to have inventory on hand.
     15    process that, you know, that's not something DEA    15       Q. So with regard to the data that you
     16    would consider. The DEA would, would grant your     16   would buy from IMS for this, was there ever, as
     17    quota request based on your historical sales and    17   you know, as far as you know, any restrictions
     18    nothing to do with anybody else's in the market,    18   put on the use of the data?
     19    so it would not be relevant.                        19       A. Again, I, I didn't extensively use
     20       Q. What would you use the IMS data for           20   IMS data, and I was not involved of any type of
     21    then?                                               21   interaction with IMS or the purchase of the
     22       A. For -- if you wanted to make a DEA            22   data. Any data that I received was really just
     23    request for quota and it's -- maybe it's a new      23   as I articulated and provided by sales and
     24    product, so you don't have any sales history,       24   marketing.


                                                    Page 207                                           Page 208
      1        Q. As you think about the launching of           1   particular drug under that quota, would Watson
      2    these generics that you're talking about, about      2   use the IMS data that it had purchased in
      3    how many times did you do it when you were in        3   furtherance of the quota request to inform its
      4    charge of the DEA affairs group at Watson and        4   algorithms and formulas in the Suspicious Order
      5    then Actavis?                                        5   Monitoring System?
      6            MR. KNAPP: Form.                             6           MR. LUXTON: Objection to form.
      7        A. How often did we launch a product?            7       A. If you're -- if you're talking about
      8        Q. Well, about how many times, yeah.             8   a new product launch, we would receive data
      9        A. It's hard to quantify, but it was not         9   from, not necessarily IMS data, but based on
     10    a typical activity in my department.                10   from our sales and marketing folks as far as
     11        Q. More than once a year?                       11   what we can expect as potential quantities based
     12        A. Once a year, if that.                        12   on their interactions with customers. We would
     13        Q. So with regard to the IMS market data        13   receive estimates on, on that.
     14    that would be collected, if the drug -- let me      14       Q. So the market would reach -- let me
     15    start over.                                         15   start over.
     16            With regard to the IMS market data          16           So the data that you would seek out
     17    that would be collected by Watson, would Watson     17   with regard to a new product launch would relate
     18    use that data to inform its Suspicious Order        18   to the demand for the particular Watson generic?
     19    Monitoring System if the drug was approved?         19           Is that right to say?
     20            So if Watson -- I'll ask this               20       A. Right.
     21    differently.                                        21       Q. And not for the demand for the, the
     22        A. Okay.                                        22   comparable NDC-coded generics?
     23        Q. If Watson was granted part of the            23       A. You lost me there.
     24    quota by the DEA and was allowed to market a        24       Q. So -- and I appreciate you taking the


                                                                        52 (Pages 205 to 208)
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                                                      Page 209                                          Page 210
      1     time with me.                                         1   BY MR. EGLER:
      2         A. Yeah, not a problem.                           2       Q. To inform the Suspicious Order
      3         Q. So what's your understanding of an             3   Monitoring System?
      4     NDC code?                                             4          MR. KNAPP: Same objection.
      5         A. National Drug Code is a number that,           5       A. I'm still trying to grasp here.
      6     a unique number that is established and produced      6          Looking at IMS data for the innovator
      7     by the FDA for a particular drug. And it              7   or the brand product are you talking about? Or
      8     indicates the manufacturer, the labeling code,        8   for what?
      9     the quantity and fill size of a product and the       9       Q. Well, as I'm thinking about it, for
     10     strength.                                            10   any complimentary NDC code. So if there is a
     11         Q. Right.                                        11   brand version that's 100 pills of 20 milligrams
     12             So if it was -- so an NDC code would         12   each and then if there is a generic version of
     13     say, for example, it was a bottle of a 100           13   100 pills, it's 20 milligrams each, did you ever
     14     pills, 20 milligrams each of a particular drug;      14   seek that type of data out to inform the SOM
     15     is that right?                                       15   program?
     16         A. Right.                                        16       A. Well, the -- like I said, the
     17         Q. Did you or anyone at Watson ever seek         17   information we received in regards to if we're
     18     out complimentary NDC codes -- let me start          18   talking about a product launch here is, again,
     19     over.                                                19   we're going to make our case to the DEA for
     20             Did you or anyone at Watson ever seek        20   quantities that we need, and we're going to
     21     out IMS data to complimentary NDC codes when         21   establish what launch quantities would be.
     22     launching a particular generic opioid?               22   These launch quantities are based on what our
     23             MR. KNAPP: Objection. Foundation.            23   customers' needs will be.
     24             MR. LUXTON: Objection.                       24          So they are going to articulate to


                                                      Page 211                                          Page 212
      1    us, that, hey, we buy -- and this -- this is a         1   you knew of at Watson ever did an analysis to
      2    process that we would, you know, our marketing         2   determine whether the initial demand from any of
      3    folks would meet with these folks. This is what        3   your customers was due to improper ordering or
      4    we currently do in the brand, and we're going to       4   improper delivering so that the initial demand
      5    be replacing probably 80 percent or whatever, 50       5   was improperly high?
      6    percent of that with your product.                     6           MR. LUXTON: Objection. Form.
      7             So that's basically where these               7       A. Like I said, we did analysis of what
      8    numbers are established as to what we can expect       8   their current, their current business is. These
      9    as what that customer's order behavior is going        9   are all customers, most -- they're not new
     10    to be.                                                10   customers. These are customers that are
     11             And what we would do in our SOM              11   existing that we've done due diligence on, that
     12    system is we would receive this data, and what        12   we have a -- we maintain a relationship with
     13    we would do for any type of new product or even       13   them and that we have conversations with about
     14    an NDC code change is we would essentially put        14   these types of activities.
     15    the SOMS program on pend everything. Because we       15           And so we have a certain comfort
     16    wanted to pend every single one of their orders       16   level that our -- you know, that having these
     17    going forward for at least six months to say,         17   strong customer relationships that, you know,
     18    okay, to make sure that they're ordering              18   and that they have a history of doing the right
     19    patterns were righteous with what they're             19   thing.
     20    telling us in order to, in order to establish a       20           But we'll also look at what customers
     21    baseline of normal ordering behavior prior to         21   that they are going to distribute to. That is
     22    putting the system into the -- into the current       22   all part of the process.
     23    system.                                               23       Q. Do you remember whether Agent
     24       Q. Do you remember whether you or anyone           24   Rannazzisi ever warned registrants to examine


                                                                          53 (Pages 209 to 212)
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                                                 Page 213                                            Page 214
      1    initial levels of orders by pharmacies or           1   document, it says "Bob's overview DEA." And I
      2    distributors to determine whether the initial       2   had asked you this before.
      3    level of a new customer was improperly high?        3           This isn't your writing here,
      4       A. I don't know if Deputy Administrator          4   correct?
      5    Rannazzisi offered that information. That's         5       A. Right.
      6    something that we would have done anyway as just    6       Q. This description of Bob's overview?
      7    part of our due diligence.                          7       A. Correct.
      8       Q. And how would you have done that?             8       Q. It says, "DEA plays by their own
      9       A. As I just detailed.                           9   rules. Shoot first and ask questions later.
     10       Q. Okay. Anything else that you can             10   They have a tendency to interpret the regs the
     11    think of?                                          11   way they want to and have been successful being
     12       A. No.                                          12   aggressive against companies. Bob requested a
     13       Q. All right. And going back to this            13   list of all our customers from Napoleon,
     14    Exhibit 12, I think we were on page 2.             14   discussed customers, and would like a list of
     15       A. Okay.                                        15   all our List 1 chemical customers."
     16       Q. There's -- throughout this document,         16           In the context of your work, what
     17    there is a reference to a person named Bob.        17   does the term "List 1" mean?
     18           Is that Robert Williamson?                  18       A. A List 1 chemical is a chemical that
     19       A. Yes, sir.                                    19   can be a precursor or a chemical entity that's
     20       Q. All right. And here it says -- we            20   used in the manufacture of a product like a
     21    were talking about your discussion or your         21   pseudoephedrine, ephedrine. These List 1
     22    presentation on the first page.                    22   chemicals can also be diverted and used in the
     23       A. Um-hmm.                                      23   illicit manufacture of methamphetamine,
     24       Q. And on the second page of the                24   therefore DEA controlled or regulated those


                                                 Page 215                                            Page 216
      1    schedule listed chemical products.                  1   that means?
      2        Q. And then going down to No. 5, it says        2       A. I think it's Bob stating that their
      3    "OMS and SOMS."                                     3   product is statistically defensible and also
      4        A. Um-hmm.                                      4   that, you know, Bob's selling a product as well.
      5        Q. Oh, but going back to that No. 2 --          5       Q. Okay. Can you turn to -- it's the
      6        A. Sure.                                        6   last page of the exhibit. It's 6492.
      7        Q. -- do you remember ever having a             7       A. Yes.
      8    discussion with Bob about whether the DEA plays     8       Q. And it states, "Orders: How many
      9    by their own rules and she shoot first and ask      9   ways are orders are placed? EDI, Electronic
     10    questions later?                                   10   Data Intercheck."
     11        A. No.                                         11           In the context of your work, do you
     12        Q. All right.                                  12   know what that term means?
     13        A. Bob is -- was a former senior member        13       A. It can be an order that's placed in
     14    of DEA. That's purely his opinion.                 14   an automated fashion with -- within the system.
     15        Q. All right. So I think going to the          15   So maybe one SAP system talking to another
     16    next page, No. 7, Bob's discussion again, it       16   business's in the electronic data exchange.
     17    says, "DEA wants performance-based approach,       17       Q. All right. So then down on No. 17,
     18    statistically defendable model, uses language      18   it says "Path forward, evaluation 10 working
     19    and regulations, September 2011 letter. No         19   days. Bob reviews everything with Ron Buzzeo.
     20    clients ever called Bob's organization             20   All communication will go to Tom and Scott.
     21    questioning the SOMS program." K                   21   They recommended that SOMS and compliance
     22            That sentence there, "No clients ever      22   regulation is tied into legal. And future
     23    called Bob's organization questioning the SOMS     23   compliance, remove labor intensity and
     24    program," do you have an understanding of what     24   automation."


                                                                       54 (Pages 213 to 216)
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                                                         Page 217                                          Page 218
      1             Do you remember having that                      1       Q. What is it?
      2    discussion during this meeting?                           2       A. This is a security awareness
      3       A. I don't specifically. It was a while                3   presentation that I put together to talk about
      4    ago, but I'm sure it took place.                          4   to our security managers, our operations
      5       Q. All right. You can set that document                5   management, and our employees. Because part of
      6    aside.                                                    6   our security program was security awareness, we
      7             (Napoli Exhibit 13, Document entitled            7   wanted to have conversations with our employees
      8       "controlled Substance Awareness:                       8   about that drug diversion does exist and to talk
      9       Understanding the Threat," Bates-stamped               9   about some of these instances and also to
     10       ALLERGAN_MDL_02054999 through 5022, marked            10   identify ways in which we can continually, you
     11       for identification, as of this date.)                 11   know, raise the awareness of employees so we can
     12    BY MR. EGLER:                                            12   focus on ensuring that we have effective
     13       Q. I'll hand you what we will mark as                 13   controls in place to, to mitigate the loss of
     14    Exhibit 13. Can you look at Exhibit 13? And as           14   any of these products.
     15    you're looking at it, I'll read into the record          15       Q. Okay. With regard to this document,
     16    that the first page -- well, the first page has          16   it states "date created," on the first page,
     17    no Bates numbers on it, but starting on the              17   "February 2009" and "date last modified,
     18    second page, it's ALLERGAN_MDL_02054999 through          18   August 2011"?
     19    5022.                                                    19       A. Okay.
     20             Mr. Napoli, when you're ready, will             20       Q. And it also states it's from your
     21    you tell me if you recognize the presentation            21   custodial file.
     22    that appears after the first page of this                22           Do you remember using this document
     23    Exhibit 13?                                              23   around 2011?
     24       A. I recognize it.                                    24       A. I don't specifically, but it's


                                                         Page 219                                          Page 220
      1     possible.                                                1       A. Controlled substance compliance U.S.
      2         Q. I think you said that this                        2       Q. So that is underneath you; is that
      3     typically -- or this would be a presentation             3   right?
      4     that you would typically give to employees               4       A. Yes.
      5     internally; is that right?                               5       Q. And then with regard to the Mark --
      6        A. Management supervisors, as well as                 6   is it Buban?
      7     security. And, again, it was to raise the level          7       A. Buban.
      8     of understanding of the, you know, of the                8       Q. Buban?
      9     threats around controlled substance products in          9       A. Um-hmm.
     10     general.                                                10       Q. That's B-u-b-a-n. Manager, security
     11        Q. So with regard to this document, can              11   and product protection Salt Lake City?
     12     you turn into the document to page 004 where it         12       A. Um-hmm.
     13     says "Organizational overview"?                         13       Q. Do you remember what products Watson
     14             (Witness complies.)                             14   made in its Salt Lake City facility?
     15         A. Yes.                                             15       A. Salt Lake City had a broad portfolio.
     16         Q. And I think we had talked about a                16   And I, I couldn't speak to the non-controls, to
     17     number of people that appear on this                    17   be honest with you. It was not my -- my focus
     18     organizational chart. And your name appears on          18   was on the controlled drug. But from a
     19     the far left-hand side; is that right?                  19   controlled drug standpoint, as we talked about
     20        A. Correct.                                          20   before, testosterone, fentanyl transdermal and
     21        Q. And where, if anywhere, on this is                21   methylphenidate transdermal.
     22     the -- would the Suspicious Order Monitoring            22       Q. So the next page, 005, it states, "We
     23     System at Watson around this time, 2011, be             23   manufacture controlled substances that are among
     24     placed?                                                 24   the most commonly," and then colon, it states,


                                                                             55 (Pages 217 to 220)
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                                             Page 221                                                      Page 222
      1     "prescribed for legitimate medical need in the     1       A. So we're trying to familiarize our
      2     U.S. and encountered by law enforcement on the     2   security team members, as well as supervisors
      3     street."                                           3   and managers, about the illicit use of these
      4             I think we talked about that earlier;      4   products. You know, our products are developed
      5     is that right?                                     5   and marketed for -- to reduce legitimate pain in
      6         A. Yup.                                        6   those in suffering, but also there is a
      7         Q. And going to page 007, it says,             7   percentage of products that are -- that wind up
      8     "hydrocodone" and then in parentheses, "see        8   in illicit markets. And we're just providing
      9     Roman numeral 3."                                  9   insight to our employee -- to our members of
     10             Is that right?                            10   management, supervisors, and security folks
     11         A. Correct.                                   11   about the illicit side.
     12         Q. It says, "Street names: Vikes,             12       Q. You write -- and this is 2011, I
     13     Hydro and Norco"?                                 13   think, when this is written.
     14         A. Um-hmm.                                    14       A. Um-hmm.
     15         Q. And then you write, "In 2006, DEA          15       Q. "In 2006, DEA documented the
     16     documented the diversion of millions of dosage    16   diversion of millions of dosage units."
     17     units." And then you write, "The United States    17            Why did you write that?
     18     consumes 99 percent of the global hydrocodone     18       A. Just to convey the magnitude of some
     19     supply."                                          19   of the issues that are going on.
     20             Why did you write that on here?           20       Q. All right.
     21         A. Which statement?                           21            And the next one is, "The United
     22         Q. Well, let's go through the three of        22   States consumes 99 percent of the global
     23     them.                                             23   hydrocodone supply."
     24             The street name?                          24       A. Right.


                                             Page 223                                                      Page 224
      1        Q. Why did you write that?                      1   removes the opportunity for theft" --
      2        A. To put it in perspective as well.            2      A. Um-hmm.
      3        Q. And of that, United States, I think          3      Q. -- "and then ensure that employees
      4     you had said before, Watson, had -- is it 25       4   understand what their role is in the prevention
      5     percent of the quota in its Corona, California,    5   of loss, consistently comply with the
      6     plant; is that right?                              6   established policies and procedures and
      7        A. Yes.                                         7   obligation to report diversion and suspicious
      8        Q. So and then the next page, 008, it's         8   activity."
      9     oxycodone CII. Street names: OC, OX, Oxy?          9            Do you remember why you wrote that
     10        A. Um-hmm.                                     10   down, "obligation to report diversion and
     11        Q. And it says, "Popular among heroin          11   suspicious activity"?
     12     users for alleviating effects of withdrawal and   12      A. Because it is a DEA requirement
     13     considered a white-collar addiction because of    13   within the Code of Federal Regulations, and we
     14     the perceived product safety."                    14   wanted to ensure compliance.
     15             Do you remember why you wrote that        15      Q. All right. You can set this document
     16     text in there?                                    16   aside.
     17        A. Again, for employee awareness.              17            (Witness complies.)
     18        Q. And the next page talks about               18   BY MR. EGLER:
     19     employee theft.                                   19      Q. I'll hand you what we will mark as
     20             But then moving down onto -- I'm          20   Exhibit 14.
     21     sorry. Page 17 or page 017 in the exhibit.        21            (Napoli Exhibit 14, NJPIG letter
     22             It states, "As management, we must,"      22      dated 7/20/11 from NJPIG Committee to
     23     and the first one is "foster a work environment   23      Rannazzisi, Bates-stamped
     24     that engages employees to prevent loss and        24      ENDO-OPIOID_MDL-02219848 through 19851,



                                                                            56 (Pages 221 to 224)
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                                              Page 225                                                Page 226
      1        marked for identification, as of this           1   impacting the manufacturers to be able to, to
      2        date.)                                          2   manufacture and ensure that there were adequate
      3    BY MR. EGLER:                                       3   supplies for those patients in need of the
      4        Q. Mr. Napoli, could you look at what we        4   products.
      5    marked as Exhibit 14. And as with the prior         5       Q. So when you that term "delays in
      6    exhibit, I can remember which one, I'll just        6   receiving quota grants" --
      7    tell you this didn't come from the Allergan         7       A. Sure.
      8    production.                                         8       Q. -- what does that mean?
      9        A. Okay.                                        9       A. It means that, you know, when -- when
     10        Q. That's why the bottom right-hand            10   -- there's is a couple aspects to it. So when
     11    corner numbers are different.                      11   we talked before about the aggregate quota and
     12        A. Okay.                                       12   also receiving manufacturer procurement quotas
     13        Q. It states ENDO-OPIOID_MDL-02219848          13   and procurement quotas are more relevant to the
     14    through 19851. But could you look at this          14   manufacturers of solid-dose products, there are
     15    document and tell me if you recognize it?          15   established timelines within the DEA regulations
     16            (Document review.)                         16   that they have to meet, that they're obligated
     17        A. I do recognize the document.                17   to meet to communicate the grants of
     18        Q. What is this document?                      18   quota-driven materials to industry.
     19        A. This looks like a letter that we sent       19           And, for example, these -- there is a
     20    on behalf of the New Jersey Pharmaceutical         20   midyear adjustment as well as the towards the
     21    Industry Group to Deputy Administrator Joe         21   latter part of the year, you'll receive a grant
     22    Rannazzisi. And it was about significant issues    22   for the next calendar year. And the DEA was
     23    that were going on around this time frame with     23   consistently not coming close to meeting these
     24    delays in receiving quota grants that were         24   obligations.


                                              Page 227                                                Page 228
      1            And by receiving these grants in a          1   letter seeing it when it was in draft form?
      2    delayed manner, it would impact the company's       2       A. Excuse me?
      3    ability to, if you don't understand what, what      3       Q. Would you have seen this letter
      4    quota that you're receiving, you can't plan your    4   before it was sent, while it was in draft form?
      5    manufacturing campaigns effectively and your        5       A. I would have seen it and I'm sure our
      6    manufacturing plants to be able to manufacture      6   attorneys would have seen it as well.
      7    your product.                                       7       Q. I was going to ask you that next.
      8            When they talk about the procurement        8           Well, let me get a little bit more
      9    process, the procurement quota process taking       9   general.
     10    nine weeks or more, again, that was a process      10       A. Sure.
     11    that would typically -- throughout the year, a     11       Q. This letter is dated July 20th, 2011;
     12    DEA registrant based on sales, you can go back     12   is that right?
     13    to the DEA and request more quota if it            13       A. Yes.
     14    justifies.                                         14       Q. And at this time, July 2011, were you
     15            Those types of requests were taking a      15   still involved in the New Jersey Pharmaceutical
     16    protracted amount of time. Again, that was         16   Industry Group on behalf of your then employer
     17    affecting the supply chain as well and the         17   Watson?
     18    manufacturing process.                             18       A. Yes.
     19            So essentially, this, this letter          19       Q. Was anyone else from Watson involved
     20    was, you know, an appeal to deputy administrator   20   in the New Jersey Pharmaceutical Industry Group
     21    for us to try to identify a way where we can       21   at that time?
     22    work on, you know, enhancing or improving these    22       A. I was the main person.
     23    timelines.                                         23       Q. And so if this letter was sent in
     24        Q. Do you remember with regards to this        24   draft to the company representatives, you would


                                                                       57 (Pages 225 to 228)
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                                              Page 229                                               Page 230
      1    have received it; is that right?                    1       A. Yes.
      2        A. Correct.                                     2      Q. And there is a person from Novartis,
      3        Q. So when -- as you think about your           3   Noramco, Purdue, Reckitt Benckiser?
      4    general processes or unless you have a              4      A. Benckiser.
      5    particular memory, when you would have received     5      Q. Benckiser.
      6    the draft of this letter, what would you have       6           And Halo Pharmaceuticals, right?
      7    done with it?                                       7       A. Um-hmm.
      8        A. I would have reviewed the letter             8      Q. Do you know why that subgroup of
      9    first, and I would have likely reviewed it with     9   people from the NJPIG committee were listed
     10    my boss and also have either had a meeting or      10   here?
     11    sent it to our legal folks to review.              11      A. Those individuals served as kind of
     12        Q. Do you remember in particular with          12   the core committee for the organization itself.
     13    regard to this letter, having a meeting with the   13   I don't want to use the term "officers of the
     14    legal staff at Watson about it?                    14   committee," but that could can be interpreted in
     15        A. I don't remember a specific meeting.        15   that way.
     16        Q. And do you remember -- do you have a        16      Q. And one of those people is your
     17    particular memory of responding to the NJPIG       17   former co-employee Tracey Hernandez, right?
     18    about Watson's official opinion with regards to    18      A. That's correct.
     19    this letter?                                       19      Q. So do you remember talking with her
     20        A. I don't.                                    20   about this letter?
     21        Q. Okay. At the end of this letter,            21       A. No.
     22    there is the signature block, for lack of better   22      Q. The company that she worked for at
     23    term. It says "NJPIG committee."                   23   this point, Reckitt --
     24            Do you see that there?                     24      A. Benckiser.


                                              Page 231                                               Page 232
      1       Q. -- Benckiser, do you know whether             1   Assistant Administrator Rannazzisi around this
      2    they made opioids?                                  2   time frame, July 2011?
      3       A. I don't. I don't know the first               3       A. I don't recall any specific issues.
      4    thing about them.                                   4       Q. So this letter talks about quotas; is
      5       Q. Okay. So going back to the first              5   that right?
      6    page of this letter, do you remember anyone from    6       A. Yes, sir.
      7    Watson -- let me start over.                        7       Q. And let's start off broadly.
      8            Do you remember if anyone from Watson       8           From the time you started in your DEA
      9    ever told you that this letter was not              9   affairs position at Watson and through the time
     10    appropriate to send to Deputy Assistant            10   you left Actavis, did the quota on any Schedule
     11    Administrator Rannazzisi in July of 2011?          11   II controlled substance granted Watson or
     12       A. Not to my knowledge.                         12   Actavis go down?
     13       Q. And do you remember anybody saying           13       A. I would say by the -- prior to me
     14    that it was appropriate to send?                   14   leaving the organization?
     15       A. I don't have a specific memory.              15       Q. Yes.
     16       Q. Do you remember anyone from Watson           16       A. I definitely think that -- I believe
     17    having any edits to the letter --                  17   some of the opioids quota went down.
     18       A. Not that I'm --                              18       Q. Do you have a particular memory of
     19       Q. -- to the draft?                             19   any particular opioid that went down?
     20       A. Not that I'm aware. Sorry.                   20       A. I'm -- and, again, I don't have the
     21       Q. All right. Now do you remember               21   numbers in front of me. Those can be easily
     22    anyone from Watson ever commenting that beyond     22   found in the federal register. But I think that
     23    the quota issues that are raised here, there       23   there were -- in some of the years where DEA
     24    should be other issues raised to Deputy            24   focused on aggressive enforcement, I believe


                                                                       58 (Pages 229 to 232)
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                                              Page 233                                                Page 234
      1     that you, you probably saw hydrocodone either      1   just be -- well, organically it would be reduced
      2     stayed the same or maybe go down, but I, but I     2   because we would request less. It wasn't an
      3     can't swear to that.                               3   action taken by DEA to take back your quota, is
      4        Q. As you think of it, was any reduction        4   what I'm saying.
      5     in quota for an opioid at Watson or Actavis        5       Q. So do you remember making a smaller
      6     while you were there the result of                 6   quota request on any particular opioids in the
      7     company-specific activities or non-activities,     7   time that you worked at Watson or Actavis?
      8     or were they related to the entire molecule        8       A. I do.
      9     market?                                            9       Q. Can you tell me about it?
     10             MR. LUXTON: Objection to form.            10       A. Oxycodone.
     11             MR. KNAPP: Objection to form and          11       Q. Do you remember what year that was?
     12        foundation.                                    12       A. It would post 2012.
     13        A. So when I just spoke about                  13       Q. All right. Any other ones?
     14     reductions, I'm, I'm speaking of the aggregate,   14       A. Not that I recall.
     15     so that's everybody's. So as far as Watson's      15       Q. So oxycodone, is that a generic name
     16     quota, I don't recall having reduced -- our       16   for a brand-name opioid?
     17     quotas reduced. I mean, our quotas were           17       A. Oxycodone is the molecule, so it's
     18     commensurate with what our sales were. It was a   18   the active ingredient which can be used in
     19     direct relationship there. And I think, you       19   combination products, such as in combination
     20     know, there were times I think where our, our     20   with acetaminophen or aspirin. It could also be
     21     quota needs went down.                            21   a single-entity product, such as like an
     22        Q. When Watson's quotas needs went down,       22   OxyContin type of product.
     23     was their quota reduced?                          23       Q. Do you remember whether Watson or
     24        A. It wouldn't be reduced. It would            24   Actavis made generic OxyContin?


                                              Page 235                                                Page 236
      1       A. OxyContin?                                    1      A. It could have been our due diligence
      2       Q. Yes.                                          2   efforts when we re-onboarded legacy customers.
      3       A. I'm not sure specifically how far we          3      Q. Do you remember whether a new version
      4    got into the market with that. I know it was        4   of any brand name of oxycodone came out around
      5    being developed. I do know that there was a         5   that time?
      6    brief time where we were an authorized generic      6      A. As far as a brand?
      7    for Purdue Pharma, but that didn't last very        7      Q. Yes.
      8    long because of litigation that they had            8      A. We wouldn't have manufactured any
      9    ongoing, so that was not a long lasting             9   brand. If you're talking about anything
     10    relationship.                                      10   marketed by us, we would not -- we didn't have
     11            But as far as -- I can't be exact. I       11   any brand oxy.
     12    know that it was a product that was in             12      Q. And beyond any drug marketed by you,
     13    development, but I think that it was -- I don't    13   do you remember, say, for example, a
     14    know if it ever came to fruition or what the       14   tamper-resistant version of --
     15    distribution of that product was.                  15      A. I was just going to say, there were
     16       Q. So as you think about the reduced            16   various formulations that were being developed
     17    quota request for oxycodone, do you remember the   17   by innovators such as Purdue where it was
     18    reason for it?                                     18   increasing the tamper-resistant for controlled
     19       A. I do believe that when -- when we            19   substance single-entity products like OxyContin.
     20    transitioned, we when bought legacy Actavis into   20      Q. Do you ever remember whether that
     21    organization, it became our SOMS program, there    21   development, the tamper-resistant technology,
     22    was a, a reduction.                                22   had an effect of reducing Watson's or Actavis's
     23       Q. Do you remember the reason for the           23   quota request?
     24    reduction?                                         24      A. I don't believe there was a direct



                                                                        59 (Pages 233 to 236)
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                                                         Page 237                                                    Page 238
      1      correlation because we are largely talking about        1   inquiring about that?
      2      two different types of products where one is --         2      A. I don't recall.
      3      you know, a product like OxyContin is just              3      Q. As you made the reduced quota demand
      4      purely oxycodone in larger controlled release           4   for the --
      5      quantities, where a lot of the products we              5      A. Well, I mean, obviously if we're
      6      manufactured were a combination products with,          6   making a quota request or if we're not due for a
      7      you know, smaller amounts, but, but combined            7   quota request is because of diminished sales.
      8      with hydrocodone and oxycodone, with                    8      Q. Do you remember what the reason for
      9      acetaminophen or two different types of delivery        9   the diminished sales were?
     10      systems, two different types of products.              10      A. That, I don't know.
     11      Probably geared towards different types of             11      Q. All right.
     12      patients, I believe, too, as well. I would             12          MR. LUXTON: Before we go to the next
     13      imagine OxyContin is delivered more to an              13      document, can we take a quick bathroom
     14      individual who has got some chronic pain where         14      break?
     15      again you don't want that, the peaks and valleys       15          MR. EGLER: Sure.
     16      of the efficacy of the product so...                   16          THE VIDEOGRAPHER: The time is
     17          Q. So with regard to the reduction in              17      2:37 p.m. We are going off the record.
     18      quota request that you're thinking of, would you       18          (Recess is taken.)
     19      characterize it as a drop-off in demand or a           19          THE VIDEOGRAPHER: We are back on the
     20      drop-off in supply or a drop-off in the number         20      record at approximately 3:05 p.m.
     21      of customers or something else?                        21          (Napoli Exhibit 15, Watson document
     22              MR. LUXTON: Objection to form.                 22      entitled SOMS Project Evolution IT
     23          A. I couldn't speculate on that.                   23      Governance Meeting, Bates-stamped
     24          Q. Do you remember at some point ever              24      ALLERGAN_MDL_02468983 through 68994, marked


                                                         Page 239                                                    Page 240
      1          for identification, as of this date.)               1        A. For this document itself?
      2    BY MR. EGLER:                                             2        Q. This particular document.
      3          Q. Mr. Napoli, you understand you are               3        A. I don't have an exact recollection.
      4    still under oath?                                         4     I could have contributed to this.
      5          A. Yes.                                             5        Q. All right. So as you look at this
      6          Q. Could you look at what I've just                 6     document, do you have an understanding of who
      7    marked as Exhibit 15?                                     7     this presentation was made to?
      8              And as with other documents I've                8        A. Based on the fact that it's an IT
      9    handed you today, the first page has no Bates             9     governance meeting, I'm thinking perhaps some --
     10    number, but starting on the second page, the             10     our IT folks.
     11    Bates numbers are ALLERGAN_MDL_02468983 through          11        Q. Have you ever heard that term "IT
     12    68994.                                                   12     governance" in the course of your work at
     13              Can you take a look at this document,          13     Watson?
     14    and when you're ready, tell me if you recognize          14        A. I have.
     15    it.                                                      15        Q. What does that term mean to you?
     16              (Document review.)                             16        A. Well, from a governance perspective,
     17          A. I do.                                           17     I would think, and it's IT, I would think that
     18          Q. What is this document?                          18     ensuring that any systems or IT-related programs
     19          A. It's a document I guess detailing the           19     that we're utilizing within the organization
     20    anatomy of our SOMS project.                             20     meet the requirements in compliance with our
     21          Q. So as you think about this document,            21     standard operating procedures.
     22    that is Exhibit 15, were you responsible for it          22        Q. When you think of an IT department at
     23    or somebody in your group responsible for                23     Watson while you were there around this time,
     24    creating it?                                             24     April 2012, do you think of one or a couple of


                                                                                 60 (Pages 237 to 240)
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                                              Page 241                                                Page 242
      1     particular people that stand out in your mind?     1   guidance, December letter of 2000." It states,
      2         A. Not really.                                 2   "Registrants that rely on rigid formulas to
      3         Q. So going into this document, on the         3   define whether an order is suspicious may be
      4     fourth page, it's 8984. At the top of the page     4   failing to detect suspicious orders. For
      5     it states, "Regulatory Requirement.                5   example, a system that identifies orders as
      6         A. Um-hmm.                                     6   suspicious only if the total number exceeds the
      7         Q. And it states -- it has the language        7   previous month by a certain percentage or more
      8     of that 21 CFR 1301.74 (B), right?                 8   is insufficient."
      9         A. Yes.                                        9           Do you see that there?
     10         Q. And you see that?                          10       A. Yes.
     11             So I'll just read it in the record.       11       Q. That second group of, or that second
     12             "The registrant shall design and          12   paragraph that I read, do you recognize that as
     13     operate a system to disclose to the registrant    13   being from the letter authorized by
     14     suspicious orders of controlled substances. The   14   Mr. Rannazzisi?
     15     registrant shall inform the field division of     15       A. Yes.
     16     the administration in his area of suspicious      16       Q. And do you remember whether, in that
     17     orders when discovered by the registrant.         17   same letter, Mr. Rannazzisi highlighted the term
     18     Suspicious orders include orders of unusual       18   "include" in the 21 CFR 1301.74 (B) language
     19     size, orders deviating substantially from a       19   above, that suspicious orders "include" orders
     20     normal pattern, and orders of unusual             20   of unusual size, orders deviating substantially
     21     frequency."                                       21   from a normal pattern, and orders of unusual
     22             Do you see that?                          22   frequency?
     23         A. Yes, sir.                                  23       A. I don't recall if that was within the
     24         Q. And then the next one says, "Further       24   letter.


                                              Page 243                                                Page 244
      1         Q. And that there may be more than those       1   by static multiplier equals monthly allowable."
      2    three requirements or conditions for something      2          So as you think about that whole page
      3    to be a suspicious order?                           3   together, does that describe the Watson
      4         A. I don't recall if it was in the             4   Suspicious Order Monitoring System around this
      5    letter.                                             5   time April of 2012?
      6         Q. All right. So moving down into this,        6          MR. KNAPP: Objection to form.
      7    on the next page, page 8985, it states, "Current    7       A. It describes a component of the
      8    automated model," and it has various texts          8   system.
      9    there.                                              9       Q. Okay. Then it has that term that we
     10            Can you read that text to yourself         10   talked about earlier, "class of trade."
     11    and tell me what, in your opinion, it describes?   11          Do you see that there?
     12            As you're reading it to yourself,          12       A. Yes.
     13    I'll read it into the record.                      13       Q. Class of trade, it then says,
     14            "Current automated model designed and      14   "wholesaler, retail chain, distributor, mail
     15    implemented within SAP, primary user is customer   15   order, et cetera."
     16    relations," then, dash, "order intake process."    16          Is that what you understand a class
     17            And then it states, "Based on a            17   of trade to be?
     18    'threshold,'" and then, dash, "customer            18       A. Yes.
     19    groupings," and then a bullet point, "class of     19       Q. All right. How about the next
     20    trade," and then three dashes underneath there,    20   language that's down there, "monthly average
     21    "wholesaler, retail chain, distributor,            21   based on rolling 12-month period," is that class
     22    mail-order, et cetera," then another dash,         22   of trade?
     23    "monthly average based on 12" -- "based on         23       A. No.
     24    rolling 12-month period," and then "multiplied     24       Q. Okay. Why would that be listed there


                                                                       61 (Pages 241 to 244)
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                                               Page 245                                                Page 246
      1     under "class of trade"?                             1           It seems to be similar language to
      2             Could it be just a mistake --               2   the prior one?
      3         A. Yes.                                         3       A. Yes.
      4         Q. All right. And if you were tabbing           4       Q. What does that "customer groupings"
      5     it today, putting it under a bullet point or a      5   mean?
      6     dash, where would you put it? Would you put it      6       A. Not having authored this document, I
      7     as the same as based on a threshold, customer       7   don't know. I don't want to speculate.
      8     groupings, or somewhere else?                       8       Q. And then it states, "Order pending."
      9         A. I may put it under a bullet of               9   And then the next bullet point is, "Multiplier
     10     formula.                                           10   table is populated manually based on
     11         Q. Okay. And then the next one,                11   estimation."
     12     "multiplied by static multiplier equal monthly     12           Do you have an understanding of what
     13     allowable," would you put that under the same      13   that sentence means?
     14     formula bullet?                                    14       A. I believe it indicates that the
     15         A. Yes.                                        15   multiplier is set manually based on a review of
     16         Q. So if you can turn to that next page,       16   the -- what the normal behavior could be
     17     8986, it states "Customer groupings."              17   estimated to be with a customer.
     18             Do you see that there?                     18       Q. Now as you think about your time at
     19         A. Yes.                                        19   Watson and Actavis, do you remember about this
     20         Q. And it states, "Individual customer         20   time, April 2012, who would have set the
     21     ship to location monthly average based on 12" --   21   multiplier that's referred to in this page 8986?
     22     no, "monthly average based on rolling 12-month     22       A. Setting the multiplier was the
     23     period," and then "multiplied by static            23   responsibility of my group.
     24     multiplier equal monthly allowable."               24       Q. Do you remember if there was one


                                               Page 247                                                Page 248
      1    person in particular who would have set the          1   Monitoring System complied with the DEA
      2    multiplier?                                          2   regulations and laws in April 2012?
      3       A. I would have authorized it.                    3      A. I don't recall any specific
      4       Q. So with regard to setting the                  4   compliance concerns, but only our desire to
      5    multiplier, as you think about it, would the         5   enhance the system.
      6    multiplier be the same for every order by a          6      Q. Okay. Do you remember ever -- anyone
      7    particular customer or would they differ with        7   ever telling you that they had concerns about
      8    regard to different orders by customers or           8   Watson's Suspicious Order Monitoring System
      9    something else?                                      9   complying with the DEA regulations and laws
     10       A. It would be the same for each                 10   around this time?
     11    customer.                                           11      A. Not that I recall.
     12       Q. So, say, McKesson was one of the              12      Q. All right. And then it says below,
     13    customers, every multiplier -- let me start         13   "Increased enforcement action by DEA in the area
     14    over.                                               14   of SOM audits."
     15           Say McKesson was one of the                  15          And then, "Most recently Cardinal and
     16    customers, the multiplier for every order by        16   CVS failing to maintain systems to detect
     17    McKesson would be the same; is that right?          17   diversion."
     18       A. Right.                                        18          Do you see that there?
     19       Q. So going down further into the                19      A. Yes.
     20    document, "Current Automated System Evaluation"     20      Q. Do you remember that around this time
     21    down below, it says "Based on compliance            21   that Cardinal Lakeland Distribution Center being
     22    concerns."                                          22   shut down?
     23           Do you remember there being concerns         23      A. I don't have a specific memory, but I
     24    about whether Watson's Suspicious Order             24   do know that they had a distribution center that



                                                                        62 (Pages 245 to 248)
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                                              Page 249                                                 Page 250
      1     was, I don't know if it was completely shut down    1   cross-functional team that's referred to there
      2     or if there is was a temporary order. I'm not       2   is the group from customer service and the group
      3     sure.                                               3   from the DEA affairs; is that right?
      4         Q. And I guess "shut down" isn't the            4       A. That's correct.
      5     right way to say it.                                5       Q. Oh, and below, it says, "Security and
      6             They were unable to sell controlled         6   DEA affairs, IT and customer relations."
      7     substances; is that right?                          7           And the IT component is programming
      8         A. Correct.                                     8   the automated system into the SAP process; is
      9         Q. Okay. So the next bullet point down          9   that right?
     10     states, "Expectation that we know our customers'   10       A. Right. Or from a project management
     11     customers."                                        11   standpoint of implementing a new -- if we went
     12             Do you see that there?                     12   with a new algorithm into the system.
     13         A. Um-hmm.                                     13       Q. And then "Establish goals, compliance
     14         Q. Do you remember where that language         14   and efficiency."
     15     came from, "expectation that we know our," that    15           And, again, do you remember there
     16     we, quote, "know our customers' customers,"        16   being a discussion about compliance around this
     17     unquote?                                           17   time frame?
     18         A. I don't.                                    18       A. No, I do not.
     19         Q. It states, "Cross-functional team           19       Q. All right. And then the next one is,
     20     established in 2010."                              20   "Budgeted for third-party evaluation in 2011."
     21             And I think we talked about that           21       A. Right.
     22     before, right?                                     22       Q. And then turning to the next page,
     23         A. Right.                                      23   "Automated System Evaluation," it starts talking
     24         Q. And as you understand it, the               24   about Cegedim-Dendrite; is that right?


                                              Page 251                                                 Page 252
      1         A. Yes.                                         1           Do you see that there?
      2         Q. And is that the evaluation that we           2       A. I do.
      3     were talking about in the exhibit before we took    3       Q. Do you remember that being a finding
      4     the break?                                          4   that the Buzzeo group made about the Watson
      5         A. Correct.                                     5   system in early 2012?
      6         Q. So the next page is "Findings."              6       A. I don't have a specific recollection.
      7            Do you see that there?                       7       Q. Do you remember -- and, you know, I
      8            (Document review.)                           8   put a date limitation on that.
      9         A. Yes.                                         9           Is your lack of specific recollection
     10         Q. So it states -- as you see that word        10   based on the date or something else?
     11     "Findings," can you -- do you have an              11       A. It's just... it's been a while.
     12     understanding what that means in the context of    12       Q. And then it states, "Current model
     13     this document?                                     13   evaluates at SKU level."
     14         A. These would be observations that were       14           Is that pronounced typically "skew"?
     15     made by the consultant.                            15       A. Yes.
     16         Q. And the consultant was Buzzeo?              16       Q. All right. What is a SKU?
     17         A. Yes.                                        17       A. A SKU is just one, one product. So
     18         Q. And it says, "Use of multiplier to          18   it can be oxycodone 10325, 100 fill count, SKU.
     19     create monthly threshold."                         19       Q. Do you recognize the difference
     20            And it says, "Not consistent with           20   between a SKU and an NDC code?
     21     specific requirements noted within regulations     21       A. The SKU could be -- yeah, there,
     22     and guidance, and current system will detect a     22   there is a difference between the two. I don't
     23     certain percentage of suspicious orders but not    23   know the exact -- SKU is more of a -- we're kind
     24     all."                                              24   of exceeding my, probably my area of expertise,


                                                                        63 (Pages 249 to 252)
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                                               Page 253                                                Page 254
      1     but they're both unique identifiers.                1   states, "Revisit approach to SOM to fully
      2             I think what this is saying here is         2   address specific regulatory requirements."
      3     that by looking at it at the SKU level, we're       3           And then it states, "Develop SOM that
      4     not looking at the total molecule. And that was     4   is a 'non-threshold-based adaptive' -- I'm
      5     an enhancement. So that's something where we        5   sorry, let me read it.
      6     could have enhanced.                                6           "Develop SOM that is a,
      7         Q. All right. So it states, "Current            7   'non-threshold-based adaptive,' system trained
      8     model evaluates at SKU level. Possibility of        8   to identify suspicious orders by utilizing a set
      9     distributing orders across multiple SKUs without    9   of historic markers to include," and then
     10     detection."                                        10   another bullet point, "statistical scoring of
     11             So that's where you're talking about       11   active ingredient order volume versus history,
     12     it can be the same, as you refer to it, molecule   12   active ingredient order versus short and
     13     but with different SKUs?                           13   long-term trend, identification of high/low
     14         A. Right.                                      14   frequency ordering behavior."
     15         Q. And then the next one is, "System           15           And then the next bullet point is
     16     does not evaluate listed chemicals"?               16   "Base system on milligram strength rather than
     17         A. Right.                                      17   SKU."
     18         Q. I think we talked about that earlier        18       A. Um-hmm.
     19     as well?                                           19       Q. And then, "Include list of chemical
     20         A. Right.                                      20   within system."
     21         Q. Those are the precursor chemicals           21           And then, "Based on recommendations,
     22     that you talked about?                             22   GS and DEAA requested a proposal and quote."
     23         A. Right.                                      23           In the context of this document, do
     24         Q. And then on the next page, 990, it          24   you know what GS and DEAA would be?


                                               Page 255                                                Page 256
      1        A. Global security and DEA affairs.              1   system. You know, the automated system that
      2        Q. And your group was DEA affairs; is            2   we're talking about is -- we are talking about
      3     that right?                                         3   just one component within the system, that's
      4         A. Yes.                                         4   what I want to make clear. So we're not relying
      5        Q. And then the next dash is "Establish          5   on one component of a system as our Suspicious
      6     meeting with IT and consultant."                    6   Order Monitoring program.
      7         A. Um-hmm.                                      7      Q. And as you had been talking about
      8        Q. "Understand scope, confirm that               8   earlier, in addition to this process, there is
      9     solution was appropriate and achievable." And       9   the onboarding process and reviews; is that
     10     then the next one is "Budgeted for 2012            10   right?
     11     implementation."                                   11      A. The Know Your Customer due diligence.
     12             Do you see that there?                     12      Q. And Know Your Customer due diligence.
     13         A. Yes.                                        13           And then beyond the automated system,
     14        Q. Do you remember the -- do you                14   there is a process of customer service clearing
     15     remember whether there was a decision around       15   and then, if necessary, DEA affairs clearing of
     16     this time, April 2012, to implement the Buzzeo     16   orders; is that right?
     17     system at Watson?                                  17      A. Yes, sir.
     18        A. Yes, I believe there was.                    18      Q. And if none of those processes work,
     19        Q. All right. Do you remember who made          19   the order will be reported to the DEA as
     20     that decision?                                     20   suspicious; is that right?
     21        A. It would have been my management.            21      A. Correct.
     22        Q. Did you support the conclusion to            22      Q. All right.
     23     implement the Buzzeo system?                       23           All right. You can set this aside.
     24        A. I definitely supported enhancing our         24      A. Okay.


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                                                            Page 257                                           Page 258
      1           (Witness complies.)                                   1   2011, is from Lisa Scott to Mary Woods, and it
      2           (Napoli Exhibit 16, Watson document                   2   cc's you; is that right?
      3       entitled SOMS Project Evolution IT                        3       A. Yes.
      4       Governance Meeting, Bates-stamped                         4       Q. And it states, "Investigation
      5       ALLERGAN_MDL_02187196 through 87199, marked               5   summary."
      6       for identification, as of this date.)                     6           And Lisa Scott writes, "Mary, please
      7    BY MR. EGLER:                                                7   see the attached. Thank you."
      8       Q. Mr. Napoli, I'm handing you what I                     8           Then what follows is a two-page
      9    marked as Exhibit 16.                                        9   attachment that is called "Investigation
     10           Mr. Napoli, can you look at that                     10   Summary, Suspicious Order, TopRx, Inc."
     11    exhibit? And while you're looking through it,               11           And I want to ask generally about
     12    I'll read it into the record. It's                          12   this two-page part of the exhibit.
     13    ALLERGAN_MDL_02187196 through 87199.                        13       A. Um-hmm.
     14           And I'll tell you for the record,                    14       Q. Do you recognize this format?
     15    there -- as I read it, there are two emails in              15       A. I do.
     16    this exhibit, plus an attachment. And the last              16       Q. What is this format?
     17    email in time, the first one on the page, the               17       A. This would be an investigation
     18    first page of Exhibit 16, you're not included in            18   summary that we utilized by our department.
     19    that email.                                                 19       Q. So as you think of it, would this be
     20       A. Okay.                                                 20   the type of investigation summary that would be
     21       Q. So you can read it, but I'm not going                 21   done by the DEA affairs group or by the customer
     22    to ask you questions about it.                              22   service group or something else?
     23       A. Okay.                                                 23       A. This was performed by my group, DEA
     24       Q. The one below, Tuesday, October 4th,                  24   affairs.


                                                            Page 259                                           Page 260
      1         Q. All right. This investigation                        1   them know of that, that -- what our findings
      2      summary is then sent to Mary Woods, who was in             2   were and discuss a path forward.
      3      the customer service group.                                3       Q. So at this point in the process, can
      4         A. Yes.                                                 4   you tell from the investigation summary whether
      5         Q. Do you have an understanding of why                  5   Watson had contacted the DEA about the issues
      6      she would be contacted with regard to an                   6   raised in the investigation summary?
      7      investigation summary?                                     7       A. I know for a fact that we provided
      8         A. Mary was our partner with Suspicious                 8   all this information to the DEA.
      9      Order Monitoring, as well as she was on the                9       Q. Would you have provided the
     10      customer-facing side as well too. So if we                10   information to the DEA before this investigation
     11      needed to set up a meeting, a partnership                 11   summary was written and before TopRx was
     12      meeting to discuss this matter, she would be              12   contacted or after?
     13      likely the person to facilitate that for us.              13       A. We would have reported that to DEA
     14         Q. So with regard to -- you used the                   14   upon discovery that the order was suspicious.
     15      term "partnership meeting." Would you have a              15       Q. Okay. In the document, the
     16      partnership meeting -- well, let me start over.           16   Investigation Summary, does it say that Watson
     17              With regard to that term "partnership             17   personnel had contacted the DEA?
     18      meeting," as you think of the context of this             18           (Document review.)
     19      document, why would Watson be calling for a               19       A. I don't see where it does, but I know
     20      partnership meeting with TopRx, Inc.?                     20   that they were contacted.
     21         A. Because based on an investigation                   21       Q. And as you think of it today, you
     22      that we performed and our findings, that we               22   based that on your -- excuse me -- your
     23      found activities that were not consistent with            23   experience and typical processes at Watson; is
     24      complying with the CFR, and we wanted to let              24   that right?


                                                                                 65 (Pages 257 to 260)
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                                               Page 261                                                       Page 262
      1         A. I have a distinct recollection of            1      Picone to Woods with attachments,
      2     this case.                                          2      Bates-stamped ACQUIRED_ACTAVIS_01179002
      3         Q. What do you remember about this case?        3      through 005, marked for identification, as
      4         A. I remember most of the details of            4      of this date.)
      5     this case because I remember that it was            5      A. This looks like the last --
      6     something that -- I was involved with in the        6      Q. Okay. This is a repeat. Can you
      7     investigation, and that we -- the type of           7   hand me that back and I'll see if I can get the
      8     activities that we uncovered, and I do recall       8   tab off of it. I'll just make another tab. So
      9     that this was reported to the DEA.                  9   you can set this one aside.
     10         Q. Do you remember whether at some point       10          MR. KNAPP: Are we not moving on?
     11     Watson stopped shipping to TopRx?                  11          MR. EGLER: No, just set it aside.
     12         A. Absolutely. We cut them off.                12      I'm going to introduce another document
     13         Q. And do you remember whether TopRx's         13      that we'll mark as 17 because we are
     14     license was -- let me start over.                  14      totally modular and we don't use electronic
     15             Do you remember if TopRx's ability to      15      documents.
     16     sell controlled substances was ever withdrawn by   16   BY MR. EGLER:
     17     the DEA?                                           17      Q. With that side trip, Mr. Napoli,
     18         A. I don't believe there was any action        18   could you look at this document that we've
     19     taken by the DEA against TopRx.                    19   marked as Exhibit 17?
     20         Q. All right. So let's move on.                20      A. Yes.
     21             I'll hand you what we'll mark as           21      Q. And as you're looking at it, I will
     22     Exhibit 17.                                        22   read into the record the Bates numbers, which
     23             (Napoli Exhibit 17, Email chain            23   are a new set of Bates numbers, Acquired Actavis
     24         beginning with email dated 4/26/12 from        24   -- Acquired_Actavis_01179002 through 005.


                                               Page 263                                                       Page 264
      1             I'll represent to you that this             1       Q. So the first two pages of this email,
      2    document was produced as a family of documents,      2   of this Exhibit 17, is an April 17th and
      3    so it's an email, plus other documents put           3   April 26th email chain.
      4    together.                                            4           Do you see that there?
      5        A. Um-hmm.                                       5       A. Yes.
      6        Q. And could you read through it                 6       Q. And the first email in time comes
      7    generally and when you're ready, tell me if you      7   from Mary Woods and it goes to Napoleon Clarke
      8    recognize this document?                             8   and Toni Picone?
      9        A. I don't recognize it.                         9       A. Um-hmm.
     10        Q. All right.                                   10       Q. Who is Ms. Picone?
     11        A. I hope you don't ask me to interpret         11       A. An individual who worked in marketing
     12    this second attachment here.                        12   with Napoleon. Sales.
     13             (Laughter.)                                13       Q. And it's T-o-n-i?
     14        Q. And I apologize.                             14       A. Yes.
     15        A. I don't have my binoculars.                  15       Q. Ms. Woods writes, "Hi, Napoleon and
     16        Q. The second attachment that you're            16   Toni. I have a few marketing questions
     17    referring to has teeny, tiny little numbers.        17   regarding the hydrocodone market which I am
     18             And in the course of us talking about      18   hoping you can assist with.
     19    this, if you need to refer to that data, I can      19           "As you know, the increased order
     20    go and get it on a computer and you can look at     20   volume in many of the hydrocodone SKUs has been
     21    it. But I just want to let you know, because it     21   significant over the past several weeks. I am
     22    is mentioned as a piece of the document, you can    22   intending to use the information provided to
     23    see generally what it is.                           23   discuss the market demand and market share with
     24        A. Okay.                                        24   the DEA compliance team."



                                                                          66 (Pages 261 to 264)
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                                               Page 265                                               Page 266
      1            And she asked a number -- she makes a        1       Q. So Ms. Picone writes back, "Hello
      2     number of requests for data information.            2   all. Please see answers to the below questions
      3            Do you see that there?                       3   as per our meeting today."
      4        A. I do.                                         4          And she has six points there.
      5        Q. All right. And then that's on                 5   "Amneal, Qualitest, and Mallinckrodt are the
      6     April 17th.                                         6   suppliers that customers are telling us the
      7            On April 26th, Ms. Picone writes back        7   reasons for the supply shortages in the market.
      8     to her and Mr. Clarke, Napoleon Clarke, and cc's    8   Amneal has discontinued to select customers only
      9     Lisa Scott, you, Sandy Simmons, Scott Soltis and    9   and Mallinckrodt has sent letters that they have
     10     Andrew Boyer.                                      10   backlog and are trying to ramp up as a result of
     11            And we haven't talked previously            11   the quota."
     12     about Mr. Boyer.                                   12          Do you remember receiving this email?
     13            Do you remember Mr. Boyer?                  13       A. I don't.
     14        A. Yes.                                         14       Q. As you sit here today, the email is
     15        Q. Who he is?                                   15   called "Hydrocodone supply issues - market
     16        A. Andy Boyer was our head of sales.            16   demand."
     17        Q. Would Mary Woods's department be             17          As you read that point one that
     18     under Mr. Boyer?                                   18   Ms. Picone writes, what does that mean to you in
     19        A. Yes.                                         19   the context of the document?
     20        Q. The sales group, like Napoleon               20       A. My interpretation of this document --
     21     Clarke, he would also be under Mr. Boyer?          21       Q. Yes.
     22        A. Correct.                                     22       A. -- is that there is a shortage due to
     23        Q. And so would Ms. Picone?                     23   certain manufacturers not receiving quota and
     24        A. Yes.                                         24   having the inability to manufacture. So other


                                               Page 267                                               Page 268
      1     customers of Watson are looking to come over to     1           And then she states, "Customers
      2     us to order because we had sufficient quota and     2   typically do not proactively provide marketing
      3     they were looking to order the product to meet      3   with increased forecasts. However, we are
      4     their customers' needs.                             4   closely monitoring the orders and when we see
      5             Based on this -- what we're seeking         5   increases in orders, we do reach out to
      6     here, this justification is because my team         6   customers to ask for revised forecasts and/or
      7     likely pended a lot of orders and refused to        7   monitor the 852/chargeback data to determine if
      8     move on them until we had justification, which      8   their sales out is increasing."
      9     probably prompted this meeting so we can get a      9           She uses that term "852/chargeback
     10     rationale around why the change in ordering        10   data."
     11     behavior, and you can see in there where we're     11           Are those the same 852 and chargeback
     12     requesting data and forecasts so we can put some   12   that we talked about earlier today?
     13     rationale around what these new demands would      13      A. 852, yes.
     14     look like for us, rather than just approve these   14      Q. And then she states, "If we receive
     15     orders.                                            15   increased forecasts from customers, we will
     16         Q. Okay. Ms. Picone, as you were               16   provide them to the master data team. In
     17     talking about it, she writes, "The customers who   17   addition, if the master data team receives
     18     are no longer receiving product from Amneal is a   18   revised forecasts, they will provide to
     19     permanent change and those who are short for       19   marketing."
     20     Mallinckrodt we expect to be temporary."           20           And she says, "There is potential
     21             Then she says, "We do not know how         21   market share increase of approximately 15
     22     long the increased demand will be for temporary    22   percent to 20 percent based on our share versus
     23     change. Mallinckrodt's letter states through       23   our competitors' as of Q4 '11, per the IMS EU
     24     May."                                              24   data."


                                                                        67 (Pages 265 to 268)
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                                               Page 269                                                Page 270
      1             As you read this document, you see          1        Q. Okay. So total prescriptions written
      2     that term IMS EU, what does that mean to you?       2   from IMS, what would that encompass?
      3         A. I would interpret it as the -- that          3        A. I believe that would provide the
      4     IMS is providing the data on market share. EU,      4   blinded prescription information for a
      5     I don't know what that means. I know it's not       5   particular manufacturer's product.
      6     European Union.                                     6        Q. All right. So and as we are talking
      7         Q. That was what I was going to ask.            7   about this hydrocodone, do you understand
      8             So you don't have any feeling either        8   hydrocodone to be, as we've been talking about
      9     way?                                                9   it, to be a molecule or a product or something
     10         A. No. I think this email is a great           10   else?
     11     example of communication between the various       11        A. It could be -- hydrocodone in its raw
     12     departments in making educated decisions on        12   form is a molecule. The product itself is when
     13     rationalizing orders, though.                      13   it's in a finished dosage form.
     14         Q. So let's keep going on it. I agree          14        Q. In fact, was Norco a hydrocodone
     15     with you.                                          15   product?
     16             She says, "I have attached recent TRX      16        A. Yes.
     17     data from IMS so you can see the market trends     17        Q. Ms. Picone is sending the total
     18     by competitor. I also attached a copy of           18   prescription data from IRS -- from IMS so that
     19     Mallinckrodt's letter that they sent to            19   Mary Woods can see market trends by competitor,
     20     customers for your reference."                     20   and that would relate to the hydrocodone market;
     21             So that reference there, TRX data          21   is that right?
     22     from IMS, do you have an understanding of what     22        A. Yes.
     23     that means?                                        23        Q. So at any time did you seek data on
     24         A. Total prescriptions written.                24   market trends by competitor to inform the


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      1     automatic part of the -- or the automated part      1   would have went to us because we're seeing a
      2     of the SOM system at Watson or Actavis?             2   trend here of these orders that are way out of
      3         A. No.                                          3   line with ordering behavior, and that's what
      4         Q. Okay. Then you said that this was a          4   prompted this whole team meeting and discussion
      5     good example of communication between the           5   and we identified that there was a market issue.
      6     various groups at Watson; is that right?            6   So we wanted to explore that because we want to
      7         A. Right.                                       7   explain why we're seeing these spikes in
      8         Q. And do you remember whether this type        8   ordering behavior.
      9     of communication took place to inform the           9      Q. And the market issue that you
     10     automated part of the Suspicious Order             10   analyzed with regard to this time frame, did you
     11     Monitoring System at Watson?                       11   ever look at those market issues and try to
     12         A. When you refer to the automated part,       12   import them into the automated part of the
     13     I mean -- I think you would be referring to the    13   Suspicious Order Monitoring System?
     14     folks that manage the SOMS program, so that        14      A. I don't think there would be a way to
     15     would be my group. So certainly we were            15   incorporate those into this, but just of having
     16     definitely aware of this. This is information      16   that knowledge of what these quantities look
     17     we relied on to make educated decisions.           17   like, we would be -- certainly, our DEA affairs
     18         Q. And the decisions that you're talking       18   team would be aware of these increases and these
     19     about would be decisions made once an order        19   volumes so -- because these orders would
     20     pended in the -- in the case of your group, once   20   continue to pend. It wouldn't be part of a
     21     an order pended and then was investigated by the   21   12-month rolling history. So these would pend
     22     customer service group; is that right?             22   every month and we would review to make sure
     23         A. Well, initially, this would have been       23   they were in accordance with the data provided
     24     investigated by the customer service group. It     24   to us, and until such time that the ordering


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                                              Page 273                                                        Page 274
      1    behavior normalized. And that would be              1       Q. So with regard to the total
      2    something that would happen outside of the          2    prescriptions for the market trends by
      3    system, outside of the automated system.            3    competitor, the hydrocodone market, as you think
      4       Q. So that market demand data that               4    about it here, would that be in the main generic
      5    Ms. Picone would is talking about would be used     5    products?
      6    to determine whether the orders that had already    6       A. Can you ask the question again,
      7    pended should be cleared or passed on to the DEA    7    please?
      8    affairs and then the DEA itself; is that fair to    8       Q. So as you think about the hydrocodone
      9    say?                                                9    market --
     10       A. Right.                                       10       A. Right.
     11            MR. LUXTON: Objection to form.             11       Q. -- generally, around this time frame,
     12    BY MR. EGLER:                                      12    2012, would it be dominated by brand names or
     13       Q. But they would not be part of the            13    dominated by generics?
     14    automated system itself?                           14            MR. KNAPP: Form.
     15       A. Right. This is a unique event so             15            MR. LUXTON: Objection to form.
     16    that would be hard to implement into an            16       A. I couldn't speak to exactly the
     17    automated system.                                  17    percentages.
     18       Q. Do you know if anyone in your group          18       Q. All right. So with regard to your
     19    ever asked whether this type of TRX data from      19    knowledge of Watson's production, we had seen
     20    IMS could be brought into the Suspicious Order     20    earlier that they had 25 percent of the quota
     21    Monitoring System?                                 21    produced out of their Corona, California plant,
     22       A. I don't. I don't know what would be          22    plus more from the Florida plant.
     23    gained by having the total prescriptions by the    23            As you think about that production,
     24    whole market in our SOMS system.                   24    was that mostly brand names or mostly generic or


                                              Page 275                                                        Page 276
      1    something else?                                     1          (Witness complies.)
      2       A. Mainly generic.                               2          (Napoli Exhibit 18, Cegedim document
      3       Q. Okay. Are you aware whether the               3      entitled Buzzeo PDMA Suspicious Order
      4    Watson balance of brand names versus generics       4      Monitoring Seminar, Bates-stamped
      5    was different from the market as a whole?           5      ALLERGAN_MDL_02467214 through 7216, marked
      6       A. I can't answer that. I just don't             6      for identification, as of this date.)
      7    know.                                               7          MR. EGLER: Here you go.
      8       Q. And as you sit here today, you don't          8          (Handing.)
      9    think knowing the entire market trends by           9   BY MR. EGLER:
     10    competitor for the hydrocodone supply and demand   10      Q. Mr. Napoli, can you look at the next
     11    issues would help inform a Suspicious Order        11   exhibit, it's Exhibit 18.
     12    Monitoring System?                                 12      A. Sure.
     13            MR. LUXTON: Objection. Asked and           13      Q. And again, the first page is a
     14       answered.                                       14   metadata page and then on the second page it's
     15       A. At this time, I couldn't speculate on        15   ALLERGAN_MDL_02467214 through 7216.
     16    how the total lawful prescriptions written would   16          Can you look at this document and
     17    assist us.                                         17   tell me if you've ever seen it before.
     18       Q. And you're not aware of any time when        18          (Document review.)
     19    that type of integration of information was        19      A. I have seen it.
     20    discussed at Watson or Actavis; is that right?     20      Q. What is it?
     21            MR. KNAPP: Form.                           21      A. This is an agenda from a Suspicious
     22       A. Not that I took part in.                     22   Order Monitoring seminar that was conducted by
     23       Q. All right. So you can set this               23   Cegedim in Chicago in 2012.
     24    document aside.                                    24      Q. So on the last page of this document



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                                                 Page 277                                                     Page 278
      1     entry, three o'clock to 3:45 p m., it says, "SOM    1          I do recollect that one of my key
      2     experts compliance panel." It says, "A Q and A      2   topics was about Know Your Customer, because we
      3     panel designed to answer your SOMS compliance       3   were recognized as having a strong program and
      4     questions."                                         4   also asked to be on the panel because of over
      5             And Mr. Buzzeo is the moderator.            5   the years of my acquiring a great deal of
      6             The first person listed on the panel        6   knowledge in the area.
      7     is you; is that right?                              7      Q. So with regard to the Know Your
      8         A. That's correct.                              8   Customer topic that you're thinking of, as you
      9         Q. Do you remember serving on this panel        9   think about this time end of 2012 at Watson,
     10     in October of 2012?                                10   about how many customers for controlled
     11         A. I do.                                       11   substance product did Watson have?
     12         Q. What did you talk about when you were       12      A. I'd say less than a hundred, but I
     13     serving on this panel?                             13   don't want to -- that would be a guess.
     14         A. I don't have an exact recollection.         14      Q. Whatever range you're comfortable
     15         Q. All right. So as you look at this           15   with saying.
     16     panel, you were the only person from a, for lack   16      A. Sure.
     17     of a better term, DEA registrant; is that right?   17      Q. It's fewer than a hundred.
     18         A. Yes.                                        18      A. Fewer than a hundred.
     19         Q. Do you remember having discussions          19      Q. More than 50?
     20     with any other DEA registrants at this             20      A. Yes.
     21     conference?                                        21      Q. And as you think about the typical
     22         A. I don't have any distinct                   22   time frame -- let me start over.
     23     recollections of conversations with our            23          As you think about the time frame of
     24     registrants.                                       24   your being the head of DEA affairs at Watson and


                                                 Page 279                                                     Page 280
      1    then Actavis, each year about how many new           1      A. Presented on our process for reaching
      2    customers, on average, do you think came in to       2   out, establishing strong relationships with our
      3    the company?                                         3   partners, identifying compliance colleagues at
      4       A. Zero.                                          4   the other organizations, understanding who their
      5       Q. All right. And did they have any new           5   customers are and how their business relates to
      6    customers at any point?                              6   our product, an overview of what their security
      7       A. There may have been one or two. We             7   programs and compliance programs are, ensuring
      8    had a long-standing customer base and we -- it       8   that they were compliant with -- their -- with
      9    was a very rare occasion if we took on a new         9   the CFR, as well as ensuring that we also had a
     10    customer for controlled substances.                 10   compliance agreement that we would ask our
     11       Q. When you talk about the onboarding            11   customers to acknowledge as well too. So.
     12    process for the time that you were the head of      12      Q. And around this same time, October of
     13    DEA affairs at Watson from 2009 through whenever    13   2012, Watson had planned on implementing the
     14    you left, about how many times was there an         14   Buzzeo automation part of the Suspicious Order
     15    onboarding process?                                 15   Monitoring System; is that right?
     16       A. I don't have a direct recollection.           16      A. Correct.
     17       Q. Fewer than a dozen?                           17      Q. And also around the same time, late
     18       A. Yes.                                          18   2012, is this when Watson and Actavis announced
     19       Q. Fewer than five?                              19   their combination?
     20       A. I don't know.                                 20      A. Yes.
     21       Q. All right. And then with regard to            21      Q. So do you remember whether Watson
     22    the Know Your Customer processes that you talked    22   implemented the Buzzeo process that it had
     23    about on this panel, do you remember what you       23   planned on implementing?
     24    presented on?                                       24      A. They did not.



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                                              Page 281                                                           Page 282
      1         Q. Do you remember what it did instead?         1           (Napoli Exhibit 19, Email chain
      2         A. We continued with our -- our current         2      beginning with email dated 9/27/12 from
      3     system. The reason why we didn't implement it,      3      Napoli to Lepore and others, Bates-stamped
      4     with the acquisition of Actavis, there was a        4      ALLERGAN_MDL_04173111 through 113, marked
      5     freeze-out period within SAP because of this --     5      for identification, as of this date.)
      6     without getting too into detail, the process of     6   BY MR. EGLER:
      7     lifting an entire company and moving all their      7      Q.    Received what's marked as Exhibit 19,
      8     products into the business system, there was a      8   can you look through it. As you're looking
      9     quite extensive freeze-out period where you         9   through it generally, I'll read on the record,
     10     couldn't make any changes to the business          10   it's ALLERGAN_MDL_04173111 through 113.
     11     system. So that would have held us back from       11           And as you look at this document, can
     12     implementing our system.                           12   you tell me what it appears to you to be?
     13         Q. And that freeze out and                     13           (Document review.)
     14     implementation took place in the years 2012 and    14      A.    This appears to be an email that is
     15     2013; is that right?                               15   in regards to our Suspicious Order Monitoring
     16         A. We had at Watson/Actavis there was a        16   folks, the customer service side, pending an
     17     period where there was a series of, what I would   17   order for further review for an increase, and us
     18     call, multiple M&A activities in successive        18   asking for additional information and
     19     years.                                             19   subsequently releasing the order.
     20         Q. Okay. Let let's leave it at that for        20      Q.    On the second page of Exhibit 19, the
     21     now.                                               21   first email in time, Victoria Lepore writes to a
     22         A. Okay.                                       22   person named Jared Green and Robert Gettus about
     23         Q. All right. Let's move on. You can           23   an order that's being held; is that right?
     24     set that document aside and we'll move on to 19.   24      A.    Um-hmm.


                                              Page 283                                                           Page 284
      1        Q. And then she writes back to him again         1    of a customer's 852 data, sales month over month
      2     on September 27th in the morning.                   2    by SKU for a particular product, and in this
      3            And then the response from Cardinal          3    case it would give us a specific on this product
      4     Health is at the top of that page.                  4    itself. So it would give us more detail and
      5            Do you see that there?                       5    insight into the customer's ordering behavior.
      6        A. Yup.                                          6        Q. And then she goes on to say, "Based
      7        Q. All right. And the person from                7    on the controlled substance report, they don't
      8     Cardinal Health writes, "We are seeing increased    8    go over their customer's allowance per month
      9     volume due to Mallinckrodt being on back order.     9    until this month, and they didn't order any
     10     Please let me know what additional information     10    product in August."
     11     you need to release this order."                   11            This takes place, this email is in
     12            Then Ms. Lepore forwards that on to a       12    September; is that right?
     13     group of people, not including you, "Attached      13        A. Yes.
     14     please find the customer's response along with     14        Q. And then the next email up is later
     15     the SOMS order. I'm also attaching the             15    in that day, she writes to the same group,
     16     controlled substance for your reference."          16    "Please let me know the status of the record.
     17        A. I think that means report.                   17    Need a response as soon as possible."
     18        Q. Okay. What would a controlled                18        A. Um-hmm.
     19     substance report be in this context, as you        19        Q. And you respond; is that right?
     20     understand the workings of the Suspicious Order    20        A. Yes.
     21     Monitoring System?                                 21        Q. And you respond, "Hi, Vicky, DEA
     22        A. A controlled substance report in this        22    affairs has evaluated and approved -- approves
     23     context would be most likely an imported or        23    the release of this order. Although the
     24     Excel file that would provide us with a snapshot   24    customer is citing Mallinckrodt back order


                                                                            71 (Pages 281 to 284)
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                                              Page 285                                                          Page 286
      1     situation as justification, can you have them       1      A.    I can't speculate. There may be a
      2     articulate which customers specifically has have    2   lot more detail to this behind the email.
      3     been affected and are utilizing Watson product      3      Q.    Okay.
      4     as a result? Thanks very much. Tom."                4      A.    And I'm also confused about the time.
      5             So with regard to this email, was it        5   The time is showing that it's before the other
      6     your practice to typically release pended orders    6   time email sent.
      7     that had been raised to the DEA affairs Group as    7      Q.    Right. So what you're pointing out
      8     part of your job.                                   8   is, Victoria Lepore's email is sent on
      9             MR. KNAPP: Objection to form.               9   September 27th, 2012 at 2:04 p.m. and your email
     10         A. I was not typically in the role of          10   appears to be that same day at 11:51 a.m.
     11     releasing orders, but I would do it on occasion.   11      A.    Right.
     12         Q. Do you have a memory as to why you          12      Q.    So about two hours before that.
     13     released this particular order?                    13      A.    Yeah.
     14         A. It could have been one of my staff on       14      Q.    All right. But as we sit here today,
     15     vacation.                                          15   you don't have a particular memory of this
     16         Q. And then with regard to the email           16   process?
     17     that you send, you asked for further information   17      A.    Correct.
     18     from Cardinal about the -- about their             18      Q.    So you can set that one aside.
     19     customers.                                         19           (Witness complies.)
     20             Do you see that there?                     20           (Napoli Exhibit 20, Email chain
     21         A. Right.                                      21      beginning with email dated 6/26/13 from
     22         Q. Do you remember, that was a typical         22      Collins to Napoli, Bates-stamped
     23     practice of releasing an order and then asking     23      ALLERGAN_MDL_02179760 through 772, marked
     24     for more information?                              24      for identification, as of this date.)


                                              Page 287                                                          Page 288
      1     BY MR. EGLER:                                       1        Q. Who is Jeff Collins?
      2          Q. I'll hand you what we'll mark as            2        A. Jeff Collins is part of our global
      3     Exhibit 20.                                         3    security team -- was part of our global security
      4             Mr. Napoli, can you look at what we         4    team and he was a security investigator.
      5     marked as Exhibit 20 and as you're reading it       5        Q. And then there is another name there,
      6     I'll read in the record the Bates number.           6    William Simmons.
      7     ALLERGAN_MDL_02179760 through 772.                  7           We've talked about him earlier today.
      8             When you're ready, can you tell me          8        A. William was my auditor investigator.
      9     what this appears to you to be.                     9        Q. And Mr. Collins writes to you at the
     10             I'll just note for the record, this        10    last email in time, "Tom, I believe you are out
     11     was produced to us and I double-checked it the     11    of the office today. However, I was hoping you
     12     other day, there are consecutive Bates numbers     12    would be able to take a look at this. I want to
     13     but a couple of the emails are repeated.           13    get some feedback. Miami-Luken has placed an
     14             So I don't think it's a copying            14    order for 72 units of Oxy/APAP,
     15     issue. I think it's some type of a production      15    10/650-milligram, 100 count. This is on top of
     16     issue, but I don't know what caused it. I think    16    the 84 they have already received this month.
     17     it's understandable in that context, though.       17    They're allowable is 53 which would put them 103
     18             (Document review.)                         18    over for the month. They sent along their sales
     19          A. Okay.                                      19    for May 1 - June 25, which is helpful and
     20          Q. All right. So with regard to this          20    produce nothing extraordinary other than one
     21     email, there is a name Jeff Collins.               21    customer.
     22             Have we talked about him earlier           22           "McMeans #1 Ashland appears to be a
     23     today?                                             23    local pharmacy in Ashland, Kentucky. They have
     24          A. Yes.                                       24    ordered 42 units of this product during this



                                                                            72 (Pages 285 to 288)
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                                              Page 289                                                Page 290
      1     time frame which accounts for 4200 pills. This     1   the SOMS investigation form that's at page 9772,
      2     account jumps out as having purchased              2   there are various columns and it states Item No,
      3     significantly more than the other, which is why    3   Material No, Description, Order Quantity.
      4     I'm asking. This is a small rural town of          4          Next to Order Quantity there's
      5     21,000 people in the mountains of Kentucky.        5   handwritten notes.
      6            "Do you have much knowledge of Miami        6          In the context of your work at
      7     Luke in SOMS program, and are you comfortable      7   Watson, do you know what those mean?
      8     with this order?"                                  8      A. There is a reason code, which I think
      9            So do you remember receiving this           9   corresponds to why something was released. It
     10     particular email?                                 10   appears that there was none for the last line
     11         A. I don't. I have no recollection of         11   item which means it likely was not released.
     12     this email.                                       12      Q. All right. With regard -- go ahead.
     13         Q. Do you remember ever discussing this       13      A. Release quantity...
     14     particular order with anybody?                    14          (Document review.)
     15         A. I do not.                                  15      A. The release quantity, it just
     16         Q. All right. And as you look at the          16   indicates the number that would be released
     17     last page of this Exhibit 20, the very last       17   because of the order.
     18     page, it says Watson Pharma Inc. SOMS             18      Q. Okay. What about the order quantity
     19     Investigation Form.                               19   there with the 24, 24 and 72 and 5, 24 and 103
     20         A. Yes.                                       20   written in next to it?
     21         Q. So is the oxycodone that Mr. Collins       21          Do you know what that means?
     22     is discussing listed on this page?                22      A. I'm thinking. I didn't major in math
     23         A. I believe it's the last line there.        23   but month-to-date quantity plus 72 equals 103.
     24         Q. All right. As you go on this form,         24   No, that can't be.


                                              Page 291                                                Page 292
      1         Q. Let me just ask you: From the               1      Q. Okay.
      2     context of your typical work at Watson and         2      A. And I'm not sure about this being
      3     Actavis, you don't know what those handwritten     3   released or not.
      4     numbers would be?                                  4      Q. But as you look at it, would you be
      5         A. I didn't review these every day.            5   surprised if it was released?
      6         Q. Okay.                                       6          MR. KNAPP: Same objection.
      7         A. And I haven't worked for the company        7          MR. LUXTON: Same.
      8     in several years.                                  8      A. I don't know. I don't know if there
      9         Q. But you had mentioned on the far            9   are other -- if there were subsequent actions or
     10     right-hand side, Reason Code --                   10   investigation that took place; not contained
     11         A. Right.                                     11   within here.
     12         Q. -- there?                                  12      Q. Based on the information that's in
     13            Do you remember there being at least       13   that email there, would you, using your judgment
     14     12 different reasons as to why not release or     14   as you sit here today, would you think that the
     15     hold an order?                                    15   order should be released?
     16         A. I don't.                                   16          MR. KNAPP: Objection to form.
     17         Q. As you read through this document,         17          MR. LUXTON: Objection to form.
     18     would it surprise you if this order was           18      A. It would be difficult to judge
     19     released?                                         19   something that happened that long ago and I
     20            MR. KNAPP: Form.                           20   don't know if I have all the details there.
     21            MR. LUXTON: Same.                          21      Q. As you think about what you read in
     22            (Document review.)                         22   that email, are there any particular pieces of
     23         A. So the 103 was the number they would       23   information that you would want to know beyond
     24     have been over for the month.                     24   what's contained there?


                                                                       73 (Pages 289 to 292)
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                                                          Page 293                                           Page 294
      1       A.    Probably want to know more about the              1      A. Correct.
      2    pharmacy location.                                         2      Q. Do you remember writing this 2014
      3       Q.    All right. So let's move on. Here's               3   year-end review of Mr. Simmons?
      4    Exhibit 21.                                                4      A. I don't have a specific recollection,
      5            (Napoli Exhibit 21,2014 Year-End                   5   but I definitely would have written his review.
      6       Review DEA Materials, Bates-stamped                     6      Q. All right. I want to look at the key
      7       ALLERGAN_MDL_03535137 through 143, marked               7   goals and responsibilities that are listed on
      8       for identification, as of this date.)                   8   the first Bates-stamped page. And No. 9 is
      9    BY MR. EGLER:                                              9   "Identify resources and key personnel to create
     10       Q.    And if you look at Exhibit 21, the               10   a more comprehensive SOMS program to include
     11    first page has no Bates numbers. The second               11   leverage marketing personnel and chargeback
     12    page is ALLERGAN_MDL_03535137 through 143.                12   data."
     13            And you can look through the whole                13           Do you see that there? It's on the
     14    document, but I'm just going to ask you about             14   prior page and it's right here (indicating).
     15    what is the third page of the document, the               15      A. Hold on one second.
     16    second Bates stamp.                                       16      Q. Number 9.
     17       A.    Okay.                                            17           (Document review.)
     18       Q.    Before that, this is a 2014 -- it's              18      A. Yes.
     19    listed as a 2014 year-end review of William               19      Q. And then on the next page, 138, the
     20    Simmons; is that right?                                   20   second half of Employee Evaluation --
     21       A.    Yes.                                             21      A. Um-hmm.
     22       Q.    All right. And Mr. Simmons is a DEA              22      Q. -- is this Mr. Simmons writing,
     23    compliance auditor and you are his manager; is            23   "Collaborations with internal personnel have
     24    that right?                                               24   opened the door for the use of chargeback data


                                                          Page 295                                           Page 296
      1     and marketing information as it relates to the            1   Monitoring System?
      2     sale/usage of controlled substance. This has              2       A. Again, data wouldn't be imported into
      3     provided more insight into the downstream                 3   the automated system, but this system would be
      4     process of controlled substance ordering, but it          4   used for analysis by Will as an auditor.
      5     has also provided a better, quote, whole                  5           So in addition to the data that's
      6     picture, unquote, of ordering behavior.                   6   listed here, and I'm trying to look at the time
      7     Relations with customer service personnel have            7   frame of this, but there was a point in which we
      8     been created to allow for a monthly (or more              8   moved out of the security organizations and were
      9     frequent) report of top customers to include              9   reporting to supply chain.
     10     buying groups and contract                               10           Within the supply chain group we have
     11     additions/subtractions. Groundwork has been              11   groups such as market forecasting, demand
     12     laid to start a collaborative relationship with          12   management. They have various tools to look at
     13     coworkers as it relates to customer order                13   forecasts, volume, et cetera, and we were
     14     usage."                                                  14   leveraging those relationships to be able to
     15             Do you see that there?                           15   meet more frequently with those folks so we'd
     16         A. I do.                                             16   have a better understanding of future ordering
     17         Q. Do you remember Mr. Simmons having an             17   behavior, as well as looking retrospectively as
     18     initiative to use chargeback data and marketing          18   well.
     19     information in the Suspicious Order Monitoring           19           And we also had an individual that
     20     System at Watson or Actavis?                             20   could provide us chargeback data as well
     21         A. Yes.                                              21   internally.
     22         Q. All right. Do you remember whether                22           But chargeback data, again, is -- has
     23     the data that he was seeking was ever imported           23   got limited use and because of the vast amount
     24     into the automated part of the Suspicious Order          24   of chargeback data we only used it to look at


                                                                              74 (Pages 293 to 296)
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                                               Page 297                                                          Page 298
      1    specific products, specific SKUs that we wanted      1   automated system, because it's -- we are talking
      2    to focus on, such as hydrocodone and oxycodone.      2   about -- it's an automated system.
      3        Q. And as you think about the SKUs and           3       Q. Right.
      4    the chargeback data, would that be part of the       4       A. So, you know, Will's role within
      5    automated SOMS process or part of a process that     5   that -- you know, the automated system was one
      6    was after the automated SOMS once an order had       6   tool. Looking at reports or forecasting or
      7    pended?                                              7   demand that we're seeing, those are all tools
      8        A. It would all be retrospective because         8   that Will used as well to make informed
      9    the chargeback data is something that -- a           9   decisions and to understand, albeit
     10    customer would have to submit a rebate for, so      10   retrospectively, what a specific customer's
     11    that would -- that would all be dependent on        11   ordering habits were. It essentially gave him
     12    when that customer submitted the rebate and when    12   more tools in his toolbox to be able to be very
     13    we received and processed pavement. So it's         13   effective in his job.
     14    definitely a retrospective tool that Will would     14       Q. I guess what I'm trying to understand
     15    review on a monthly basis to supplement the work    15   is with regard to the data and information that
     16    he was already doing and also looking at            16   Mr. Simmons was getting, as you think of it,
     17    historical purchasing data by customers.            17   would it help to inform that algorithm or the
     18         Q. The work that Will was doing, was it        18   formula or whatever was used that was the
     19    informing the automated part of the Suspicious      19   automated part of the SOM system, or would it
     20    Order Monitoring System or would it inform          20   inform other parts of the SOM system, or would
     21    decisions made once an order pended?                21   it inform the people examining orders that had
     22             MR. KNAPP: Objection to form.              22   pended, or something else?
     23         A. I think where I'm getting stuck a           23           MR. KNAPP: Objection to form.
     24    little bit is when you refer to notifying the       24           MR. LUXTON: Objection.


                                               Page 299                                                          Page 300
      1         A. The data that Will was reviewing             1   decision about whether to pend an order; is that
      2     is -- again, much of it is retrospective. He        2   fair to say?
      3     would use that -- he was using that for analysis    3      A. Right. That is correct. Because
      4     purposes.                                           4   this is all history that we're looking at.
      5             So, you know, obviously, you know, we       5      Q. All right.
      6     want to be making decisions in the realtime when    6          MR. KNAPP: Is it about time for
      7     it came to an order, but to give him perspective    7      another break, or am I just ahead of the
      8     and to look at -- to look for trend analysis and    8      time here?
      9     things like that and also being proactive as        9          MR. EGLER: No, that's a good idea.
     10     possibly as you can with chargeback data, to       10      Let's take a break.
     11     look to see if there were any customers that       11          THE VIDEOGRAPHER: The time is
     12     were purchasing from multiple sources.             12      approximately 4:21 p m., and we are going
     13             So it was just, again it was one more      13      off the record.
     14     tool that was really autonomous of the automated   14          (Recess is taken.)
     15     system but it was part of our holistic process     15          THE VIDEOGRAPHER: We are back on the
     16     to have a whole view of as much information we     16      record. The time is approximately
     17     could utilize practically within our program to    17      4:36 p m.
     18     make educated decisions and to really keep our     18   BY MR. EGLER:
     19     finger on the pulse of our customers.              19      Q. Mr. Napoli, you understand you are
     20         Q. So that the profiling of the                20   still under oath?
     21     customers wouldn't be happening on an ongoing      21      A. Yes, sir.
     22     basis by Mr. Simmons, but the information that     22      Q. Counsel, I've handed you what I have
     23     he's looking at, referring to here in this         23   marked as Exhibit 22.
     24     Exhibit 21, would not inform the automated         24          (Napoli Exhibit 22, Email chain



                                                                          75 (Pages 297 to 300)
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                                                          Page 301                                                      Page 302
      1       beginning with email dated 6/27/14 from                 1        Q. She's listed as -- I guess it's
      2       Napoli to Simmons, Bates-stamped                        2    Dr. Chan-Liston. She's listed as associate
      3       ALLERGAN_MDL_02146710 through 714, marked               3    director of global risk management for Actavis,
      4       for identification, as of this date.)                   4    and as you think of it, global risk management,
      5    BY MR. EGLER:                                              5    were they in part or in whole tasked with
      6       Q.    While you look at it, as you're                   6    complying with FDA regulations?
      7    looking at it I'll read into the record it's               7        A. I don't know. I mean, global risk
      8    ALLERGAN_MDL_02146710 through 714.                         8    management can imply a lot of things.
      9            Can you look at this and tell me,                  9        Q. So she says in her email to you and
     10    when you're ready, whether you remember this              10    Ms. Woods, "Dear Mary and Tom. Hello. I'm
     11    particular set of emails.                                 11    reaching out to you in regards to some needed
     12            I'll just note that, from my reading              12    data regarding our product,
     13    of it, the first email that you're on appears on          13    Buprenorphine-Naloxone SL tablets. Since this
     14    the second page of the document.                          14    product has an FDA-mandated risk mitigation and
     15       A.    Okay.                                            15    evaluation strategy program, REMs, we as the
     16            (Document review.)                                16    manufacturer are required to submit certain data
     17       A.    Okay.                                            17    in order to assess the program. You and your
     18       Q.    All right. So this email -- well,                18    teams were identified as the resources to
     19    when you turn to the second page of the document          19    provide the following."
     20    at the bottom, it's page 6711, there is an email          20              And then she says, "First, the number
     21    from May Chan-Liston.                                     21    of suspicious orders detected and what the
     22       A.    Yes.                                             22    outcome was" -- "and what was the outcome from
     23       Q.    Do you know Ms. Chan-Liston?                     23    any investigation that occurred on those
     24       A.    Vague memory.                                    24    suspicious orders, order management, Mary Woods,


                                                          Page 303                                                      Page 304
      1     and then second, any loss or theft of product,            1   we would be able to review that for -- to
      2     controlled substance compliance, Tom Napoli."             2   determine if there was an order that was deemed
      3             And the rest of the emails going                  3   suspicious for that product.
      4     forward in time are with you and her and the              4      Q. Would there be any statistics like
      5     discussion of the data she is seeking from you.           5   that kept by your or Mary Woods' office for any
      6             Do you see that there?                            6   reasons?
      7         A. Um-hmm. Yes.                                       7      A. I would likely -- would have likely
      8         Q. And you ultimately find out from                   8   maintained a file of suspicious order.
      9     Mr. Simmons that you had no theft/lost reports            9      Q. But beyond having the file itself,
     10     for this product for this time period or during          10   would you have maintained on a regular annual
     11     any other period.                                        11   basis a compilation of the number of suspicious
     12             Do you see that?                                 12   orders that pended or were investigated and the
     13         A. Yes.                                              13   results?
     14         Q. So thinking about the two things that             14      A. Orders of interest that pended --
     15     Dr. Chan-Liston is asking for, the numbers of            15      Q. Yes.
     16     suspicious orders detected and what was the              16      A. -- and that were investigated? I
     17     outcome from any investigation that occurred on          17   don't have a recollection if that file existed.
     18     those suspicious orders, as you sit here today           18      Q. So let's -- okay. We'll mark
     19     with your understanding of the Suspicious Order          19   Exhibit 23.
     20     Monitoring System at Watson and then Actavis, is         20          (Napoli Exhibit 23, Document entitled
     21     that a report that your group or Mary Woods'             21      "Customer Analysis and SOMS Overview
     22     group could generate?                                    22      Import/Export," Bates-stamped
     23         A. We would certainly -- we maintain the             23      ALLERGAN_MDL_021477093 through 7110, marked
     24     file of orders that were deemed suspicious, so           24      for identification, as of this date.)



                                                                                  76 (Pages 301 to 304)
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                                                         Page 305                                           Page 306
      1   BY MR. EGLER:                                              1   report before?
      2      Q. Mr. Napoli, can you look at what's                   2       A. I'm sure that I have. I don't have
      3   been marked as Exhibit 23.                                 3   an distinct recollection at the time, but I'm
      4      A. Sure.                                                4   sure that I've seen this.
      5      Q. And for the record, I'll note, again                 5       Q. I'll just tell you by the conventions
      6   the first page has no Bates numbers on it.                 6   of the metadata that appear on the first page,
      7          The second page is                                  7   you are listed as the custodian for this
      8   ALLERGAN_MDL_02147093 through 7110. When you're            8   document.
      9   ready, could you tell me what this appears to              9           It wouldn't surprise you if you had
     10   you to be.                                                10   seen this before, right?
     11          (Document review.)                                 11       A. No, it would not.
     12      A. This appears to be an outstanding                   12       Q. So going into this report, on the
     13   overview that the order Will Simmons put                  13   first page, it says, "Customer analysis and SOMS
     14   together, breaking down our controlled substance          14   overview."
     15   ordering, customer activity, 2014 versus 2015,            15           Do you see that there?
     16   which, again, just gives us more data for                 16       A. Um-hmm.
     17   analysis and keeps us more in touch with our              17       Q. And it states "import, export."
     18   customers. You'll see, you know, details of who           18           Do you know what that means in the
     19   our top customers were and how many active SKUs           19   context of this document?
     20   that we have. Looks like we actually had less             20       A. Sure. Sure. Will also had
     21   customers in 2015 than 2014, and you'll see also          21   responsibilities for the import and export of
     22   distribution of order distribution, so -- by              22   controlled substances -- the import and export
     23   custom -- by customers.                                   23   activities, so he would have been providing
     24      Q. Do you remember ever seeing this                    24   report out on that as well.


                                                         Page 307                                           Page 308
      1         Q. Can you turn to page 7095, which is               1        Q. I appreciate everybody has to take
      2     this page (indicating)?                                  2   their time.
      3         A. Yes.                                              3            And then the next one there,
      4         Q. And can you, as you look at that                  4   oxycodone/APAP.
      5     chart, can you tell me what this appears to be?          5            In the context of that term, APAP,
      6     What is it trying to convey?                             6   what does that mean?
      7         A. It's conveying the quantity of solid              7            VIDEOGRAPHER: Don't touch the
      8     dosage units by product family that were shipped         8        microphone, please.
      9     year over year.                                          9            THE WITNESS: I have a habit of
     10         Q. And the first one that's listed there            10        grabbing my zipper.
     11     is hydrocodone/APAP?                                    11        A. APAP is aspirin. I believe there's
     12         A. Yes.                                             12   APAP and there's -- yeah, APAP is aspirin. So
     13         Q. Is that right? And that is an                    13   it's a combination product.
     14     opioid; is that right?                                  14        Q. So this is oxycodone and aspirin, and
     15         A. Correct.                                         15   again in 2015 400,495 solid dose units shipped,
     16         Q. And it lists, "2015 shipments year to            16   which is down from 555,916 in 2014.
     17     date as 1,155,204," and that's solid dose units,        17            The next one is oxycodone/HCL.
     18     as you said?                                            18        A. Um-hmm.
     19         A. Yes.                                             19        Q. What does HCL mean?
     20         Q. And that's down from the prior year,             20        A. Hydrochloride. It's a single entity
     21     which was 1,522,346; is that right?                     21   oxycodone.
     22         A. Actually 2015 is slightly up over                22        Q. Okay. So is that generic OxyContin?
     23     2014. No, you're right. I'm sorry. It's late            23        A. No, that may be --
     24     in the day, but yes, it is down.                        24        Q. Is it generic Opana ER?


                                                                             77 (Pages 305 to 308)
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                                                   Page 309                                            Page 310
      1       A. I would say that that is likely --             1            The first thing there is the CFR that
      2    let me try to look down the list here, so I can      2   we've read before; is that right?
      3    make more educated -- would be the oxycodone 10-     3       A. Um-hmm. Yes.
      4    and 30-milligram immediate release product.          4       Q. And the second thing is a quote from
      5       Q. So as opposed to a slow release or --          5   Southwood Pharmaceuticals, Inc.
      6       A. Yes.                                           6       A. Um-hmm.
      7       Q. -- longer acting pill?                         7       Q. And that is from the Federal Record,
      8       A. Correct.                                       8   is that right.
      9       Q. So those shipments are up, 2015                9            Do you remember anything about the
     10    shipments being 308,097 solid dose units as         10   Southwest Pharmaceuticals case?
     11    opposed to just under 200,000 in 2014; is that      11       A. I do. I'm not up on all the details.
     12    right?                                              12   I know it was a -- I don't want to call it a
     13       A. Correct.                                      13   landmark case, but I know it was a significant
     14       Q. So do you know why this information           14   case. I think that's probably where it was
     15    would have been collected?                          15   determined that relying on rigid formulas maybe
     16       A. This is just giving us an annual year         16   appears -- may be setting a precedent, but
     17    over year so we have an understanding of            17   that's...
     18    customer ordering behavior. Just, again,            18       Q. And then on the next page it states,
     19    another tool that we can use at our disposal,       19   "SOM system" and states, "SAP system suspends
     20    more less of a annual report.                       20   orders based on" -- it has a number of things
     21       Q. Then there's various other data on            21   there -- "class of trade, average" -- is it
     22    the following pages. And as you go further into     22   "quantity/order"?
     23    the document at 7099 it states at the top,          23       A. Um-hmm.
     24    Suspicious Order Monitoring.                        24       Q. And then "class of trade, average


                                                   Page 311                                            Page 312
      1     quantity ordered per month"?                        1       Q. So then by 2015, is it fair to say
      2         A. Um-hmm. Yes.                                 2   that Actavis, at this point, had not changed
      3          Q. And "customer allowable quantity per        3   from the prior Watson automated system; is that
      4     order and customer allowable quantity order per     4   right?
      5     month"; is that right?                              5       A. That's correct. I think what you can
      6         A. Correct.                                     6   see here is the trajectory of enhanced Know Your
      7          Q. And then it has other information,          7   Customer, as well as the -- seizing more
      8     "System flagged, orders released based on           8   opportunities to use more data that is available
      9     customer allowable quantity per month and           9   to us internally to give us a more holistic view
     10     current month's order plus pending order" -- and   10   of our customers' ordering patterns.
     11     then it says, "If less than allowable quantity     11       Q. All right. Going down into page 107
     12     per month, release order. If more than             12   it states, "Additional Analysis."
     13     allowable quantity per month, contact customer."   13           (Document review.)
     14             Do you see that?                           14       A. Yes.
     15         A. Yes.                                        15       Q. And it says, "Chargeback" -- and it
     16         Q. So the first part up there, "The SAP        16   has a paragraph about chargebacks. That says,
     17     system suspends orders based on," is that the      17   "Monthly chargeback analysis performed for oxy
     18     Buzzeo process?                                    18   and hydro products." It says, "Customers
     19         A. No, that is a -- just a reiteration         19   purchasing large amounts from multiple
     20     of the system we've been talking about.            20   distributors, more than two distributors, and
     21         Q. Okay.                                       21   then in (primary, secondary, tertiary) and then
     22         A. This presentation is an overview --         22   analyze month-over-month trends to detect
     23     it's an overview of our -- it looks like a         23   pattern and then assist in violation" -- I'm
     24     walk-through of our system, of our process.        24   sorry -- "Assist in validation of SOMS orders."


                                                                        78 (Pages 309 to 312)
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                                                       Page 313                                          Page 314
      1           So is this the chargeback analysis               1      date.)
      2    that we were talking about with Mr. Simmons in          2   BY MR. EGLER:
      3    his annual review previously?                           3      Q. Mr. Napoli, can you look generally at
      4       A. Yes.                                              4   what's been marked as Exhibit 24. And as you're
      5       Q. All right. And, again, as we talked               5   doing so, I'll note for the record that it's
      6    about before, this would inform the decision            6   officially two pages long, acquired Actavis
      7    about whether to clear or escalate an order that        7   0247, 6517 through 6518. But the second page,
      8    had pended typically; is that right?                    8   although it's one Bates number, is the
      9       A. It could be used, yes, as a resource.             9   PowerPoint presentation that's printed out
     10       Q. What else could it be used for?                  10   behind there.
     11           MR. KNAPP: Form.                                11          Do you see that?
     12       A. It could be used as a resource for               12      A. Sure.
     13    conducting an investigation on a pending order,        13      Q. All right. And again in the way
     14    but it can also be used as a statistical               14   these things are produced, the PowerPoint
     15    analysis tool to -- to look for trends or              15   presentation was produced as one Bates number.
     16    evaluate if these types of activities, for a           16           So as you look at this PowerPoint
     17    forensic review-type of tool.                          17   presentation and the emails that are there, the
     18       Q. You can set this document aside.                 18   email that's first in time comes from a person
     19    I'll hand you what I'll mark as Exhibit 24.            19   named Ann, A-n-n, C., is it, Cipkins?
     20           (Napoli Exhibit 24, Email chain                 20      A. Yes.
     21       beginning with email dated 7/31/14 from             21      Q. C-i-p-k-i-n-s.
     22       Napoli to Simmons, Bates-stamped                    22          Do you know Ms. Cipkins?
     23       ACQUIRED_ACTAVIS_02476517 through 6518,             23      A. I do.
     24       marked for identification, as of this               24      Q. Who is Ms. Cipkins?


                                                       Page 315                                          Page 316
      1         A. I don't know if she still is, but she           1   S, ampersand, OP means?
      2     was the director of demand management for              2      A. Yes. It's an S&OP meeting. An S&OP
      3     Actavis.                                               3   meeting is a common meeting that occurs in many
      4         Q. As you think of it, what does demand            4   organizations, whether pharmaceutical or
      5     management mean?                                       5   otherwise, and it's basically a sales and
      6         A. Demand management is a group within             6   operations meeting and it's an opportunity to --
      7     our supply chain group and they would be a             7   for the folks on the sales and the commercial
      8     liaison between understanding what the needs are       8   side to interface with the operation side to
      9     of the customer, as well as interfacing with the       9   enhance communication. Again, to ensure that
     10     sites that manufacture those projects and to          10   we -- that the organizations are on the same
     11     help them to -- you know, to coordinate the           11   page, understanding, you know, things, if there
     12     scheduling. So, essentially, she would be             12   have been bids awarded, if there are any issues
     13     communicating or putting together data relative       13   where somebody is falling out of the market,
     14     demand, communicating that with the site so the       14   identifying any opportunities, so that everyone
     15     site can schedule their manufacturing around          15   has an understanding and is on the same page and
     16     that to be able to meet that demand.                  16   can communicate that back, whether they need to
     17             So in order they may need to                  17   work that into their plans to support the
     18     prioritize certain products to manufacture            18   manufacturing sites, et cetera.
     19     during a certain time frame because -- to meet        19      Q. All right. So this presentation
     20     the demand.                                           20   doesn't have page numbers. I'm going to hold up
     21         Q. All right. And she writes to a big             21   a page to you and it states, "TU Summary (as of
     22     group of people including yourself, "Attached is      22   7/1)."
     23     the generic S&OP deck.                                23          Would you turn to that page.
     24             Do you have an understanding of what          24      A. Yeah.


                                                                           79 (Pages 313 to 316)
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                                                     Page 317                                          Page 318
      1        Q. And do you have an understanding of            1       Q. It states, "Business opportunities,
      2    what this TU summary as of 7/1 is trying to           2   McKesson has confirmed the Rite-Aid award for
      3    convey?                                               3   oxy 15 milligrams and 30 milligrams beginning in
      4        A. TU, I believe, is Temporarily                  4   September."
      5    Unavailable, and it's showing that because of --      5           From the context of this document,
      6    you see here a reason code, API issue, maybe          6   can you tell what that statement means?
      7    there isn't enough API, maybe the API failed a        7       A. Sure. That means that our customer
      8    test that -- or again insufficient amount of API      8   McKesson has confirmed with us that they've won
      9    that we were not able to meet demands. So there       9   an award from Rite-Aid for the business for this
     10    has been a cumulative loss in sales associated       10   particular -- for these particular SKUs and
     11    with that.                                           11   they're reporting what the estimated annual
     12            So this is really a callout to the           12   units will be for those products.
     13    business as far as products where we have issues     13       Q. So -- go ahead.
     14    that are temporarily unavailable. And of course      14       A. I was going to say, that's why you'll
     15    management would want to always be kept abreast      15   see that Ann forwarded this onto my team because
     16    of products that are temporarily unavailable and     16   it's a good source of intelligence for us. So
     17    when we're going to get back to market with          17   now we can see we're getting advance
     18    these products.                                      18   information, that, okay, we can anticipate that
     19        Q. All right. And then there is another          19   we're going to see an increase in SOMS and
     20    slide, and it's -- I think it's six pages from       20   volume on orders on these, and we can dig deeper
     21    the end, or four pages from the end, it states       21   on this so we can be ready for when this occurs.
     22    "Business Opportunities." It looks like this         22       Q. And going back to the first page,
     23    (indicating).                                        23   that's what you write to Mr. Simmons; is that
     24            (Document review.)                           24   right?


                                                     Page 319                                          Page 320
      1       A. Yup.                                            1       A. I have seen this document.
      2       Q. All right.                                      2       Q. Did you write this document?
      3       A. So it's just another source of                  3       A. Yes, sir.
      4    intelligence to help us be more effective in          4       Q. Why did you write this document?
      5    compliance.                                           5       A. I wrote this document as a means to
      6       Q. All right. You can set this document            6   get the Cegedim or Cegedim-Dendrite solution
      7    aside. I'll hand you what we'll mark as               7   implemented.
      8    Exhibit 25.                                           8       Q. At the bottom left-hand corner of the
      9           (Napoli Exhibit 25, Actavis document           9   first Bates-stamped page, 253, it has the date
     10       entitled "Project Continuation                    10   February 19th, 2015.
     11       Justification: SOM Statistical Model              11       A. Yes.
     12       Development and Hosting 'in the Cloud'",          12       Q. Do you remember writing this document
     13       Bates-stamped ALLERGAN_MDL_ 03535253              13   around that time?
     14       through 257, marked for identification, as        14       A. It's very likely.
     15       of this date.)                                    15       Q. Then on the second Bates-stamped
     16    BY MR. EGLER:                                        16   page, 254, the section that starts with:
     17       Q. Mr. Napoli, can you look at                    17   "Background."
     18    Exhibit 25, and like the other ones today the        18           Do you see that?
     19    first one has no Bates numbers and then the          19       A. Yes.
     20    second page is ALLERGAN_MDL_03535253 through         20       Q. The second full text paragraph, I'm
     21    257.                                                 21   just going to start reading it into the record.
     22           And when you're ready, can you tell           22   It says, "Based on this compliance need, Cegedim
     23    me if you've ever seen this document before.         23   did in fact develop and deliver a SOM
     24           (Document review.)                            24   statistical model to be incorporated into our


                                                                         80 (Pages 317 to 320)
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                                               Page 321                                                   Page 322
      1     order management system within SAP. Due to          1   required to release a pended order that is under
      2     successive acquisition activities since product     2   review, affecting customer service/fill rate
      3     initiation the implementation has been placed on    3   levels."
      4     hold at several junctures based on business         4          Do you see that there?
      5     integration needs. During the past several          5      A. I do.
      6     years, DEA has become more aggressive in its        6      Q. Did you write that?
      7     approach related to SOM/Know Your Customer          7      A. Yes, I did.
      8     taking against" -- "taking action against a         8      Q. At the time that you wrote it, did
      9     growing number of companies for having              9   you believe what you wrote there?
     10     non-compliant SOM programs. In an effort to        10          MR. LUXTON: Objection to form.
     11     ensure compliance with the regulations, both the   11      A. Yup, I do believe that those facts
     12     C/S compliance, order management teams, have       12   are accurate. We did have -- we did have a
     13     collaborated making efforts to enhance             13   compliance system, but we wanted to enhance our
     14     compliance from customer vetting, order            14   compliance to ensure that we were always
     15     review/evaluation through                          15   continually evolving it on the high ground.
     16     investigation/disposition.                         16      Q. So above there you write, under
     17             "This manual effort is very labor          17   background, "The SOM" -- "The SOM automation
     18     intensive, as the current system was not           18   project initially commenced in 2011 with the
     19     configured with any analytical tools to support    19   primary goal of replacing our, quote, threshold,
     20     timely and accurate decision making. This          20   unquote, based system with the CFR compliant
     21     approach also introduces the element of human      21   model developed by Cegedim. This project was
     22     interaction into the order evaluation process.     22   initiated in an effort to ensure compliance with
     23             "Additionally, the current process         23   the Code of Federal Regulations, SOM
     24     can have an impact on the amount of time           24   requirements, controlled substances, 21 CFR


                                               Page 323                                                   Page 324
      1     1301.74 b, as well as December 2007, DEA            1   put on hold and I don't believe that Teva chose
      2     memory."                                            2   to utilize it.
      3             Do you see that?                            3      Q. All right. So with regard to the --
      4        A. I did.                                        4   this is -- so with regard to your
      5        Q. When you wrote that in February 2015,         5   understanding -- well, with regard to your
      6     did you believe that to be true?                    6   understanding, Actavis never implemented the
      7        A. I did believe that Buzzeo had a               7   cloud-based system that's discussed in this
      8     system that they were proposing that was            8   memo; is that right?
      9     compliant with the CFR                              9      A. That's correct. When Teva acquired
     10             We also had one as well, but we            10   Actavis around this time frame they already had
     11     wanted to move up to a more enhanced               11   their own program in place for Suspicious Order
     12     sophisticated system.                              12   Monitoring.
     13        Q. So other parts of the -- this memo           13      Q. So this goes to the number of
     14     talk about a suspicious order monitor --           14   corporate transactions that took place --
     15     suspicious order monitor statistical model that    15      A. Right, right.
     16     will be hosted, quote, in the cloud and based on   16      Q. You're describing the company as
     17     Actavis's order data.                              17   being bought by Teva. Part of what was Actavis,
     18        A. Yes.                                         18   was purchased and closed on by Allergan.
     19        Q. Do you remember whether this                 19           Do you have an understanding of that
     20     cloud-based SOM statistical model was ever         20   as well or some type of transaction occurred
     21     adopted at Actavis?                                21   between Allergan and Actavis; is that right?
     22        A. This system was created. We used it          22      A. Right.
     23     in a test environment. We're happy with it. We     23      Q. Either Actavis bought Allergan or
     24     were subsequently acquired by Teva and it was      24   Allergan bought Actavis?


                                                                         81 (Pages 321 to 324)
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                                               Page 325                                               Page 326
      1       A. Actavis bought Allergan.                       1        Q. All right. So looking at what I
      2       Q. All right. And as far as you're                2   marked as Exhibit 26, can you page through it.
      3    concerned -- well, during that process, when did     3   I'll read into the record. It's
      4    you leave?                                           4   ALLERGAN_MDL_03431731 through 1739.
      5       A. I left around maybe October of 2016.           5           If you look through this generally,
      6    Sometime in the early fall of 2016.                  6   but I'm just going to ask you a few questions
      7       Q. So I'm going to hand you what we will          7   about this.
      8    mark as Exhibit 26.                                  8           (Document review.)
      9       A. Okay.                                          9        Q. Now I'll note for the record that the
     10            (Napoli Exhibit 26, Email chain             10   last email that you're on the page appears on
     11       beginning with email dated 1/11/16 from          11   the third page of this document, as I read it.
     12       Baran to Russo with attachment,                  12        A. Um-hmm.
     13       Bates-stamped ALLERGAN_MDL_ 03431731             13           (Document review.)
     14       through 1739, marked for identification, as      14        A. Okay.
     15       of this date.)                                   15        Q. All right. Based on the emails that
     16    BY MR. EGLER:                                       16   are here, do you remember around August 2015
     17       Q. Before we get to Exhibit 26, why did          17   Actavis deciding to sell to Bell Medical again?
     18    you leave?                                          18           MR. KNAPP: Objection to form.
     19       A. I was laid off.                               19        A. I do recall this series of emails and
     20       Q. All right.                                    20   this situation.
     21       A. Because Teva already had a DEA                21        Q. All right. Did you have any input in
     22    compliance staff and program. I helped them         22   the decision whether to start selling controlled
     23    orient them with -- with our side of the            23   substances to Bell Medical around this time?
     24    business and was part of a reduction in force.      24        A. My input would have been from a DEA


                                               Page 327                                               Page 328
      1     compliance standpoint the -- you can see in this    1       A. I don't have a distinction
      2     email string that there was -- both of our          2   recollection of it.
      3     auditor investigators did a lot of due diligence    3        Q. All right. So now we have a couple
      4     on this and also met personally, I believe, with    4   of exhibits that are out of order time-wise.
      5     the individual from Bell Medical, in Marlboro,      5       A. Okay.
      6     New Jersey.                                         6       Q. The first one we'll mark as
      7             And the reason why this stands out to       7   Exhibit 27.
      8     me is that, you know, Actavis, we had a model       8             (Napoli Exhibit 27, Email dated
      9     where we did not distribute direct to dispensing    9        11/13/13 from Kemnitzer to distribution
     10     physicians. And in this case it was a case         10        list, Bates-stamped PPLPC020000735777
     11     where we wanted to make sure that we did the       11        through 782, marked for identification, as
     12     right amount of due diligence and understand and   12        of this date.)
     13     monitor what the product -- it would only be one   13             MR. LUXTON: Thanks.
     14     product, what the quantities would be, and they    14   BY MR. EGLER:
     15     were for these clinics -- Buprenorphine -- they    15       Q. Mr. Napoli, can you look at
     16     were for clinics to assist, I believe, addicts     16   Exhibit 27. I'll note for the record, again,
     17     with -- Buprenorphine was used for more -- for     17   it's not an Actavis or Allergan document. It's
     18     heroin, I think.                                   18   noted as PPLPC020000735777 through 782. The
     19         Q. Did you ever do a site visit to the         19   last page is marked as nonresponsive.
     20     Bell Medical facility?                             20             Can you look at this document and
     21         A. I didn't, but I believe Will Simmons        21   tell me if you ever remember receiving an email
     22     may have.                                          22   like this in November 2013.
     23         Q. Did you ever talk with him about the        23             (Document review.)
     24     site visit that he did?                            24       A. I don't have an exact recollection of



                                                                        82 (Pages 325 to 328)
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                                                      Page 329                                                      Page 330
      1     this. This looks like an agenda for a New             1            And then under SOM programs it says,
      2     Jersey Pharmaceutical Industry Group meeting.         2   "Is anyone auditing customers? If so, how?
      3         Q. All right. So if you turn to the               3   (Site visits, questionnaires, et cetera)."
      4     third page of this document, which is 5779 --         4            And then the second one is:
      5         A. Yes.                                           5   "Computerized statistical models."
      6         Q. -- there is an email from Michael              6            Do you see that there?
      7     Meggiolaro. It's M-e-g-g-i-o-l-a-r-o.                 7      A. Yes.
      8         A. Good job.                                      8      Q. Do you remember attending a New
      9         Q. It's dated Thursday, November 7,               9   Jersey PIG meeting where SOM programs were
     10     2013, at 5:09 p m.                                   10   discussed around November 2013?
     11            Do you see that there?                        11      A. I don't.
     12         A. I do.                                         12      Q. All right. You can set that one
     13         Q. And he writes, apparently to a person         13   aside.
     14     named Lisa Butler. "Lisa, you are so good. I         14            (Witness complies.)
     15     promised the update for all the topics yesterday     15      Q. I'm going to do this one as two
     16     but didn't get to them. Here is what I had           16   separate exhibits. I'll hand you what we'll
     17     received. You already added Susan Carr's, so I       17   mark as Exhibit 28 and 29.
     18     don't have to add hers to the list."                 18            (Napoli Exhibit 28, Email chain
     19            And just to note, your name appears           19      beginning with email dated 1/14/16 from
     20     on that email; is that right?                        20      Lepore to Simmons, Bates-stamped
     21         A. Yes.                                          21      ALLERGAN_MDL_01551062 through 1064, marked
     22         Q. And it says, "Please update the               22      for identification, as of this date.)
     23     agenda accordingly at 2014 quota letters" -- and     23            (Napoli Exhibit 29, Natively-produced
     24     then number two is, "SOM programs."                  24      Spreadsheet, Bates-stamped


                                                      Page 331                                                      Page 332
      1       ALLERGAN_MDL_01551064.xlsx, marked for              1    suspension of various DEA licenses at McKesson
      2       identification, as of this date.)                   2    locations?
      3    BY MR. EGLER:                                          3        A. I do recall that McKesson did have
      4       Q. Mr. Napoli, can you look at what I've            4    some compliance issues and some subsequent
      5    marked as Exhibits 28 and 29.                          5    registration suspensions.
      6            I'll tell you, for the record,                 6        Q. And then in an email below, Victoria
      7    although they are marked as two exhibits, they         7    Lepore writes to you and other people, "Hi, Will
      8    are one email and one family as produced by the        8    and Tom, just want to keep you in the loop that
      9    defendants in the case.                                9    I found out the McKesson's DEA registration
     10       A. Okay.                                           10    (Aurora, Colorado; Livonia, Michigan; Washington
     11       Q. For the record, Exhibit 28 is                   11    Court House, Ohio; and Lakeland, Florida) is
     12    Bates-stamped ALLERGAN_MDL_01551062 through           12    suspended for specified products and time
     13    1064.                                                 13    periods." And then she attaches a link and
     14            And then 29 is a larger version of            14    other text.
     15    page 1064, which is produced as an Excel file.        15              On the top email is what she refers
     16            Can you look through it, and the              16    to as the HANA report for McKesson locations
     17    question I have is: Do you remember receiving         17    that we shipped to from January 2015 to
     18    this email?                                           18    January 2016.
     19       A. I do not.                                       19              Do you see that?
     20       Q. So this email that starts on the                20        A. Yup. Yes.
     21    first page of Exhibit 28 states: "Re McKesson         21        Q. Do you remember from your time
     22    DEA suspensions."                                     22    working at Actavis and Watson the term HANA
     23            Do you remember around January 14,            23    report?
     24    2016, when this email took place there was a          24        A. HANA is a feature, a reporting



                                                                               83 (Pages 329 to 332)
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                                              Page 333                                                       Page 334
      1    feature of SAP.                                      1   these things.
      2        Q. All right. And so do you remember             2           So we knew, because, you know, these
      3    Ms. Lepore doing reports like this when you or       3   investigations, as you know, can go on for
      4    someone else asked for them at Watson and            4   years, and -- but the ultimate result was they
      5    Actavis?                                             5   had a feeling that these facilities would have
      6        A. I don't specifically have a lot of            6   licenses that would be suspended. So this is
      7    experience with it, but then HANA was something      7   something that we would have had knowledge of
      8    that you can see by the time frame on there too,     8   and planned around.
      9    it was a recent addition to the SAP. So it           9       Q. Do you remember around this time,
     10    wasn't a report we would have had access to for     10   January 2016, whether your group at Actavis
     11    a long period of time. I would think that this      11   performed any analysis to determine whether any
     12    report is generated so we could rationalize what    12   sales to these suspended McKesson locations were
     13    quantities would be looking like for orders that    13   diverted?
     14    would be, maybe, going to alternate distribution    14       A. It would be a challenge for us to do
     15    centers for McKesson.                               15   that from our level, to look at pharmacies to
     16           This was not something that was a            16   determine what was diverted. That would be
     17    surprise. McKesson had had some ongoing issues.     17   something that would be inherent to a DEA
     18    They had since hired Gary Boggs as their chief      18   investigation. We don't even know what the time
     19    of compliance, who was Joe Rannazzisi's deputy,     19   period is that they were looking at. So it
     20    to come into the organization.                      20   really would not be something that would be
     21           I flew out to San Francisco and I met        21   realistic for us to perform.
     22    with McKesson. There were many attorneys and        22       Q. Did you or anyone else that you know
     23    compliance people to discuss their compliance       23   of at Actavis ask for that type of data from
     24    program and to get an understanding of some of      24   McKesson around this time frame?


                                              Page 335                                                       Page 336
      1        A. What we did is we asked for a                 1      the record.
      2     partnership meeting. That's why I traveled out      2          (Recess is taken.)
      3     to San Francisco, because I wanted to -- I was      3          THE VIDEOGRAPHER: We are back on the
      4     concerned and I wanted to get an overview and an    4      record. The time is approximately
      5     understanding of their program and improvements     5      5:34 p m.
      6     that they had made, and especially with bringing    6   BY MR. EGLER:
      7     on their new head of compliance, to understand      7      Q. Mr. Napoli, you understand you are
      8     that we had a level of confidence in their          8   still under oath.
      9     program going forward.                              9      A. Yes, sir.
     10        Q. And as part of that partnership              10      Q. So do you identify yourself as ever
     11     meeting or other parts of the relationship, do     11   having worked for an entity called Allergan?
     12     you remember asking or do you remember anyone      12      A. Yes.
     13     from Actavis asking for data about whether         13      Q. For about how long did you work at
     14     materials sold to these McKesson locations was     14   Allergan?
     15     subsequently diverted?                             15      A. I'm trying to think. Actavis
     16        A. I don't recall and I don't know how          16   acquired Allergan. I'm trying to think of when
     17     that would be accessible to us.                    17   at the time Actavis acquired Allergan and then
     18        Q. All right. But you don't recall              18   Allergan...
     19     asking for it one way or the other?                19      Q. Well, let me put it this way, was it
     20        A. No, I don't.                                 20   less than a year?
     21        Q. All right.                                   21      A. Probably more than a year.
     22            MR. EGLER: Let's take a quick break.        22      Q. So at the time that you worked for
     23            THE VIDEOGRAPHER: The time is               23   Allergan, did -- as you think of it, in your
     24        approximately 5:25 p m. We are going off        24   estimation, did Allergan still own the generics



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                                              Page 337                                                      Page 338
      1     that they subsequently sold to Teva?                1      A. I would have been part of the Teva
      2             MR. KNAPP: Objection to form.               2   acquisition, so I would no longer have been with
      3         Foundation.                                     3   Allergan.
      4             MR. LUXTON: Same.                           4      Q. So with regard to any Suspicious
      5         A. I don't know how they -- you know,           5   Order Monitoring System that Allergan had in
      6     Allergan and Actavis were the -- are the same       6   place after the sale to Teva, you wouldn't have
      7     company, but I don't know how the structure, the    7   had anything to do with that; is that correct?
      8     parent structure.                                   8      A. Correct.
      9         Q. I understand this and I'm trying to          9          MR. EGLER: I have no further
     10     ask in a very general way. So maybe you'll let     10      questions.
     11     me ask it a different way.                         11          THE VIDEOGRAPHER: Anyone else has
     12             So you have an understanding that          12      questions.
     13     after either Allergan or Actavis sold the          13          MR. KNAPP: I have a few questions.
     14     generics to Teva, that there were still some       14      Do I need to get a microphone?
     15     controlled substances manufactured or owned by     15          THE VIDEOGRAPHER: Yes, you can have
     16     the Allergan entity?                               16      that microphone.
     17         A. Yes.                                        17   EXAMINATION BY
     18         Q. And do you remember whether -- when         18   MR. KNAPP:
     19     that occurred, you were still working there?       19      Q. Good afternoon, Mr. Napoli, my name
     20         A. When what occurred?                         20   is Tim Knapp. I'm with the firm of Kirkland &
     21         Q. When the -- after the generics all          21   Ellis and I represent Allergan in this matter.
     22     left, but there was still some controlled          22          In response to some questions that
     23     substances owned by Allergan.                      23   Mr. Egler asked you, you testified about
     24             MR. KNAPP: Form.                           24   reporting an order from TopRX to the DEA.


                                              Page 339                                                      Page 340
      1            Do you recall that?                          1   from us and we determined that they were high
      2        A. Yes, I do.                                    2   risk due to distributions that they were making
      3        Q. I know it's been, you know, five              3   in the State of Florida and other states. Some
      4    years or so since you've left Actavis, Watson,       4   of their customers were questionable, so we
      5    but do you recall sitting here today, recall         5   denied them and also reported them to the DEA
      6    reporting any other orders or customers to the       6   because we felt it was -- they were that much of
      7    DEA during the time that you worked on               7   a risk.
      8    Suspicious Order Monitoring at Actavis or            8       Q. Now when you say "we reported to the
      9    Watson?                                              9   DEA," who specifically are you referring to?
     10        A. I do.                                        10       A. I specifically reported that to the
     11        Q. And what are those entities that you         11   DEA to -- the company was based out of Long
     12    recall?                                             12   Island, so I reported to Richard Springer, who
     13        A. I know Capital Wholesale was one of          13   is the diversion chief in the Long Island
     14    them. And I'm -- there were several others, but     14   office.
     15    I'm hard-pressed to recall them, but there were     15       Q. And with respect to TopRX, did you
     16    additional organizations other than TopRX and       16   personally report them to the DEA?
     17    Capital that we did report.                         17       A. Yes.
     18            We also did some preemptive reporting       18       Q. And do you recall who you reported
     19    to the DEA as well, too. After the acquisition      19   TopRX to?
     20    of Actavis, we had a customer that wanted to        20       A. Yes. That would have been Tim Lenzi
     21    come on board with us. Quality King. It was a       21   in the Chicago DEA field office.
     22    company out of New York, and we did a review of     22       Q. And then what about Capital
     23    them. We asked for their customer information,      23   Wholesale, did you personally report them to the
     24    what products they were interested in purchasing    24   DEA?


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                                              Page 341                                                     Page 342
      1         A. Yes. It would have been the same.            1   promethazine with codeine, which was a cough
      2         Q. And when you say it's the same, who          2   preparation that contained codeine, that was --
      3     did you report to?                                  3   actually became popularized within the Houston
      4         A. To Tim Lenzi, DEA field office,              4   area Rap culture. It was a high abuse product;
      5     Chicago.                                            5   it was referred to as the purple drink, and
      6         Q. Now Mr. Napoli, you also spoke quite         6   Actavis was referenced in the social media in
      7     a bit with Mr. Egler about issues associated        7   different capacities in a very negative light
      8     with diversion of controlled substances.            8   because of this product, and our company decided
      9             We talked a lot about Suspicious            9   that that product was not worth the risk
     10     Order Monitoring System today.                     10   associated with it. So we discontinued the
     11             I just want to ask you, generally,         11   entire product.
     12     were there any other efforts that you undertook    12          So I thought that was a proactive
     13     or that the company undertook while you were at    13   step and actually the DEA actually recognized
     14     Watson, Actavis, Allergan to increase awareness    14   that as well as a positive effort to combat
     15     associated with potential diversion of             15   diversion.
     16     controlled substances?                             16          I also initiated a program called, It
     17         A. Yes. First, I'd like to say that I'm        17   Starts With Me, which was a program that engaged
     18     actually -- I'm proud of my tenure in the          18   our employee population throughout our entire
     19     position that I served in. I felt that I made a    19   U.S. region regarding the abuse of the opioids
     20     difference and it was always our goal to ensure    20   that have been going on with the United States,
     21     that we were complying and did the right thing.    21   engaging our employees to raise the level of
     22             One of the things that I was proud of      22   awareness but also to get socially engaged.
     23     and that the company did was after the Actavis     23          We partnered with a -- and sponsored
     24     acquisition, there was a product called            24   a group called Young People in Recovery, and


                                              Page 343                                                     Page 344
      1     that group, we supported their chapters             1
      2     throughout the U.S. financially and with any        2
      3     type of support. We had a lot of our employees      3
      4     who did fundraising for these organizations, and    4           THE WITNESS: Thank you.
      5     it was individuals who -- again, who in their       5           THE VIDEOGRAPHER: The time is
      6     teens and 20s who had issues and struggles with     6       approximately 5:42 p m. and this concludes
      7     opioids and that were turning things around, and    7       the deposition.
      8     we were very proud to support that program, as      8
      9     well as supporting law enforcement in providing,    9
     10     take-back receptacles to multiple jurisdictions    10
     11     as well, too.                                      11                __________________________.
     12             So, again, just very proud of a lot        12                THOMAS P. NAPOLI
     13     of the work that we did, not only to ensure        13
     14     compliance within our work communities but also    14
     15     in the communities in which we live.               15   Subscribed and sworn to before me
     16             MR. KNAPP: I have nothing further.         16   this day of      2019.
     17         Thank you very much.                           17
     18             MR. EGLER: I have nothing else.            18   ________________________________
     19             (Continued on following page to            19
     20         include jurat.)                                20
     21                                                        21
     22                                                        22
     23                                                        23
     24                                                        24


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                                                      Page 345                                               Page 346
      1           CERTIFICATE                                       1               INDEX
      2                                                             2
                                                                         WITNESS                     PAGE
      3    STATE OF NEW YORK              )                         3
      4                 : ss.                                            THOMAS P. NAPOLI
      5    COUNTY OF WESTCHESTER )                                  4     MR. EGLER                    9
                                                                    5     MR. KNAPP                    339
      6
      7           I, ANNETTE ARLEQUIN, a Notary Public              6       INDEX OF EXHIBITS
      8        within and for the State of New York, do             7   ALLERGAN-NAPOLI EXHIBITS                    PAGE
      9        hereby certify:                                      8   Napoli Exhibit 1, Memo dated   24
     10           That THOMAS P. NAPOLI, whose deposition               11/13/08, Bates-stamped
     11        is hereinbefore set forth, was duly sworn
                                                                    9   ALLERGAN_MDL_03535130 through 5133
     12        by me, and that the transcript of such              10   Napoli Exhibit 2, NJPIG Charter       48
     13        depositions is a true record of the                      Statement, Bates-stamped
     14        testimony given by such witness.
                                                                   11   HDS_MDL_00095906 through 5907
     15           I further certify that I am not related          12   Napoli Exhibit 3, Cegedim-Dendrite 55
     16        to any of the parties to this action by             13   document dated 10/21/08,
                                                                   14   Bates-stamped ALLERGAN_MDL_03535009
     17        blood or marriage; and that I am in no way
                                                                   15   through 010
     18        interested in the outcome of this matter.           16
     19           IN WITNESS WHEREOF, I have hereunto set          17   Napoli Exhibit 4, Email chain       57
                                                                   18   beginning with email dated 6/8/09
     20        my hand this 17th day of January 2019.
                                                                   19   from Woods to Napoli, Bates-stamped
     21                                                            20   ALLERGAN_MDL_ 02467143 through 154
     22          ___________________________________               21
                                                                   22   Napoli Exhibit 5, Document entitled 91
     23         ANNETTE ARLEQUIN, CCR, RPR, CRR, CLR
                                                                   23   "Customer Communication for SOMS,"
     24                                                            24   ALLERGAN_MDL_03738524 through 8528


                                                      Page 347                                               Page 348
      1    I N D E X O F E X H I B I T S(Cont'd.)                   1    I N D E X O F E X H I B I T S(Cont'd.)
          ALLERGAN-NAPOLI EXHIBITS                          PAGE        ALLERGAN-NAPOLI EXHIBITS                    PAGE
      2                                                             2
          Napoli Exhibit 6, Email dated 2/2/10 103                      Napoli Exhibit 13, Document entitled 218
      3   from L. Scott to T. Napoli with                           3   "controlled Substance Awareness:
          attachment, ALLERGAN_MDL_ 01236063                            Understanding the Threat,"
      4   through 6094                                              4   Bates-stamped ALLERGAN_MDL_02054999
                                                                        through 5022
      5   Napoli Exhibit 7, Email chain      138                    5
          beginning with email dated 4/12/10
      6   from S. Soltis to Napoli,                                     Napoli Exhibit 14, NJPIG letter dated 225
          Bates-stamped ALLERGAN_MDL_01236097                       6   7/20/11 from NJPIG Committee to
      7   and 6098                                                      Rannazzisi, Bates-stamped
                                                                    7   ENDO-OPIOID_MDL-02219848 through
      8   Napoli Exhibit 8, Email chain      147                        19851
          beginning with email dated 4/29/10                        8
      9   from L. Scott to Napoli,                                      Napoli Exhibit 15, Watson document 239
          ALLERGAN_MDL_01236095 through 6096                        9   entitled SOMS Project Evolution IT
     10                                                                 Governance Meeting, Bates-stamped
          Napoli Exhibit 9, PowerPoint       166                   10   ALLERGAN_MDL_02468983 through 68994
     11   presentation entitled "DEA affairs
          Organizational Achievements,                             11   Napoli Exhibit 16, Watson document 257
     12   ALLERGAN_MDL_02467984 through 7998                            entitled SOMS Project Evolution IT
                                                                   12   Governance Meeting, Bates-stamped
     13   Napoli Exhibit 10, Watson 210     177                    13   ALLERGAN_MDL_02187196 through 87199
          Performance Review Form - Exempt,                        14
     14   Bates-stamped ALLERGAN_MDL_03535275                      15   Napoli Exhibit 17, Email chain     262
     15   through 283
     16
                                                                   16   beginning with email dated 4/26/12
     17   Napoli Exhibit 11, Customer Services 181
                                                                   17   from Picone to Woods with
     18   Agreement - Statement of Work No. 1,                     18   attachments, Bates-stamped
     19   Bates-stamped ALLERGAN_MDL_03535028                      19   ACQUIRED_ACTAVIS_01179002 through 005
     20   through 5030                                             20
     21                                                            21   Napoli Exhibit 18, Cegedim document   276
     22   Napoli Exhibit 12, Meeting Minutes 186                   22   entitled Buzzeo PDMA Suspicious Order
     23   dated 9/8/11 ALLERGAN_MDL_02176488                       23   Monitoring Seminar, Bates-stamped
     24   through 6492                                             24   ALLERGAN_MDL_02467214 through 7216


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      2                                                           2   ALLERGAN-NAPOLI EXHIBITS                        PAGE
          Napoli Exhibit 19, Email chain     282                  3
      3   beginning with email dated 9/27/12
          from Napoli to Lepore and others,                       4   Napoli Exhibit 26, Email chain          326
      4   Bates-stamped ALLERGAN_MDL_04173111
          through 113                                             5   beginning with email dated 1/11/16
      5                                                           6   from Baran to Russo with attachment,
          Napoli Exhibit 20, Email chain        287
      6   beginning with email dated 6/26/13                      7   Bates-stamped ALLERGAN_MDL_ 03431731
          from Collins to Napoli, Bates-stamped
      7   ALLERGAN_MDL_02179760 through 772                       8   through 1739
                                                                  9
      8   Napoli Exhibit 21,2014 Year-End     294
          Review DEA Materials, Bates-stamped                    10   Napoli Exhibit 27, Email dated          329
      9   ALLERGAN_MDL_03535137 through 143
                                                                 11   11/13/13 from Kemnitzer to
     10   Napoli Exhibit 22, Email chain        301              12   distribution list, Bates-stamped
          beginning with email dated 6/27/14
     11   from Napoli to Simmons, Bates-stamped                  13   PPLPC020000735777 through 782
          ALLERGAN_MDL_02146710 through 714
     12                                                          14
          Napoli Exhibit 23, Document entitled 305               15   Napoli Exhibit 28, Email chain          331
     13   "Customer Analysis and SOMS Overview
          Import/Export," Bates-stamped                          16   beginning with email dated 1/14/16
     14   ALLERGAN_MDL_021477093 through 7110
                                                                 17   from Lepore to Simmons, Bates-stamped
     15   Napoli Exhibit 24, Email chain        314              18   ALLERGAN_MDL_01551062 through 1064
          beginning with email dated 7/31/14
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          ACQUIRED_ACTAVIS_02476517 through
     17   6518                                                   20   Napoli Exhibit 29, Natively-produced      331
     18                                                          21   Spreadsheet, Bates-stamped
     19   Napoli Exhibit 25, Actavis document  320
     20   entitled "Project Continuation                         22   ALLERGAN_MDL_01551064 xlsx
     21   Justification: SOM Statistical Model
     22   Development and Hosting 'in the                        23
     23   Cloud'", Bates-stamped ALLERGAN_MDL_                   24
     24   03535253 through 257


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      1           ERRATA SHEET FOR THE TRANSCRIPT OF:
      2     CASE NAME: NATIONAL PRESCRIPTION OPIATE
      3     DATE:       JANUARY 17, 2019
      4     DEPONENT: THOMAS P. NAPOLI
      5     Pg. Ln. Now Reads Should Read Reason
      6     __ __ _________ ___________ _______
      7     __ __ _________ ___________ _______
      8     __ __ _________ ___________ _______
      9     __ __ _________ ___________ _______
     10     __ __ _________ ___________ _______
     11     __ __ _________ ___________ _______
     12     __ __ _________ ___________ _______
     13     __ __ _________ ___________ _______
     14     __ __ _________ ___________ _______
     15     __ __ _________ ___________ _______
     16
     17                   _______________________
     18                    THOMAS P. NAPOLI
     19     SUBSCRIBED AND SWORN BEFORE ME
     20     THIS____DAY OF____________ 2019.
     21
     22     _______________________________
     23     (Notary Public)
     24     MY COMMISSION EXPIRES:_______________



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